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                      Exhibit A
Bruce Perens Warns Grsecurity Breaches the Linux Kernel's GPL License - Slashdot
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             Bruce Perens Warns Grsecurity Breaches the
                                                                                                               474
             Linux Kernel's GPL License (perens.com)
                   Posted by EditorDavid on Sunday July 09, 2017 @02:10PM from the kernel-copyrights dept.



            Bruce Perens co-founded the Open Source Initiative with Eric Raymond. Now he's
            sharing a "strong opinion" that companies should avoid the Grsecurity security patch for
            the Linux kernel "because it presents a contributory infringement and breach of contract
            risk." Slashdot reader NewGnu shared Bruce's comments:
                 [I]t would fail a fair-use test... Because of its strongly derivative nature of the kernel, it
                 must be under the GPL version 2 license, or a license compatible with the GPL and
                 with terms no more restrictive than the GPL. Earlier versions were distributed under
                 GPL version 2... My understanding from several reliable sources is that customers
                 are verbally or otherwise warned that if they redistribute the Grsecurity patch, as
                 would be their right under the GPL, that they will be assessed a penalty: they will no
                 longer be allowed to be customers, and will not be granted access to any further
                 versions of Grsecurity. GPL version 2 section 6 explicitly prohibits the addition of
                 terms such as this redistribution prohibition...

                 This is tantamount to the addition of a term to the GPL prohibiting distribution or
                 creating a penalty for distribution. GPL section 6 specifically prohibits any addition of
                 terms. Thus, the GPL license, which allows Grsecurity to create its derivative work of
                 the Linux kernel, terminates, and the copyright of the Linux Kernel is infringed. The
                 contract from the Linux kernel developers to both Grsecurity and the customer which
                 is inherent in the GPL is breached.


            Perens advises companies to discuss his position with their attorneys, adding "In the
            public interest, I am willing to discuss this issue with companies and their legal counsel,
            under NDA, without charge."


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                                      Submission: Bruce Perens: Potential
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                   The Fine Print: The following comments are owned by whoever posted them. We are not
                                               responsible for them in any way.


     ›      Does Anyone Use That? (Score:5, Funny)
            by segedunum ( 883035 ) on Sunday July 09, 2017 @02:19PM (#54774101)


            Grsecurity is snakeoil dogshit.

            Share
                Re:Does Anyone Use That? (Score:2)
                by volkerdi ( 9854 ) on Sunday July 09, 2017 @03:42PM (#54774515)


                Linus, is that you?


                Parent      Share
                Re: Does Anyone Use That? (Score:1, Interesting)
                by Anonymous Coward on Sunday July 09, 2017 @02:32PM (#54774155)


                Thanks for that well reasoned remark, way to contribute. The core kernel crowds
                utter unreasoning hostility toward grsecurity is well documented by now. Its made a
                laughing stock of the security of the stock kernel for decades, and nobody likes to




https://linux.slashdot.org/story/17/07/09/188246/bruce-perens-warns-grsecurity-breaches-the-linux-kernels-gpl-license[9/9/2017 4:07:58 PM]
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                be shown to be an idiot. Grsecurity recently changed its terms due to widespread
                abuse of its mark. I assume it has something to do with these new terms, and
                potentially these announcements were triggered by complaints made by way of
                retaliation.


                Parent      Share
                   Re: Does Anyone Use That? (Score:5, Interesting)
                   by Anonymous Coward on Sunday July 09, 2017 @02:55PM (#54774245)


                   Submit good patches and we'll merge them. Hell, report some bugs. But no,
                   that's not how you guys operate. You work in an ivory tower for months and
                   send us a massive patch that lacks any organization or any reasonable way to
                   break it down for review. At this point, we think you should take your pile of
                   "security" patches and go write your own kernel to go with it.


                   Parent      Share
                       Re: Does Anyone Use That? (Score:2)
                       by guruevi ( 827432 ) <evi@@@evcircuits...com> on Sunday July 09, 2017 @05:34PM
                       (#54774973) Homepage


                       Seems like the Grsecurity guys have no idea how to work with others and
                       instead of respecting the copyright of many of their past contributors, they
                       simply steal it in the hopes of making a buck before it dies in obscurity.


                       Parent      Share
                       Re: Does Anyone Use That? (Score:-1)

                       by Anonymous Coward on Sunday July 09, 2017 @03:13PM (#54774329)


                       Thanks AC; personally, for the projects I use, I report bugs and supply
                       bugfixes, sometimes even feature additions. In a small way, no doubt, but I
                       do have an idea what I'm doing.

                       Unfortunately I'm not related to grsecurity nor have I done any kernel work
                       for quite some time. As such, I cannot either validate or repudiate what you
                       say, although in fairness I suspect neither can you and just like trolling to
                       get a reaction.


                       Parent      Share
                          Re: Does Anyone Use That? (Score:2)
                           by Brockmire ( 4931623 ) on Sunday July 09, 2017 @05:09PM (#54774897)


                           There's history between grsecurity and the kernel people going back
                           years. Bitching about large patch and disagreeing on importance of
                           various behaviour sums it up. It's super paranoid security people
                           against defensive kernel programmers who feel attacked for their code
                           and decisions. At no time did I get the impression it was as bad as
                           dealing with someone like apk. But there was a lot of butt hurt to go
                           around.
                           Parent     Share
                              Re: Does Anyone Use That? (Score:0)

                              by Anonymous Coward on Monday July 10, 2017 @04:13AM (#54776919)




                                  It's super paranoid security people against defensive kernel
                                  programmers



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                              Super paranoid security people that don't know the value of small
                              readable improvements?

                              The only thing one huge patch has to do with security, is security by
                              obscurity.


                              Parent      Share
                                  Re: Does Anyone Use That? (Score:0)
                                  by Anonymous Coward on Monday July 10, 2017 @09:28AM (#54777777)


                                  I get your point, Brockmire - I'm thinking I could make good
                                  money televising "Nerd Fight", although it never really gets
                                  beyond slapping at a distance while looking the other way.


                                  Parent      Share

                              Re: Does Anyone Use That? (Score:0)

                              by Anonymous Coward on Tuesday July 11, 2017 @02:41AM (#54783947)


                              How did that not bring that mad man out of the wood work?


                              Parent      Share

                       Re: Does Anyone Use That? (Score:0)

                       by Brockmire ( 4931623 ) on Sunday July 09, 2017 @05:04PM (#54774879)


                       What I hear: "wah, you should be spoonfeeding us this because it's over
                       our heads. Fuck the good ideas and flaws that get fixed, submit pretty
                       patches or fuck off."
                       Parent      Share
                          Re: Does Anyone Use That? (Score:5, Informative)
                           by geoskd ( 321194 ) on Sunday July 09, 2017 @05:45PM (#54775035)




                              Fuck the good ideas and flaws that get fixed, submit pretty
                              patches or fuck off

                           Patches can introduce bugs and security flaws as easily as they can fix
                           them.

                           Every where I have worked has a had a strict policy of one issue per
                           pull request for that very reason. Reviewing code is hard enough when
                           its a single issue at a time.


                           Parent     Share
                          Re: Does Anyone Use That? (Score:5, Interesting)

                           by gnasher719 ( 869701 ) on Sunday July 09, 2017 @06:06PM (#54775123)




                              What I hear: "wah, you should be spoonfeeding us this because
                              it's over our heads. Fuck the good ideas and flaws that get fixed,
                              submit pretty patches or fuck off."

                           What I hear from you is that you have no idea how software
                           development works. Yes, absolutely, if you supply something that



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                                  Case 3:17-cv-04002-LB Document 32-2 Filed 10/31/17 Page 6 of 138
                           cannot be integrated, then fuck off.


                           Parent     Share
                              Re: Does Anyone Use That? (Score:0)

                              by Anonymous Coward on Monday July 10, 2017 @04:45AM (#54776977)


                              Your argument would be valid if it were true, but: the grsecurity
                              patch can be integrated, this is obvious for the very simple reason
                              that kernels built with it work, in real life scenarios, with very real
                              servers.


                              Parent      Share

                          Re: Does Anyone Use That? (Score:5, Insightful)
                           by Zero__Kelvin ( 151819 ) on Sunday July 09, 2017 @06:12PM (#54775151)
                           Homepage



                           You don't hear very well. The kernel is good because they follow a
                           process. That process involves submitting code that can be readily
                           reviewed before being accepted. "Trust us, it's great" gets a "go fick
                           yourself", and that is exactly as it should be. If you think ANYTHING is
                           over their head but not over the heads of the grsecurity devs you are
                           clueless, but even if that were the case it is up to them to justify and
                           explain their code or beat rocks.
                           Parent     Share
                              Re: Does Anyone Use That? (Score:0)
                              by Anonymous Coward on Monday July 10, 2017 @03:46PM (#54780601)


                              I don't think we're hearing the whole story. This [openwall.com] post
                              by Brad, in response to Linus' infamous "garbage" remark, seems
                              to indicate that the patches are and have been split before, only
                              Brad is (quite evidently) fed up of jumping through hoops for years
                              for no pay with nothing to show for it at the end. He's right in that
                              under the GPL there is no obligation to perform further work for
                              free. If Bruce's legal theory holds, then it implies that coders
                              releasing code under the GPL must continue to supply further work
                              on that project whether they want to or not. That doesn't sound right
                              to me, in fact it sounds like indentured slavery.


                              Parent      Share
                                  Re: Does Anyone Use That? (Score:2)
                                  by Zero__Kelvin ( 151819 ) on Monday July 10, 2017 @04:45PM
                                  (#54781027) Homepage


                                  It doesn't sound right because you are the only one making
                                  such a ridiculous claim.
                                  Parent      Share
                                      Re: Does Anyone Use That? (Score:0)
                                      by Anonymous Coward on Tuesday July 11, 2017 @04:49AM
                                      (#54784355)


                                      Please keep it civilised, if you'd like to read further down in
                                      the comments you'll find that at least two other people have
                                      discussed this same issue. The situation is that grsecurity
                                      seems to be providing works for hire, the work product
                                      being derivative code released under the GPLv2. Bruce's




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                                      witnesses say that there is an unwritten verbal clause
                                      saying that if you redistribute the derivative code, then no
                                      further work will be done for you. Now, the written license
                                      says "if you redistribute the code outside of the terms of
                                      GPLv2", but we'll assume his witnesses are correct.

                                      What Bruce has said is that he believes that this refusal to
                                      provide more work product upon redistribution effectively
                                      adds an extra restriction under the terms of the GPLv2.

                                      Okay, so let's try playing devil's advocate. Let's start with
                                      something simple, bear with me:

                                      Let's say I'm a programmer doing work and providing
                                      changes to someone's GPLv2 based codebase. At some
                                      point, that code gets used in a way that I don't like, maybe a
                                      copy was used in a missle system, perfectly within the
                                      GPLv2 but against my personal ethics. At no point is there
                                      any suggestion that the GPLv2 prevents me from quitting on
                                      the spot, even if by doing so I have damaged them if they
                                      were critically relying on me for changes. But wait, "not
                                      working on missles" is an extra term to the GPLv2! Except it
                                      isn't, the licensing terms on the copyright remain the same, I
                                      can't stop that code from being redistributed and used, it's
                                      my own work that is being withdrawn.

                                      Likewise, it would be absurd to suggest when entering into a
                                      work contract to work on GPLv2 code I can't negiotate
                                      terms that say I don't want to work on the codebase if you
                                      start using it to make Furbies, or indeed if you start
                                      distributing the code to people I don't like. I can't prevent
                                      anyone from legally redistributing under the terms of the
                                      GPLv2, and I can't get my employers to change the terms of
                                      the license if its derived from other GPLv2 work, but I can
                                      stop working for them.

                                      I think the distinction I wish to make is that all of these are
                                      extra restrictions to the conditions under a work for hire, but
                                      none of them are extra restrictions to the license under with
                                      the copyrighted work is used. They aren't preventing the
                                      code being redistributed under the GPLv2, they just don't
                                      want to carry on working for people who do. In that regard,
                                      it's clear that it is not the same as an NDA.

                                      Don't get me wrong, I don't like the way this is being used,
                                      but just because I want someone to work for me, doesn't
                                      mean I believe that I have a right to coerce them to.


                                      Parent     Share
                                         Re: Does Anyone Use That? (Score:0)
                                         by Anonymous Coward on Tuesday July 11, 2017 @05:05AM
                                         (#54784395)


                                         To look at it another way: logically, no valid GPL code
                                         has ever been produced within the US, as export
                                         restrictions constitute an additional restriction under the
                                         terms of the GPL. Now, I don't believe this, it's clearly
                                         aburd as it is conflating the terms of a copyright license
                                         with an export restriction, in much the same way as it
                                         should be absurd to conflate an employment contract




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                                         with a copyright license.


                                         Parent      Share
                                         Re: Does Anyone Use That? (Score:0)
                                         by Anonymous Coward on Tuesday July 11, 2017 @10:04AM
                                         (#54785637)


                                         Well said. Your comment is so insightful it could well be
                                         the only comment needed on this story. Mod the rest
                                         down to -1!


                                         Parent      Share

                          Re: Does Anyone Use That? (Score:4, Interesting)

                           by rtb61 ( 674572 ) on Sunday July 09, 2017 @09:16PM (#54775841) Homepage


                           I would be extremely suspect of any company that supplied blob
                           patches, like M$ does to hide the individual elements of that patch.
                           Straight up, I would suspect them of trying to put in a back door. So the
                           question is to put all the effort into tearing down and completely
                           dissecting that blob and only apply those elements of it that have been
                           fully checked or just bin it and do the coding directly, which will likely be
                           quicker.

                           Everyone knows exactly the reason why kernel patches at keep neat,
                           specific and fully detailed and a security company should know better
                           than others. This code blob probably a try it on and the next one, the
                           attack blob. Lets be honest everyone knows the CIA/NSA would pay
                           tens of millions in corrupt bribes to get a back door forced into Linux.


                           Parent     Share
                          Re: Does Anyone Use That? (Score:1)
                           by Anonymous Coward on Sunday July 09, 2017 @06:16PM (#54775159)


                           Spoonfeeding? Over their heads? Bullshit. Rather that the submitters
                           are way out of their league when it comes how to submit code.

                           The burden of work should be on those submitting the patch not those
                           receiving it.

                           If you submit shitty patches or patches so massive it takes
                           unreasonable amount of time to review them, I would be pissed off if
                           they were accepted.

                           Also, if you submit a patch that addresses several issues, how should
                           the review process be handled? If one part is not approved, then the
                           entire patch is denied, right? Or do you always want someone else to
                           do your work for you?


                           Parent     Share

                       Re: Does Anyone Use That? (Score:0)
                       by Anonymous Coward on Sunday July 09, 2017 @10:16PM (#54776011)



                         Submit good patches and we'll merge them.

                       If you pay us.



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                         Hell, report some bugs.

                       If you pay us, then take our solution as a whole, including potentially
                       substantial performance regressions.

                         You work in an ivory tower for months and send us a massive patch that
                         lacks any organization or any reasonable way to break it down for review.

                       Years, actually. And there's plenty of organization. It just can't be broken
                       down. grsecurity is the systemd of kernel patches.

                         At this point, we think you should take your pile of "security" patches and
                         go write your own kernel to go with it.

                       But we're awesome! And every time there's a security bug, we'll plug how
                       awesome grsecurity is [even if it wouldn't have necessarily helped]!

                       PS - Seriously, reading their posts on lkml or on lwn is just a great exercise
                       is why good code != good people. Not that all of grsecurity is good. The
                       whole Stack Clash thing is an unfixable mess from a kernel perspective (at
                       least how I've heard it described) without minimally fundamentally breaking
                       user space; and that still might not be enough but only enough to mitigate.
                       So, of course, when someone rubs that in on a CVE, grsecurity people
                       counter with a lot (and there are a lot) of Linux kernel security bugs.

                       Like you say, at this point they should just move on and either (1) use
                       another kernel or (2) write their own. We can pick through grsecurity and
                       incorporate good ideas, and yes, invariably introduce more bugs or not
                       enough mitigation than we should. That's just a sad truth because
                       incorporating all of grsecurity would be a bad idea. Even if we did and
                       properly attributed PaXTeam, they'd still bitch and moan about it. Like
                       others have suggested, I don't think they want to be paid to incorporate
                       their changes into Linux mainline anyways because it fundamentally
                       undermines their consulting business and their generally pissiness.

                       At this point? Fuck 'em.


                       Parent      Share
                       Re: Does Anyone Use That? (Score:0)
                       by Anonymous Coward on Monday July 10, 2017 @12:16AM (#54776421)


                       if only this tiny bit of reason was to be used while merging systemd crap
                       into the kernel...


                       Parent      Share
                       Re: Does Anyone Use That? (Score:0)
                       by Anonymous Coward on Monday July 10, 2017 @11:31PM (#54783321)




                          At this point, we think you should take your pile of "security" patches
                          and go write your own kernel to go with it.

                       Oh, so wander off with systemd then?


                       Parent      Share

                   Not related to their mark (Score:5, Informative)




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                   by Bruce Perens ( 3872 ) <bruce@perens.com> on Sunday July 09, 2017 @02:59PM
                   (#54774261) Homepage Journal



                      Grsecurity recently changed its terms due to widespread abuse of its mark.

                   Dear AC,

                   If that's really their intent, they're confused. Or maybe you don't understand?
                   The GPL doesn't have anything to do with trademarks. And Grsecurity did not
                   bother to create a trademark for their product that was different from the
                   versions with the old GPL-only terms, which are still in use. If trademark was
                   the problem, they'd need to create a new one for their commercial product.

                   This, unfortunately, would not mitigate the GPL issue, which is copyright and
                   contract related.


                   Parent      Share
                       Re:Not related to their mark (Score:2)

                       by Anonymous Coward on Sunday July 09, 2017 @04:10PM (#54774639)


                       Hi Bruce, as far as I understand it grsecurity changed its terms back in
                       April. [theregister.co.uk] They seem to suggest that they supply patches to
                       the kernel released under GPLv2 terms, but will refuse to offer further
                       subscription support to anyone who distributes those patches. I don't know
                       if there is a rider over "with our mark on them" on this or not, but if so
                       wouldn't that place them in the same position as Redhat? I seem to recall
                       that a similar situation arose with Virtuozzo in the early days, except they
                       were distributing a complete kernel binary rather than a patch to the
                       source, with a termination of support clause.

                       I can clearly see where your bone of contention is, but wonder if by
                       attempting to protect the GPL you aren't potentially relying on an equally
                       bad position (ie is the party modifying the kernel then forced to release their
                       changes whether they want to or not?)

                       Have you tried contacting them? I'd be interested to learn what their side of
                       the story is. For the record, I am not related to grsecurity in any way. I've
                       had one or two brief contacts with members in the past, that's it.


                       Parent      Share
                          Re:Not related to their mark (Score:3)
                           by Bruce Perens ( 3872 ) <bruce@perens.com> on Sunday July 09, 2017
                           @04:27PM (#54774713) Homepage Journal


                           Redhat sequesters their support information from non-customers. It's
                           really difficult to make a case that the support data is derivative of the
                           Open Source involved. I don't believe Red Hat has attempted to stop
                           any of their customers from redistributing an actual patch. Just other
                           information.

                           I don't know about Virtuozzo, sorry.

                           I did not contact Open Source Security Inc. as they had by that time
                           already had extensive and somewhat acrimonious discussions with
                           others in the community.

                           I think my legal theory holds water. I am bothered by the sort of action
                           that Open Source Security Inc. is doing, and felt that informing the
                           customers (albeit indirectly, in places like Slashdot) was the best way to



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                           effect a change. This was a case where publicity was the most effective
                           means of effecting change (even if the only change is that someone
                           else doesn't try to do what's being done with Grsecurity) and was less
                           expensive for all sides than a lawsuit.


                           Parent     Share
                              Re:Not related to their mark (Score:2)
                              by Anonymous Coward on Sunday July 09, 2017 @04:58PM (#54774851)


                              I've had a look over their agreement here [grsecurity.net], and there
                              is nothing to prevent redistribution of a patch under the terms and
                              conditions of the GPLv2. It states that if it a patch is distributed
                              outside of the terms of the GPLv2, then access to further patches in
                              the future (not the patch provided) will be denied, on a works for
                              hire basis.

                              I honestly don't think you've got all your ducks lined up here, and
                              yes, I realise who I'm saying it to and how the hordes here will
                              descend upon me.


                              Parent      Share
                                  Re:Not related to their mark (Score:5, Interesting)

                                  by Bruce Perens ( 3872 ) <bruce@perens.com> on Sunday July 09, 2017
                                  @05:09PM (#54774895) Homepage Journal


                                  The problem isn't with the text there. It's with what else they
                                  have told their customers. It doesn't even have to be in writing.

                                  I have witnesses. If there was ever a case, obviously the
                                  prosecution would have to depose people to make this point. I
                                  am not actually planning on a case, though. I think this warning
                                  will have the desired effect.


                                  Parent      Share
                                     Re:Not related to their mark (Score:1)
                                      by Anonymous Coward on Sunday July 09, 2017 @05:56PM
                                      (#54775073)


                                      Fair enough, far be it from me to actually RTFA (this is
                                      Slashdot, after all). Thanks for taking the time to (re)explain
                                      that. As much as I'd like to support grsecurity, I tend to do
                                      so from a technical perspective. It's a real shame if what the
                                      witnesses have said is true, and I have no reason to doubt
                                      them. I'd still like to hear the other side of the story, though.


                                      Parent     Share
                                         Re:Not related to their mark (Score:2)
                                         by Bruce Perens ( 3872 ) <bruce@perens.com> on Sunday July
                                         09, 2017 @07:37PM (#54775433) Homepage Journal


                                         I think there is lots of room for people to make security
                                         patches to the kernel, and for them to do them one at a
                                         time and get the kernel team to accept them. They
                                         belong in the mainline, not a patch.

                                         If they need some special subsystem to support them,
                                         they should put that in the form of as small a patch as



https://linux.slashdot.org/story/17/07/09/188246/bruce-perens-warns-grsecurity-breaches-the-linux-kernels-gpl-license[9/9/2017 4:07:58 PM]
Bruce Perens Warns Grsecurity Breaches the Linux Kernel's GPL License - Slashdot
                                 Case 3:17-cv-04002-LB Document 32-2 Filed 10/31/17 Page 12 of 138
                                         possible, get the kernel team to accept that, and then to
                                         make individual patches that make use of that facility.

                                         In contrast, Grsecurity is a big patch built up over years,
                                         and I hear not always a careful one.

                                         It is difficult to get the kernel team to accept things.
                                         That is not a misfeature. They set really high standards,
                                         not just that the code works but that it's easy to read and
                                         review, is modular and does not put dirty fingers all over
                                         the kernel, and is well-architected according to the
                                         esthetic style of the kernel developers. Not everything
                                         meets those standards, and because there's an esthetic
                                         style it's sometimes down to personal style of the
                                         programmer and not everyone fits. But that's still not a
                                         misfeature.


                                         Parent      Share
                                             Re:Not related to their mark (Score:0)

                                             by Anonymous Coward on Sunday July 09, 2017 @11:06PM
                                             (#54776209)


                                             Bruce, I am still more than a little concerned that the
                                             only difference from what you say the witnesses
                                             claim that license appears to be redistribution, under
                                             GPLv2 or not at all. Can you reaffirm that there has
                                             not been any miscommunication or
                                             misunderstanding on the part of the witnesses
                                             you've heard from regarding these terms? That they
                                             were told in private that no redistribution at all was
                                             possible, rather than under GPLv2? I'm finding it
                                             very hard to reconcile what you've said with all of
                                             the (quite emphatic) posts over the past 6 months
                                             from Brad attempting to enforce GPL compliance
                                             with companies redistributing firmware containing
                                             grsecurity. This doesn't sound like him at all.

                                             To go back to patch submission, I agree with you in
                                             part, in so much that I would like to benefit from
                                             grsecurity personally, which I can do if it were under
                                             the mainline kernel, and also in that I do not believe
                                             that kernel forks are healthy for the community.

                                             However, I also recognise that under the GPL
                                             people have the freedom to make their own
                                             changes. If those changes aren't good enough for
                                             the original developers or don't fit in with their
                                             personal vision, then there's no onus on anyone to
                                             fix it if they don't want to, the changes are theirs. I
                                             understand that Brad gave up trying to satisfy the
                                             requirements for the mainline, there was a
                                             fundamental clash of cultures - and that is his right. I
                                             don't know the specifics of why they were rejected,
                                             but I suspect I'd get wildly varying accounts
                                             depending on who I ask.

                                             However, having said that I also understand that the
                                             Kernel Self Protection Project are attempting to do
                                             just as you say at this moment. Since Brad doesn't
                                             appear to have made an appearance and, lord



https://linux.slashdot.org/story/17/07/09/188246/bruce-perens-warns-grsecurity-breaches-the-linux-kernels-gpl-license[9/9/2017 4:07:58 PM]
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                                 Case 3:17-cv-04002-LB Document 32-2 Filed 10/31/17 Page 13 of 138
                                             knows why, I have a soft spot for him as, in my
                                             opinion, an exemplary kernel security expert; may I
                                             ask: will you be keeping an equally hawk-like eye to
                                             ensure that attributation isn't stripped when
                                             grsecurity code is submitted via KSPP or otherwise
                                             copied, which seems to have been of some concern
                                             to him?


                                             Parent      Share
                                             Re:Not related to their mark (Score:0)
                                             by Anonymous Coward on Tuesday July 11, 2017 @10:09PM
                                             (#54790837)


                                             From GRSecurity's "Stable Patch Agreement":

                                             "Notwithstanding these rights and obligations, the
                                             User acknowledges that redistribution of the
                                             provided stable patches or changelogs outside of
                                             the explicit obligations under the GPL to User's
                                             customers will result in termination of access to
                                             future updates of grsecurity stable patches and
                                             changelogs."

                                             IE: If you choose to redistribute, other than in the
                                             case of a demand made by a user, retaliation will
                                             occur.

                                             That is an additional term, between GRSecurity and
                                             the distributee, adding a restriction, end of story.
                                             This is forbidden by the license terms underwhich
                                             GRSecurity had the privilege to modify the kernel,
                                             create derivative works, and distribute derivative
                                             works, etc.

                                             I say had, because once a license term is violated,
                                             the terms of the license distributed by the linux-
                                             rightsholders governing the use of their property
                                             states that the license is revoked upon violation of a
                                             term.

                                             You have to understand that the linux-kernel, even if
                                             it is sitting on your harddrive, is the property of the
                                             linux-kernel rights-holders. Not GRSecurity, etc.

                                             It's like a piece of land (Copyright is alienable in the
                                             same way that real property is). I may allow you to
                                             walk over my land, and I may rescind that license at
                                             any time. I may also post rules that you must obey
                                             when walking over my land which, if you violate, I
                                             may set terms that your license to walk over my land
                                             be revoked.

                                             One of these rules is that you do not offer terms
                                             adding additional restrictions to derived works.
                                             GRSecurity has offered such terms. The moment
                                             they did so they violated the terms of the license
                                             grant.


                                             Parent      Share




https://linux.slashdot.org/story/17/07/09/188246/bruce-perens-warns-grsecurity-breaches-the-linux-kernels-gpl-license[9/9/2017 4:07:58 PM]
Bruce Perens Warns Grsecurity Breaches the Linux Kernel's GPL License - Slashdot
                                 Case 3:17-cv-04002-LB Document 32-2 Filed 10/31/17 Page 14 of 138
                                             Re: Not related to their mark (Score:0)
                                             by Anonymous Coward on Wednesday July 12, 2017
                                             @08:44AM (#54792749)


                                             Excuse me, I have a small amount of code in the
                                             kernel. You don't have exclusive right to claim it is
                                             "just yours", you filthy little thief. And no, an
                                             Anonymous Coward posting on a forum somewhere
                                             on the internet does NOT constitute termination
                                             under the terms of the GPL. You think you have
                                             standing and right to terminate, send them legal
                                             notice. Anything else is just being a troll blowhard.


                                             Parent      Share
                                             Re: Not related to their mark (Score:0)
                                             by Anonymous Coward on Wednesday July 12, 2017
                                             @05:47PM (#54796563)


                                             The terms under-which the linux kernel is licensed
                                             states termination is automatic upon violation.

                                             You however, can terminate any licensee at will via
                                             notification, of-course, as well, without cause.


                                             Parent      Share
                                             Re: Not related to their mark (Score:0)
                                             by Anonymous Coward on Thursday July 13, 2017
                                             @07:32AM (#54799427)


                                             And what if someone doesn't believe themselves to
                                             be in violation from their own legal advice? Licenses
                                             aren't programs, they can't terminate themselves.


                                             Parent      Share

                                             Re: Not related to their mark (Score:0)
                                             by Anonymous Coward on Thursday July 13, 2017
                                             @08:53PM (#54805387)


                                             It doesn't matter what they believe. What matters is
                                             the jurisprudence within the jurisdiction where their
                                             principal place of business or head office is located.
                                             Additionally what also matters is what the licensor
                                             intended and what terms he communicated verbally,
                                             in written word, and through course of business
                                             dealings.

                                             Let me repeat:
                                             >And what if someone doesn't believe themselves to
                                             be in violation from their own legal advice?

                                             What YOU believe. DOES. NOT. MATTER.

                                             You are NOT the owner of the copyrighted work.

                                             >Licenses aren't programs, they can't terminate
                                             themselves.
                                             A license grant can certainly automatically terminate
                                             upon breach. Your programmers/naive lay-man's



https://linux.slashdot.org/story/17/07/09/188246/bruce-perens-warns-grsecurity-breaches-the-linux-kernels-gpl-license[9/9/2017 4:07:58 PM]
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                                 Case 3:17-cv-04002-LB Document 32-2 Filed 10/31/17 Page 15 of 138
                                             logic does not apply to the law (so how about you
                                             stop talking about what you don't know the first think
                                             about?).

                                             If I post a notice that all persons may walk upon my
                                             land, however they may not disturb the land or harm
                                             the foliage, except for normal wear-and-tear on the
                                             grass from foot traffic, and if they violate these
                                             provisions that their license to walk across my land
                                             is automatically revoked....

                                             If you then come and cut a tree down on my land:
                                             yes your license to walk across my land IS
                                             AUTOMATICALLY REVOKED.

                                             You know why? Because it is MY property. You are
                                             tresspassing once you violate MY TERMS.

                                             I can also revoke your license at any time for no
                                             reason what-so-ever.

                                             Of-course a proud White American Programmer
                                             Man just know everything from birth and gets red in
                                             the face when anyone informs him otherwise so...
                                             you will assume you win no matter what and that I
                                             don't know what I'm talking about because "it just
                                             can't be so!".


                                             Parent      Share
                                             Re: Not related to their mark (Score:0)
                                             by Anonymous Coward on Friday July 14, 2017 @07:16PM
                                             (#54811815)


                                             We already know you are a troll, not a lawyer. Give
                                             it a rest.


                                             Parent      Share

                                     Re:Not related to their mark (Score:0)
                                      by Anonymous Coward on Sunday July 09, 2017 @11:06PM
                                      (#54776205)


                                      Oy vey! It's anudda shoah, I tells ya! Anudda shoah!


                                      Parent     Share
                                         Re:Not related to their mark (Score:0)
                                         by Anonymous Coward on Thursday July 13, 2017 @08:54PM
                                         (#54805395)


                                         Better a millstone: kill any man that likes young girls,
                                         right?

                                         Proud White American Man.


                                         Parent      Share

                                     Re:Not related to their mark (Score:0)

                                      by Anonymous Coward on Tuesday July 11, 2017 @09:44PM
                                      (#54790697)




https://linux.slashdot.org/story/17/07/09/188246/bruce-perens-warns-grsecurity-breaches-the-linux-kernels-gpl-license[9/9/2017 4:07:58 PM]
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                                      You should put together a case.
                                      Grsecurity is going to keep doing what it's doing unless it's
                                      stopped and everyone will start to have the opinion that they
                                      may do the same with any libre-licensed work.


                                      Parent     Share
                                         Re: Not related to their mark (Score:0)
                                         by Anonymous Coward on Wednesday July 12, 2017 @08:48AM
                                         (#54792769)


                                         Personally I'm thinking its time to start avoiding GPL
                                         software due to the indentured slavery clause.


                                         Parent      Share

                              Re:Not related to their mark (Score:2)
                              by buchner.johannes ( 1139593 ) on Sunday July 09, 2017 @06:57PM
                              (#54775301) Homepage Journal




                                  I think my legal theory holds water.

                              Lets say I release (sell) v1.0 of my software to person A, B and C
                              under GPL2. Then B does something I don't like, but I can't do
                              anything about it, because they received the software and can
                              propagate it further under GPL2.

                              The following year, I sell v2.0 of my software to person A and C
                              under GPL2, but don't sell it to person B any more. They do not
                              have any right to receive it from me. If A or C pass it on to B, they
                              are free to do that. But I can put arbitrary restrictions on to whom I
                              give my software, if it is a new version -- I can decide for every
                              release.

                              There is no addition of terms or restrictions of the GPL needed. It's
                              just who you release your software to. Now if A is the general
                              public, all restrictions are basically moot.


                              Parent      Share
                                  Re:Not related to their mark (Score:3)
                                  by Bruce Perens ( 3872 ) <bruce@perens.com> on Sunday July 09, 2017
                                  @07:26PM (#54775391) Homepage Journal


                                  A lot of people are having a problem with the time sequence of
                                  events.

                                  Let's say you warn someone in advance that you will harm their
                                  business by withdrawing their support and removing them from
                                  your customer list, should they exercise their right which is
                                  granted to them under the GPL. That's adding a term.

                                  Let's say that you never warn them about anything, they
                                  distribute stuff, and you decide to downsize your business and
                                  fire them as a customer. That is not adding a term.

                                  It took me a while to get this straight myself, for a while I knew
                                  something was wrong but did not realize the importance of the
                                  time sequence. But I think I could help to win a case with this, if



https://linux.slashdot.org/story/17/07/09/188246/bruce-perens-warns-grsecurity-breaches-the-linux-kernels-gpl-license[9/9/2017 4:07:58 PM]
Bruce Perens Warns Grsecurity Breaches the Linux Kernel's GPL License - Slashdot
                                 Case 3:17-cv-04002-LB Document 32-2 Filed 10/31/17 Page 17 of 138
                                  one came up.


                                  Parent      Share
                                     Re:Not related to their mark (Score:0)

                                      by Anonymous Coward on Sunday July 09, 2017 @10:59PM
                                      (#54776187)


                                      Never miss an opportunity for self-promotion...


                                      Parent     Share
                                         Re:Not related to their mark (Score:0)
                                         by Anonymous Coward on Tuesday July 11, 2017 @09:53PM
                                         (#54790767)


                                         Anon wrote:

                                            "Never miss an opportunity for self-promotion..."

                                         Do you desire a libel and negative-false-light tort suit?


                                         Parent      Share
                                             Re: Not related to their mark (Score:0)
                                             by Anonymous Coward on Wednesday July 12, 2017
                                             @08:52AM (#54792783)


                                             Not the same AC, but its funny you should bring that
                                             up. If Bruce is wrong, and bear in mind that his
                                             announcement has gone around the world,
                                             appeared on every tech site and been translated
                                             into every language, just how much damage has he
                                             done to grsecurities business? How exposed is he
                                             by making this claim publically?


                                             Parent      Share

                                     Re:Not related to their mark (Score:2)

                                      by jeremyp ( 130771 ) on Monday July 10, 2017 @08:44AM
                                      (#54777577) Homepage Journal


                                      The GPL says nothing about what support you must provide
                                      to your customers. In fact, it says that the software is
                                      distributed without warranty of any kind which means you do
                                      not have any obligation to provide any support or
                                      maintenance.

                                      If you then say we will provide support but only if you don't
                                      redistributed our software, you are not infringing any of their
                                      rights under the GPL that I can see. I don't think it's right,
                                      but I wouldn't be confident that it is illegal.


                                      Parent     Share
                                         Re:Not related to their mark (Score:0)

                                         by Anonymous Coward on Tuesday July 11, 2017 @09:54PM
                                         (#54790777)


                                         jeremyp:




https://linux.slashdot.org/story/17/07/09/188246/bruce-perens-warns-grsecurity-breaches-the-linux-kernels-gpl-license[9/9/2017 4:07:58 PM]
Bruce Perens Warns Grsecurity Breaches the Linux Kernel's GPL License - Slashdot
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                                         They are forbidden by the terms from adding additional
                                         restrictions between an agreement between THEM and
                                         furthur Distributees.

                                         They are adding an additional term.

                                         Open and shut. Blatant violation.

                                         No, you programmers who scream "BUT THEY DIDNT
                                         ADD THE ADDITIONAL TERM __TO_THE_GPL__!!!!"
                                         They added it to the agreement between them and the
                                         furthur distributee, which the terms underwhich linux is
                                         distributed explicitly forbids.

                                         The licenses is NOT BETWEEN "The GPL" and
                                         GRSecurity but between THE LINUX RIGHTS-
                                         HOLDERS (linus et al) and GRSecurity. "The GPL" is
                                         the memorization of the license grant. It disallows
                                         additional restrictions placed by GRSecurity on people
                                         to whom it distributes a derivative work.

                                         It is NOT saying (in that section) "oh you just can't pen
                                         your restriction in here, go write it on a napkin or
                                         something wink wink nod". (*cough codicil*)

                                         No, you Programmers do NOT know what you're talking
                                         about when it comes to the Law. Yes I _DO_ know what
                                         I'm talking about


                                         Parent      Share

                                     Re:Not related to their mark (Score:2)

                                      by squiggleslash ( 241428 ) on Monday July 10, 2017 @11:35AM
                                      (#54778723) Homepage Journal


                                      I'm confused, and I'm happy to be proven wrong, but I'm
                                      having trouble with this:

                                        Let's say you warn someone in advance that you will
                                        harm their business by withdrawing their support and
                                        removing them from your customer list, should they
                                        exercise their right which is granted to them under the
                                        GPL. That's adding a term.

                                      I'm not sure how it's adding a term unless one of the rights
                                      granted by the GPL is one of those that the "warning" is
                                      stating will be taken away. As I see it, this is little different to
                                      a straightforward "You can use this under the GPL, or you
                                      can voluntarily give up your rights under the GPL and
                                      accept this combination of rights and restrictions instead.
                                      Your choice." I don't see the latter as violating the GPL in
                                      any way - if it does, perhaps that means we need to revisit
                                      what the GPL does, as it's perfectly reasonable under
                                      certain circumstances.

                                      For example, if someone wants me to support a piece of
                                      software, I don't want them to make changes to it without
                                      my knowledge, otherwise it's impossible for me to
                                      adequately support them. But if your reading of the GPL is
                                      correct, then if the heart of the software is GPL'd, I wouldn't
                                      be able to have them to make that agreement, especially if I



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                                      supply the software to them.


                                      Parent     Share
                                         Re:Not related to their mark (Score:2)

                                         by Bruce Perens ( 3872 ) <bruce@perens.com> on Monday July
                                         10, 2017 @12:07PM (#54778995) Homepage Journal


                                         I got a copy of Grsecurity's Stable Patch Access
                                         Agreement. [perens.com] It's a written term, given to
                                         you before the act of distribution. It's rather imprudent of
                                         them to write it down if you ask me.

                                         The entire point of the language against additional terms
                                         in the GPL is so that others can not negotiate with you
                                         for you to give up any of your GPL rights.

                                         I don't think this gives you an obligation to support
                                         software you didn't provide. You are not, in that case,
                                         refusing to support the software that you did provide. In
                                         contrast, Grsecurity shuts the customer off entirely.


                                         Parent      Share
                                             Re:Not related to their mark (Score:2)
                                             by squiggleslash ( 241428 ) on Monday July 10, 2017
                                             @01:34PM (#54779709) Homepage Journal


                                             Ah, so (still confused, but I think I see what you're
                                             getting at) - are you saying it was a straightforward
                                             "You can choose our terms or the GPLs, but if you
                                             choose the latter you don't get the software at all
                                             (from us, but who else are you going to get it from if
                                             nobody else has it who hasn't agreed to our
                                             terms)?"

                                             Because yes, I can understand why that would be a
                                             problem. Part of me is fearful it might still actually be
                                             legal to do that.


                                             Parent      Share
                                             Re:Not related to their mark (Score:0)
                                             by Anonymous Coward on Tuesday July 11, 2017 @09:40PM
                                             (#54790679)


                                             > Because yes, I can understand why that would be
                                             a problem. Part of me is fearful it might still actually
                                             be legal to do that.

                                             Allay your fears: It is a blatant violation. Clear as
                                             day. They no longer have the right to distribute or
                                             modify or make derivative works of the Linux Kernel.


                                             Parent      Share
                                             Re: Not related to their mark (Score:0)
                                             by Anonymous Coward on Wednesday July 12, 2017
                                             @07:10AM (#54792429)


                                             That's a good theory, but unless you test it in court it



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                                             remains just that, a theory.


                                             Parent      Share

                   Re: Does Anyone Use That? (Score:3)
                   by segedunum ( 883035 ) on Sunday July 09, 2017 @02:59PM (#54774263)


                   Anonymous cowards protesting how Grsecurity have been so badly abused by
                   everyone. Diddems. How predictable.

                   They chuck patches they *know* won't be accepted upstream, whinge that they
                   are being exploited when someone tries to make them palatable and rinses
                   and repeats the whole process because they know it would destroy their
                   pointless value proposition otherwise. As Linus said, their patches are utter
                   garbage. They can either put up or shut up.
                   Parent      Share
                       Re: Does Anyone Use That? (Score:0)
                       by Anonymous Coward on Sunday July 09, 2017 @03:16PM (#54774355)


                       Winge is a synonym for cringe. What is with the alliterates on the internet
                       these days?! Do you ever look up words you're unfamiliar with? Perhaps
                       you were searching for whining, rather than whinging?

                       Why would somebody cringe when a patch is rejected if they had
                       anticipated that rejection? Makes no sense at all.

                       If you're going to stamp your feet like that, at least correct your demands.


                       Parent      Share
                          Re: Does Anyone Use That? (Score:2)
                           by segedunum ( 883035 ) on Sunday July 09, 2017 @03:28PM (#54774431)


                           FFS, we really have brought out the fuckwits today. Mind you, I'm not
                           on Slashdot much these days so it could be a regular occurrence.
                           'Whinge'. Google is your friend.
                           Parent     Share
                              Re: Does Anyone Use That? (Score:1)
                              by james_marsh ( 147079 ) on Sunday July 09, 2017 @04:01PM (#54774595)


                              Yep it's like someone is testing a bot designed to drown out reason,
                              much like the comments on news sites seem to be these days.
                              People are pushing BSD and no one has even mentioned netcraft.
                              Not like the old days at all.


                              Parent      Share
                                  Re: Does Anyone Use That? (Score:0)

                                  by Anonymous Coward on Monday July 10, 2017 @04:52AM (#54777009)


                                  Netcraft confirms it: Netcraft is dying.


                                  Parent      Share

                          Re: Does Anyone Use That? (Score:2)
                           by Brockmire ( 4931623 ) on Sunday July 09, 2017 @05:16PM (#54774921)




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Bruce Perens Warns Grsecurity Breaches the Linux Kernel's GPL License - Slashdot
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                           Alliterates. Is this irony?
                           Parent     Share
                          Re: Does Anyone Use That? (Score:1)
                           by Desler ( 1608317 ) on Sunday July 09, 2017 @03:25PM (#54774405)


                           Whinge means to whine. It is not a synonym of cringe.


                           Parent     Share
                          Re: Does Anyone Use That? (Score:0)
                           by Anonymous Coward on Sunday July 09, 2017 @03:28PM (#54774427)


                           Linux has a rather looooooong history of rejections of totally fine
                           patches.

                           Linux project is just a clique of corporate monkeys who cannot stand
                           unknown faces around them.


                           Parent     Share

                       Re: Does Anyone Use That? (Score:0)
                       by Anonymous Coward on Sunday July 09, 2017 @03:13PM (#54774333)


                       If Linus said so then it's true, of course. Of course.


                       Parent      Share
                          Re: Does Anyone Use That? (Score:2)

                           by Zero__Kelvin ( 151819 ) on Sunday July 09, 2017 @06:25PM (#54775191)
                           Homepage



                           Great point. Linus should really consult someone who has written some
                           quality code and has experience reviewing and accepting or rejecting
                           patches ... oh, wait!
                           Parent     Share
                          Re: Does Anyone Use That? (Score:0)
                           by Anonymous Coward on Sunday July 09, 2017 @03:39PM (#54774485)


                           It's more the other way round: Linus said so because it is true. Of
                           course.
                           Parent     Share

                   Re: Does Anyone Use That? (Score:-1)
                   by Anonymous Coward on Sunday July 09, 2017 @03:01PM (#54774275)




                       Thanks for that well reasoned remark, way to contribute. The core kernel
                       crowds utter unreasoning hostility toward grsecurity is well documented
                       by now. Its made a laughing stock of the security of the stock kernel for
                       decades...

                   Oh, so in other words, the parent was dead on with the remark, and you've just
                   confirmed the fact that it is snakeoil dogshit. Sometimes, you don't need two
                   sentences to describe the fucking obvious when it can be summarized in just a
                   few words.




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                        ...and nobody likes to be shown to be an idiot.

                   The truth hurts, and the world is a brutal bitch. And if someone wants to stop
                   being labeled an idiot, then stop peddling snakeoil dogshit.


                   Parent      Share
                   Re: Does Anyone Use That? (Score:0)

                   by Anonymous Coward on Monday July 10, 2017 @03:21AM (#54776819)


                   I smell a lawyer. Or is that a rat?


                   Parent      Share

                Re:Does Anyone Use That? (Score:0)

                by Anonymous Coward on Sunday July 09, 2017 @02:32PM (#54774153)


                You haven't a clue


                Parent      Share
                Re:Does Anyone Use That? (Score:0)

                by Anonymous Coward on Sunday July 09, 2017 @03:40PM (#54774499)


                Such snakeoil that other kernel devs take their patches, rework them till they're
                "mergable" in Linus's eyes, and submits them. Sometimes they even remove
                gresecurity's copyright notices and pass the patches off as their own. Accidentally,
                of course.


                Parent      Share
                Re:Does Anyone Use That? (Score:0)
                by Anonymous Coward on Tuesday July 11, 2017 @03:51AM (#54784169)


                You're an idiot.


                Parent      Share

            Linus on Grsecurity (Score:4, Informative)

            by Anonymous Coward on Sunday July 09, 2017 @02:26PM (#54774123)




                Don't bother with grsecurity.

                Their approach has always been "we don't care if we break anything, we'll just
                claim it's because we're extra secure".

                The thing is a joke, and they are clowns. When they started talking about people
                taking advantage of them, I stopped trying to be polite about their bullshit.

                Their patches are pure garbage.

                Linus


            Share
                Re: Linus on Grsecurity (Score:0)
                by Anonymous Coward on Sunday July 09, 2017 @02:53PM (#54774231)




https://linux.slashdot.org/story/17/07/09/188246/bruce-perens-warns-grsecurity-breaches-the-linux-kernels-gpl-license[9/9/2017 4:07:58 PM]
Bruce Perens Warns Grsecurity Breaches the Linux Kernel's GPL License - Slashdot
                                   Case 3:17-cv-04002-LB Document 32-2 Filed 10/31/17 Page 23 of 138
                Linus is not a God, and often gets things spectacularly wrong (remember
                BitKeeper?) As such, rather than take his statements as gospel, try using your own
                judgement. It's a crying shame that the kernel community chose to drive out Brad
                Spengler without reason and lost out on securing the kernel, instead choosing to
                rely on NSA supplied code that doesn't actually seem to prevent any real world
                attacks.


                Parent       Share
                   Re: Linus on Grsecurity (Score:5, Insightful)
                   by 110010001000 ( 697113 ) on Sunday July 09, 2017 @02:55PM (#54774247) Homepage
                   Journal



                   I'll take the judgement of the guy who actually wrote the kernel over a
                   Grsecurity shill.
                   Parent        Share
                       Re: Linus on Grsecurity (Score:0)
                       by Anonymous Coward on Sunday July 09, 2017 @03:03PM (#54774285)


                       Why? The Linux kernel has been shown to have numerous years-old bugs
                       that Linus let slip through. Oh and the "many eyes" have also been an
                       abject failure at finding them. So I'm not sure why he should be trusted.


                       Parent        Share
                             Re: Linus on Grsecurity (Score:2)

                             by 110010001000 ( 697113 ) on Sunday July 09, 2017 @03:06PM (#54774301)
                             Homepage Journal



                             All software has bugs. It is natural. He can be trusted because he has
                             proven himself.
                             Parent      Share
                                Re: Linus on Grsecurity (Score:-1)

                                by Anonymous Coward on Sunday July 09, 2017 @03:47PM (#54774549)


                                But if your argument is that all software has bugs, then the logical
                                conclusion is that it doesn't matter whom you trust, they all produce
                                equally buggy code.

                                So, that means you're just a Linus fanboi. Awwww, did we hurt your
                                feelers, fanboi?


                                Parent          Share
                                    Re: Linus on Grsecurity (Score:2)
                                    by Zero__Kelvin ( 151819 ) on Sunday July 09, 2017 @06:29PM
                                    (#54775197) Homepage


                                    You win the "Most Ridiculous Faux Reasoning on the Internet"
                                    award!
                                    Parent        Share
                                    Re: Linus on Grsecurity (Score:0)

                                    by Anonymous Coward on Sunday July 09, 2017 @04:26PM (#54774709)


                                    logic fail in conclusion attempt. back of the short bus fer you.
                                    Parent        Share



https://linux.slashdot.org/story/17/07/09/188246/bruce-perens-warns-grsecurity-breaches-the-linux-kernels-gpl-license[9/9/2017 4:07:58 PM]
Bruce Perens Warns Grsecurity Breaches the Linux Kernel's GPL License - Slashdot
                                 Case 3:17-cv-04002-LB Document 32-2 Filed 10/31/17 Page 24 of 138
                                  Re: Linus on Grsecurity (Score:0)

                                  by Anonymous Coward on Sunday July 09, 2017 @09:03PM (#54775785)


                                  Someone failed first grade debating....

                                  When do you move on to calling them a poopyhead?


                                  Parent      Share
                                  Re: Linus on Grsecurity (Score:0)

                                  by Anonymous Coward on Wednesday July 12, 2017 @10:07AM
                                  (#54793203)


                                  I doubt that you hurt anyone's feelings.
                                  You may have made some people sad about the juvenile level
                                  of discourse here, though.


                                  Parent      Share

                              Re: Linus on Grsecurity (Score:0)
                              by Anonymous Coward on Sunday July 09, 2017 @03:48PM (#54774555)


                              Proven how? Even basic security methods have seen a bad joke
                              implementation on linux e.g ASLR, not to speak about anything
                              non-trivial.
                              They even refuse to assign CVEs and properly report security
                              vulnerabilities.
                              Yeah, that's some rather trusted security skills there.


                              Parent      Share

                       Re: Linus on Grsecurity (Score:0)

                       by Anonymous Coward on Sunday July 09, 2017 @03:26PM (#54774415)


                       Your paranoia and hostility speak louder about the attitude I was referring
                       to than I could ever hope to, it's pure toxic hate. I'm not related to grsecurity
                       in any way, although no doubt you'll now claim that I'm lying. Once
                       someone is that paranoid, nothing you can say or do will ever convince
                       them otherwise.


                       Parent      Share
                       Re: Linus on Grsecurity (Score:0)

                       by Anonymous Coward on Sunday July 09, 2017 @09:22PM (#54775863)


                       Meanwhile, grsec also tends to be publicly dismissed by certain
                       anonymous employees of certain organizations due to their toolsets
                       generally not working on them.

                       It's pretty sad what passes as "secure" by the average Linux admin these
                       days. It's as though nobody's learned a god damned thing.


                       Parent      Share

                   Re: Linus on Grsecurity (Score:0)
                   by Anonymous Coward on Sunday July 09, 2017 @03:05PM (#54774297)




https://linux.slashdot.org/story/17/07/09/188246/bruce-perens-warns-grsecurity-breaches-the-linux-kernels-gpl-license[9/9/2017 4:07:58 PM]
Bruce Perens Warns Grsecurity Breaches the Linux Kernel's GPL License - Slashdot
                                 Case 3:17-cv-04002-LB Document 32-2 Filed 10/31/17 Page 25 of 138
                       Linus is not a God, and often gets things spectacularly wrong (remember
                       BitKeeper?) .

                   Uh, last I checked, Linus ended up writing an open source clone of BitKeeper
                   that became immensely popular and is now used by just about every software
                   company in the world, including Microsoft. You might have heard of it. What are
                   you trying to say here?


                   Parent      Share
                       Re: Linus on Grsecurity (Score:2)
                       by mean pun ( 717227 ) on Sunday July 09, 2017 @03:52PM (#54774571)




                              Linus is not a God, and often gets things spectacularly wrong
                              (remember BitKeeper?) .

                          Uh, last I checked, Linus ended up writing an open source clone of
                          BitKeeper that became immensely popular and is now used by just
                          about every software company in the world, including Microsoft. You
                          might have heard of it. What are you trying to say here?

                       In a sense that's spectacularly wrong, no? I mean, he was wrong (to trust
                       the BitKeeper guy), and he took spectacular revenge. Of course in this
                       sense we should then hope he gets hacked, because the result could be
                       another spectacular piece of software, possibly upstaging grsecurity.


                       Parent      Share
                          Re: Linus on Grsecurity (Score:2)
                           by guruevi ( 827432 ) <evi@@@evcircuits...com> on Sunday July 09, 2017
                           @05:38PM (#54774991) Homepage


                           How do you upstate grsecurity? Their patches add zero net worth of
                           security, they just hope by calling something security it will sell to some
                           large companies.

                           If they want to add to security, submit patches to the kernel where
                           things are broken.


                           Parent     Share
                              Re: Linus on Grsecurity (Score:0)
                              by Anonymous Coward on Sunday July 09, 2017 @07:06PM (#54775335)


                              As far as I understand it, originally patches were submitted, over a
                              period of time, which were rejected. There was a falling out with
                              insults flying around, and as a result no further patches were
                              submitted to the mainline.

                              The good news is that recently it looks like some of those patches
                              are now being resubmitted as part of the kernel self protection
                              project (if they can sort out the copyright and attributation, I wonder
                              if Bruce Perens will be as vocal if copyright is stripped for code
                              going into the kernel?)

                              If you honestly believe it adds net zero worth of security, then it's
                              pointless arguing further with you as it's obvious you have
                              absolutely no idea what you're talking about.




https://linux.slashdot.org/story/17/07/09/188246/bruce-perens-warns-grsecurity-breaches-the-linux-kernels-gpl-license[9/9/2017 4:07:58 PM]
Bruce Perens Warns Grsecurity Breaches the Linux Kernel's GPL License - Slashdot
                                 Case 3:17-cv-04002-LB Document 32-2 Filed 10/31/17 Page 26 of 138
                              Parent      Share

                          Re: Linus on Grsecurity (Score:0)
                           by Anonymous Coward on Sunday July 09, 2017 @04:48PM (#54774817)


                           You've got the BitKeeper story wrong. He was never out for revenge.
                           He was rather upset with Tridgell though...


                           Parent     Share
                              Re: Linus on Grsecurity (Score:2)

                              by Bruce Perens ( 3872 ) <bruce@perens.com> on Sunday July 09, 2017
                              @09:01PM (#54775775) Homepage Journal


                              This is hysterically funny if you actually understand what Tridge did.

                              Parent      Share
                                  Re: Linus on Grsecurity (Score:0)
                                  by Anonymous Coward on Monday July 10, 2017 @02:54AM (#54776767)


                                  I spoke with Tridge about a week or two after at Wineconf in
                                  Germany.

                                  His reply to my questions was something along the lines of
                                  'HAH what a joke this has turned in to, I used to telnet to hit the
                                  port, put in the raw commands and checked out my stuff in to
                                  CVS' or words to that effect.

                                  He never agreed to the license, he accessed a public server,
                                  and he made a way for anyone to import the code. But bloody
                                  hell, he is evil for violating Larry's insane terms or Linus verbal
                                  bro's agreement with him.

                                  - sedwards


                                  Parent      Share

                          Re: Linus on Grsecurity (Score:2)
                           by vux984 ( 928602 ) on Sunday July 09, 2017 @08:33PM (#54775671)


                           "In a sense that's spectacularly wrong, no?"

                           Was Linus spectacularly wrong or were the BitKeeper people
                           spectactularly wrong? I've always taken that sequence of events as a
                           calculated risk... he didn't expect bitkeeper would revoke their use of
                           bitkeeper; but he also know he could replace it quickly if they were
                           boneheaded enough to do it.

                           They revoked the license. He wrote git over the weekend. And ...
                           problem solved. Not really a big deal after all.


                           Parent     Share
                          Re: Linus on Grsecurity (Score:2)
                           by BadDreamer ( 196188 ) on Monday July 10, 2017 @11:18AM (#54778585)
                           Homepage



                           So where is the damage caused by Linus in all this? The whole point of
                           bringing this up is to show how Linus is not to be trusted, and that
                           means that the decision by Linus must have caused damage, or it



https://linux.slashdot.org/story/17/07/09/188246/bruce-perens-warns-grsecurity-breaches-the-linux-kernels-gpl-license[9/9/2017 4:07:58 PM]
Bruce Perens Warns Grsecurity Breaches the Linux Kernel's GPL License - Slashdot
                                 Case 3:17-cv-04002-LB Document 32-2 Filed 10/31/17 Page 27 of 138
                           would be pointless bringing it up.

                           So where is the damage? What bad thing does Linux carry with it from
                           this decision? How are we crippled by Linus' decision?


                           Parent     Share
                              Re: Linus on Grsecurity (Score:2)
                              by mean pun ( 717227 ) on Monday July 10, 2017 @12:06PM (#54778989)




                                  The whole point of bringing this up is to show how Linus is not
                                  to be trusted, and that means that the decision by Linus must
                                  have caused damage, or it would be pointless bringing it up.

                              Wot? No. I have no idea where you get all this from.

                              Look, I like Linus. He knows what he's doing, both technically and
                              with people management. I trust his evaluation of grsecurity.

                              My lighthearted point is simply that (arguably) Linus was wrong to
                              use BitKeeper, but that he recovered from the issue in a
                              spectacular way by writing his own software that has upstaged
                              BitKeeper. Therefore, he was 'spectacularly wrong' about
                              BitKeeper. See? It's a joke. No? I guess you had to be there then...


                              Parent      Share

                       Re: Linus on Grsecurity (Score:0)

                       by Anonymous Coward on Sunday July 09, 2017 @04:28PM (#54774717)


                       The only people who like git are trend chasing hipsters (like JavaScript
                       "programmers") who have never used other systems. Professionals, on the
                       other hand, prefer Mercurial or one of the numerous other DVCS and VCS
                       that exist.


                       Parent      Share
                          Re: Linus on Grsecurity (Score:2)

                           by nitehawk214 ( 222219 ) on Sunday July 09, 2017 @05:04PM (#54774881)


                           Since you exist in 2006, can you warn us about the housing crisis and
                           ISIS?


                           Parent     Share
                          Re: Linus on Grsecurity (Score:3)

                           by duke_cheetah2003 ( 862933 ) on Sunday July 09, 2017 @09:04PM (#54775787)
                           Homepage




                              The only people who like git are trend chasing hipsters (like
                              JavaScript "programmers") who have never used other systems.
                              Professionals, on the other hand, prefer Mercurial or one of the
                              numerous other DVCS and VCS that exist.

                           If only this were true. But it's not. It's my perspective that most
                           programmers who adopt the usage of any version control tend to stick
                           with the first one they learn. After that, they become loyal to that
                           package, even if it dies off, they cling to the known quantity. That's in



https://linux.slashdot.org/story/17/07/09/188246/bruce-perens-warns-grsecurity-breaches-the-linux-kernels-gpl-license[9/9/2017 4:07:58 PM]
Bruce Perens Warns Grsecurity Breaches the Linux Kernel's GPL License - Slashdot
                                 Case 3:17-cv-04002-LB Document 32-2 Filed 10/31/17 Page 28 of 138
                           my view, how people pick their version control. It's rare anyone
                           switches from one to another, unless forced to do so by an external.

                           Some people might use one outside of their normal to work with
                           another team, but for their own projects, they'll stick to their
                           first/favorite.


                           Parent     Share
                              Re: Linus on Grsecurity (Score:2)

                              by Bruce Perens ( 3872 ) <bruce@perens.com> on Sunday July 09, 2017
                              @09:07PM (#54775805) Homepage Journal


                              Walter Tichy is our savior! :-)

                              The truth is that most people don't use 95% of the feature set of a
                              version control system, and everything they wanted was there in
                              RCS back in 1982.


                              Parent      Share
                                  Re: Linus on Grsecurity (Score:2)

                                  by phantomfive ( 622387 ) on Monday July 10, 2017 @02:01AM
                                  (#54776667) Journal


                                  Local branches are super-great, though.

                                  Parent         Share

                              Re: Linus on Grsecurity (Score:2)

                              by jeremyp ( 130771 ) on Monday July 10, 2017 @09:02AM (#54777673)
                              Homepage Journal



                              My first was CVS, then I progressed to svn, after that to Mercurlal
                              which is my favourite, but I grudgingly use git now because my dev
                              tool only supports it and svn. Of the source code control tools I have
                              used, git is without doubt not as bad as CVS. Other than that it
                              would have been better if it had never existed.


                              Parent      Share
                              Re: Linus on Grsecurity (Score:2)

                              by almitydave ( 2452422 ) on Monday July 10, 2017 @01:47PM (#54779827)




                                     The only people who like git are trend chasing hipsters
                                     (like JavaScript "programmers") who have never used
                                     other systems. Professionals, on the other hand, prefer
                                     Mercurial or one of the numerous other DVCS and VCS
                                     that exist.

                                  If only this were true. But it's not. It's my perspective that most
                                  programmers who adopt the usage of any version control tend
                                  to stick with the first one they learn. After that, they become
                                  loyal to that package, even if it dies off, they cling to the known
                                  quantity.

                              Well, I started with Rational ClearCase and use git now; in between
                              I used (in no particular order) VSS, PVCS, CVSNT (+TortoiseCVS),
                              and TFS. git is my preferred system of all of those, solving every
                              shortcoming I personally experienced.




https://linux.slashdot.org/story/17/07/09/188246/bruce-perens-warns-grsecurity-breaches-the-linux-kernels-gpl-license[9/9/2017 4:07:58 PM]
Bruce Perens Warns Grsecurity Breaches the Linux Kernel's GPL License - Slashdot
                                 Case 3:17-cv-04002-LB Document 32-2 Filed 10/31/17 Page 29 of 138
                              I doubt your assertion holds for programmers who moved from file-
                              locking "checkout-and-edit" based systems to an "update-and-
                              merge" paradigm. The latter is so much easier. By the end of my
                              use of VSS, I was basically doing that anyway with one directory
                              containing the source-controlled copy, and another directory
                              containing the copy I actually worked on, and just merging back and
                              forth as necessary.


                              Parent      Share
                                  Re: Linus on Grsecurity (Score:2)
                                  by duke_cheetah2003 ( 862933 ) on Monday July 10, 2017 @06:48PM
                                  (#54781823) Homepage




                                     I doubt your assertion holds for programmers who moved
                                     from file-locking "checkout-and-edit" based systems to an
                                     "update-and-merge" paradigm. The latter is so much
                                     easier. By the end of my use of VSS, I was basically doing
                                     that anyway with one directory containing the source-
                                     controlled copy, and another directory containing the copy
                                     I actually worked on, and just merging back and forth as
                                     necessary.

                                  I can only speak from my own experience. I've been using
                                  Perforce for far too long. I don't wanna migrate to anything else
                                  cuz it's a pain in the ass and I'll likely lose all the prior versions
                                  of my stuff if I resubmit to a new system. There's supposedly
                                  conversion tools for Perforce to around, but I'm wary. I stick to
                                  my known quantity. It's still old school 'checkout-and-edit.'
                                  Which is good in my book, cuz damn as I get older, I have
                                  trouble keeping track of what I was working on. Knowing what I
                                  have checked out is a pretty good indicator of what I need to be
                                  looking at.

                                  I suppose my original post in my own experience, and from the
                                  people I've met in my life, most folks my age dislike learning
                                  new systems, so I guestimated most people think like I do, and
                                  those I've been in contact with.


                                  Parent      Share

                              Re: Linus on Grsecurity (Score:0)
                              by Anonymous Coward on Sunday July 16, 2017 @02:54PM (#54820759)


                              Hmm, no. There is no way I am going back to CVS. I got used to
                              git, and it stays well enough out of the way (i.e. it is fast and does
                              what I need), so I never had much reason to use Mercurial.
                              Between CVS and git, I used SVN, arch, tla, and darcs.

                              I dislike SVN heavily, and nothing outside of a lot of pay can get me
                              to interact with either CVS or arch/tla.

                              OTOH, I can still tolerate RCS for single-file VCS (e.g. a stand-
                              alone document), go figure...


                              Parent      Share

                          Re: Linus on Grsecurity (Score:0)
                           by Anonymous Coward on Tuesday July 11, 2017 @01:39AM (#54783833)




https://linux.slashdot.org/story/17/07/09/188246/bruce-perens-warns-grsecurity-breaches-the-linux-kernels-gpl-license[9/9/2017 4:07:58 PM]
Bruce Perens Warns Grsecurity Breaches the Linux Kernel's GPL License - Slashdot
                                 Case 3:17-cv-04002-LB Document 32-2 Filed 10/31/17 Page 30 of 138
                           I really applaud Linus for his kernel. As far as DVCS's go, though, I
                           wish that the other kernel developer to write one that month had met
                           with more success. Mercurial is sure a sight easier to use that Git. Oh,
                           how I wish Matt Mckall had had written it in C.


                           Parent     Share

                       Re: Linus on Grsecurity (Score:0)
                       by Anonymous Coward on Sunday July 09, 2017 @03:45PM (#54774539)


                       Obviously you're too young to remember. For three years Linus insisted
                       that the kernel source should be stored using BitKeeper after warnings
                       from all quarters that he shouldn't be using them. It was only once it came
                       back to bite him in the arse as he had been repeatedly told it would
                       (whoops! free license revoked) that git came about. It may be immensely
                       popular and widely used now, but at its birth it was an emergency panic
                       reaction after Linux lost its DVCS.

                       Pulling truimph from catastrophe like that is why people stick with Linus
                       (and make no mistake, I am not anti-Linus in any way at all), but it doesn't
                       stop the original call being a bad one, and now with hindsight those who
                       were critical can say with certainty that they were correct.

                       The point is that being critical of a decision is not the same as being critical
                       of a person or organisation, and you should feel free to criticise some
                       decisions. Hell, Linus loves criticising bad code, and it's not personal. My
                       criticism is that grsecurity makes a tremendously positive impact in terms of
                       hardening the linux kernel to attack, and that going with the NSA was a bad
                       decision. Rather than act like rabid attack dogs, finding a way to work
                       together would have been far better for the linux community as a whole.

                       Unfortunately, it's far too late now. And here we are.


                       Parent      Share
                          Re: Linus on Grsecurity (Score:2)

                           by Zero__Kelvin ( 151819 ) on Sunday July 09, 2017 @06:35PM (#54775219)
                           Homepage



                           We know the whole story better than you. Those warning Linus didn't
                           think, like I am sure Linus DID, "This works and saves time. If anything
                           changes I will take a couple weeks and spin something up that is better
                           when it is time." He also couldn't have predicted that another guy would
                           violate the terms, reverse engineer the protocol, and try to implement a
                           bikeeper clone. Blame that asshat.
                           Parent     Share
                              Re: Linus on Grsecurity (Score:2)

                              by Bruce Perens ( 3872 ) <bruce@perens.com> on Sunday July 09, 2017
                              @09:04PM (#54775793) Homepage Journal


                              Tridge used telnet to get to the Bitkeeper server port, and typed
                              "HELP". That was the great crime!

                              Most people who understand this believe that Larry over-reacted.

                              My personal conclusion was that Larry made things much worse for
                              himself with his own behavior. I hope he learned something and is
                              doing better now.




https://linux.slashdot.org/story/17/07/09/188246/bruce-perens-warns-grsecurity-breaches-the-linux-kernels-gpl-license[9/9/2017 4:07:58 PM]
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                                 Case 3:17-cv-04002-LB Document 32-2 Filed 10/31/17 Page 31 of 138
                              Parent      Share
                                  Re: Linus on Grsecurity (Score:2)
                                  by Zero__Kelvin ( 151819 ) on Monday July 10, 2017 @05:20AM
                                  (#54777067) Homepage


                                  So Tridgell ... the guy who reverse engineered Microsoft's SMB
                                  protocol and created SAMBA, was just curious about the
                                  protocol but had no intent of doing anything with the information
                                  then? Is that really what you believe?
                                  Parent      Share
                                     Re: Linus on Grsecurity (Score:0)
                                      by Anonymous Coward on Wednesday July 12, 2017 @05:34PM
                                      (#54796499)


                                      (sounds of hole digging intensifies)


                                      Parent     Share

                              Re: Linus on Grsecurity (Score:0)

                              by Anonymous Coward on Monday July 10, 2017 @12:22AM (#54776431)



                                 He also couldn't have predicted that another guy would violate
                                 the terms, reverse engineer the protocol, and try to implement a
                                 bikeeper clone. Blame that asshat.

                              For one, the terms themselves were asshat. But lets stop for a
                              minute and pretend that it was an asshat thing to violate the terms.
                              So, the terms were violated, and one developer got his license
                              revoked. Could he just buy another license? Nope, he'd still be in
                              the same boat and get that license revoke. Hmm...it's almost as if
                              the terms themselves were asshat because they relied upon terms
                              that inherently incompatible to a Free software development system
                              or really any system that allows for some third party to revoke a
                              license.

                              In short, it was only a matter of time before some "asshat" who was
                              important enough got his license revoked because of asshat
                              licensing terms. Hell, the whole fact that the Linux kernel was being
                              maintained on third-party servers with no real ability to be cloned
                              was a recipe for disaster regardless. It was all something Linus
                              should have saw coming, but he just wasn't interested at making
                              yet another version control system and Bitkeeper suited him.

                              So, definitely a fuck up on Linus' part. Just like it's a fuck up on
                              Linus' part to dismiss grsecurity code just because the developers
                              are asshats. It's great than KSPP is at least heading towards
                              adopting code of grsecurity and presumably at least some of
                              PaXTeam's complaint of partial patches or obvious lack of
                              understanding will improve as KSPP progresses. I also agree with
                              PaXTeam in they should receive more attribution when their code is
                              heavily the inspiration for or heavy copy-and-pasted from--although
                              I imagine they'll still bitch because nothing short of a complete
                              inclusion will make them happy and undoubtedly some of their code
                              is going to be shown to be the sort of exploits in the future.

                              PS - Seriously, asshats pretty much all around. Except Linus. I do
                              think he's guilty of arrogance and pompousness, though. But that's
                              sort of what most leaders are about. *shrug*




https://linux.slashdot.org/story/17/07/09/188246/bruce-perens-warns-grsecurity-breaches-the-linux-kernels-gpl-license[9/9/2017 4:07:58 PM]
Bruce Perens Warns Grsecurity Breaches the Linux Kernel's GPL License - Slashdot
                                 Case 3:17-cv-04002-LB Document 32-2 Filed 10/31/17 Page 32 of 138
                              Parent      Share
                                  Re: Linus on Grsecurity (Score:2)

                                  by Zero__Kelvin ( 151819 ) on Monday July 10, 2017 @05:29AM
                                  (#54777085) Homepage


                                  So ... You DO know that EVERY version of the Linux kernel is
                                  freely available via git, thereby disproving your claim in its
                                  entirety, right? Also, your Stallmanesque/ idealistic version of
                                  "free" and Linus' pragmatic, free as in "open" version differ. He
                                  made a choice you didn't like, but time has shown that it wasn't
                                  a debilitating choice.
                                  Parent      Share
                                     Re: Linus on Grsecurity (Score:0)

                                      by Anonymous Coward on Monday July 10, 2017 @01:33PM
                                      (#54779701)



                                        So ... You DO know that EVERY version of the Linux
                                        kernel is freely available via git, thereby disproving your
                                        claim in its entirety, right?

                                      Because Bitkeeper was proven to be unreliable because it
                                      had a fit when a developer chose to violate its terms of use
                                      which amounted to any attempt to clone Bitkeeper. Yes, as
                                      a compromise Bitkeeper had ran a gateway to access the
                                      in-development kernel with open tools, but they weren't 1st
                                      class citizens--ie, you had to use Bitkeeper's software or
                                      you got an inferior version. Want to make it better? Oops,
                                      again, that violates the terms of use.

                                        Also, your Stallmanesque/ idealistic version of "free" and
                                        Linus' pragmatic, free as in "open" version differ.

                                      Right, and his pragmatic choice bit him in the ass.

                                        He made a choice you didn't like, but time has shown that
                                        it wasn't a debilitating choice.

                                      Granted. And rarely is it a debilitating choice unless you rely
                                      upon a massive ecosystem of software. Thankfully Linus
                                      was only using one, relatively easily replaceable bit of
                                      software. It was still a dumbass move when he could have
                                      made git a short while after using Bitkeeper and realizing it
                                      wasn't going to work out in the long-term. Just like he
                                      started Linux because Minix's system of patches-only for
                                      redistribution wasn't a long-term solution for a project that
                                      inherent was at odds with the end goal.

                                      So, Linus shits on grsecurity and PaXTeam because they're
                                      asshats and he says their code sucks? Fine. The answer to
                                      that is to, you know, take the core idea of what grsecurity
                                      was after and implement that. Instead, we're now how 16
                                      years in to grsecurity as a separate patch set and a lot of
                                      the valid complaints are still there and as much as I would
                                      out that we don't want a lot of grsecurity-like ideas in the
                                      mainline kernel and grsecurity's patches don't prevent or
                                      mitigate a lot of security vulnerabilities, there's still a lot of
                                      good ideas that should have been put in the mainline kernel
                                      a long time ago.




https://linux.slashdot.org/story/17/07/09/188246/bruce-perens-warns-grsecurity-breaches-the-linux-kernels-gpl-license[9/9/2017 4:07:58 PM]
Bruce Perens Warns Grsecurity Breaches the Linux Kernel's GPL License - Slashdot
                                 Case 3:17-cv-04002-LB Document 32-2 Filed 10/31/17 Page 33 of 138
                                      And before you say, "make your own patches", the point is
                                      that (1) invariably Linus has to approve them to get into
                                      mainline and hence get the widest adoption and (2) I do
                                      agree with PaXTeam that someone should be being paid--
                                      although I think not them--to implement those patches and
                                      not on the scale that KSPP is being done. Instead of seeing
                                      how Windows security in 2001 onward was a clusterfuck
                                      and they tried to get their act together, a large part of the
                                      Linux community--Linus included--has rested on his laurels
                                      on the notion that the Linux kernel is just somehow better.
                                      It's irrelevant to me or an attacker if Linux is better. It
                                      matters to me if it's exploitable.


                                      Parent     Share
                                         Re: Linus on Grsecurity (Score:2)
                                         by Zero__Kelvin ( 151819 ) on Monday July 10, 2017 @04:43PM
                                         (#54781017) Homepage


                                         Hopefully you realize I didn't waste my time reading your
                                         drivelous rant about nothing.
                                         Parent      Share
                                         Re: Linus on Grsecurity (Score:0)

                                         by Anonymous Coward on Monday July 10, 2017 @11:40PM
                                         (#54783381)


                                         To me it's telling that these patch sets haven't managed
                                         to get merged into the mainline kernel, and they had
                                         _years_ to figure it out. That should tell us something
                                         about the quality of the code.

                                         Locking it behind a copyright license is even more
                                         evidence it's snake oil. They took from the libre software
                                         community, built on it, and don't want to contribute back
                                         without being paid. That's how you know they don't give
                                         a shit about security; they'd rather have a paycheck
                                         instead.

                                         If one doesn't want to write code for free, then they
                                         shouldn't get involved in libre software. Alternatively,
                                         they can sell themselves to a company and then do their
                                         bidding, corrupting libre software with the profit motive.
                                         See: PulseAudio, systemd, *kit, logind, FreeDesktop in
                                         general.


                                         Parent      Share
                                             Re: Linus on Grsecurity (Score:0)

                                             by Anonymous Coward on Wednesday July 12, 2017
                                             @05:42PM (#54796537)


                                             You're under the delusion that they have ever tried
                                             to, that is not the case. A lot of people are confusing
                                             criticisms about the awful security of the kernel with
                                             a desire to get a patch accepted. It's always been
                                             third parties that have tried to get grsecurity features
                                             in, and have been shot down by both sides for one
                                             reason or another; the mainline is the poor relation
                                             in this scenario.




https://linux.slashdot.org/story/17/07/09/188246/bruce-perens-warns-grsecurity-breaches-the-linux-kernels-gpl-license[9/9/2017 4:07:58 PM]
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                                 Case 3:17-cv-04002-LB Document 32-2 Filed 10/31/17 Page 34 of 138
                                             Parent      Share

                                         Re: Linus on Grsecurity (Score:0)
                                         by Anonymous Coward on Tuesday July 11, 2017 @05:47AM
                                         (#54784531)




                                             So, Linus shits on grsecurity and PaXTeam
                                             because they're asshats and he says their code
                                             sucks? Fine. The answer to that is to, you know,
                                             take the core idea of what grsecurity was after and
                                             implement that.

                                         One problem is that it's not a single core idea, rather a
                                         cornucopia of different hardening techniques to prevent
                                         exploits from various different avenues. Many of them
                                         rely on each other and don't work by themselves. The
                                         other problem is that on the whole the mainline kernel
                                         devs are not security experts, as evidenced by cargo
                                         cult behaviour where they will attempt to implement a
                                         security feature without understanding the implications
                                         of what they're doing (nb from a security, not code,
                                         perspective), and leave themselves exposed as a result.
                                         Personally, as much as I would like to see some of
                                         those features get into mainline, I wouldn't trust the
                                         mainline devs to get them right alone.

                                         So, unfortunately to get any of the features in sanely
                                         would probably involve close collaboration between
                                         grsec and mainline - can you imagine that ever
                                         happening? Me neither.

                                             Instead, we're now how 16 years in to grsecurity as
                                             a separate patch set and a lot of the valid
                                             complaints are still there and as much as I would
                                             out that we don't want a lot of grsecurity-like ideas
                                             in the mainline kernel and grsecurity's patches
                                             don't prevent or mitigate a lot of security
                                             vulnerabilities, there's still a lot of good ideas that
                                             should have been put in the mainline kernel a long
                                             time ago.

                                         The reason for me personally is that grsecurity patches
                                         do mitigate and prevent a whole lot of security
                                         vulnerabilities, especially the ones that waltz by idiot
                                         placebos like selinux. Unfortunately the amount of
                                         irrational hatred and vitriol flying around from the highest
                                         levels of both camps mean that I've given up hope of
                                         linux ever being as secure as even the windows kernel
                                         now. Due to the hell I'm having trying to support bug-
                                         riddled systemd in a sane fashion I'm thinking about
                                         moving over to BSD, Linux is done, killed by egos, stick
                                         a fork in it.


                                         Parent      Share

                              Re: Linus on Grsecurity (Score:0)
                              by Anonymous Coward on Monday July 10, 2017 @11:28AM (#54778671)


                              I am sure Linus _didn't_ think "if anything changes I will take a



https://linux.slashdot.org/story/17/07/09/188246/bruce-perens-warns-grsecurity-breaches-the-linux-kernels-gpl-license[9/9/2017 4:07:58 PM]
Bruce Perens Warns Grsecurity Breaches the Linux Kernel's GPL License - Slashdot
                                   Case 3:17-cv-04002-LB Document 32-2 Filed 10/31/17 Page 35 of 138
                                 couple weeks and spin something up that is better". If that would
                                 have been his thought, it would have been stupid not to take those
                                 couple of weeks at the time the thought occured since the
                                 continued dependency _did_ cause friction in kernel processes
                                 (and likely also affected his friendship with Larry McVoy).

                                 At any rate, Tridgell did _not_ "violate the terms" when reverse
                                 engineering the Bitkeeper protocol since he wasn't even a
                                 Bitkeeper customer, and McVoy did not have actual terms for the
                                 "free" license of Bitkeeper to Linux rather than volatile
                                 "understandings" of what he did or did not expect others to do to
                                 keep providing Linux developers with Bitkeeper.

                                 Linus trusted those conditions/understandings to stay compatible
                                 with the needs of Free Software developers engaged with Linux,
                                 McVoy being a friend of his. When the arrangement did not work,
                                 he separated friendship from business (often a good idea) and
                                 created Git.


                                 Parent    Share

                       Re: Linus on Grsecurity (Score:2)
                       by jeremyp ( 130771 ) on Monday July 10, 2017 @08:55AM (#54777639) Homepage
                       Journal



                       And now because of the Linus Worship, we are all stuck with having to use
                       the pile of shit that is git.


                       Parent       Share

                   Re: Linus on Grsecurity (Score:0)

                   by Anonymous Coward on Sunday July 09, 2017 @03:36PM (#54774471)


                   On GrSec:

                   First of all Linus is a demi-god. He's going to tell you in his very crude words
                   what he really, really thinks. How many people with his notoriety do that? Even
                   Trump can't get to his heel and they call it the god emperor.

                   Sure, it could be said in a nicer way but personally I value genuine statements
                   much more than I value PC garbage.

                   Second, for I know Brad (and pipacs) since 15 years - Brad has some mental
                   issues. He's not a bad guy, but with his problems AND the fact that he doesn't
                   understand why GPL'd software he builds on can't make money and pay the
                   rent makes for a rather bad outcome. It's always tantrums and bs with Brad.
                   pipacs is alright.

                   Finally, some of the GrSec patches are or were truly useful, though they do
                   indeed break a lot of kernel stuff "in the name of security", aren't very well
                   written and sometimes, oops, introduce really, really bad kernel exploits. This
                   doesn't bode well with Linus. He wants the patches, but only if they're properly
                   written. That is the reason why Linux is so successful by the way. He will
                   balance these things well. As soon as Linus is gone it's going downhill.

                   On SELinux:
                   Few people actually use SELinux. Is this the best thing since sliced bread?
                   Nope. There's been much better efforts, better OSes (than Linux !) but none
                   runs the stuff you want them to run. SELinux is otherwise actually alright and
                   when configured does help - but for most, it's easier to run multiple VMs or..




https://linux.slashdot.org/story/17/07/09/188246/bruce-perens-warns-grsecurity-breaches-the-linux-kernels-gpl-license[9/9/2017 4:07:58 PM]
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                   err, containers (which security is funny when you understand how
                   namespacing works and it's current status in the kernel vs how AVC works)


                   Parent      Share
                       Re: Linus on Grsecurity (Score:0)

                       by Anonymous Coward on Monday July 10, 2017 @05:57AM (#54777135)




                          First of all Linus is a demi-god.

                       Aaaand you lost me. Sorry, I never debate with anyone who goes full kook
                       on the first sentence.


                       Parent      Share

                   Re: Linus on Grsecurity (Score:0)
                   by Anonymous Coward on Sunday July 09, 2017 @05:13PM (#54774911)


                   Yeah, I remember BitKeeper. I remember Linus being loyal to Larry. I
                   remember Larry taking his ball home. I remember Linus writing the
                   replacement himself because all other options were bullshit.

                   It's a crying shame that the kernel community chose to drive out Brad Spengler

                   LOL. Are you Brad or something? Did you run to Slashdot to spam the shit out
                   of this thread, because AC? Haha.


                   Parent      Share
                       Re: Linus on Grsecurity (Score:0)
                       by Anonymous Coward on Monday July 10, 2017 @06:00AM (#54777143)


                       Amusingly this is something like the 7th accusation here that any AC
                       supportive toward grsecurity is Brad in disguise. You can't buy paranoia like
                       that, and shows clearly the kind of kooks he's up against. No, I'm not Brad.
                       Try the AC further down, he looks a lot more like Brad. Maybe try other
                       stories, too? Hey, you're posting AC, maybe you're Brad!


                       Parent      Share

                Re:Linus on Grsecurity (Score:0, Interesting)
                by Anonymous Coward on Sunday July 09, 2017 @04:40PM (#54774771)


                Brad Spengler of GRsecurity replies

                   So Linus, you called the patches garbage when someone asked how we fixed
                   the heap stack gap issue 7 years ago when you failed to. Can you provide
                   any technical details demonstrating why that fix is garbage, the fix that looks
                   very similar in form and function to what's present upstream now finally (in
                   some of the kernels at least, and minus ours being configurable and cleaner)?
                   Can you explain how our fix breaks userland and how your 2010 fix didn't?

                   If not, I'd suggest you keep your lies and FUD to yourself. No one but lackeys
                   for your cult of personality are buying it. You and others trot out the same old
                   tired excuse about "breaking userland" and never offer up any real facts. If it
                   were the case, it wouldn't be possible to run grsec on anything but distros with
                   recompiled userland, and yet we work just fine on any distro. It's a
                   meaningless crutch for people apparently have never looked at any kernel




https://linux.slashdot.org/story/17/07/09/188246/bruce-perens-warns-grsecurity-breaches-the-linux-kernels-gpl-license[9/9/2017 4:07:58 PM]
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                                 Case 3:17-cv-04002-LB Document 32-2 Filed 10/31/17 Page 37 of 138
                   code of ours who refuse to
                   accept the simple facts:
                   1) You're not security experts
                   2) You view security as an annoyance
                   3) The Linux kernel's security track record is terrible

                   It's the only way they can justify it in their minds -- the problem surely can't be
                   that you've ignored the problem for years and lied to people telling them it's
                   the best that can be done. When some outside group proves you wrong, you
                   have to pretend there's no way you could have done what they did, because
                   you care so much about code quality. How can you explain the verbatim
                   copy+pasting of our code if that's the case? Please explain to the world how if
                   our code is such garbage, you haven't been able to come up with any
                   significant security improvements without it?

                   Put up or shut up, for once.

                   > Please.
                   Please.

                   -Brad


                Parent      Share
                   Re: Linus on Grsecurity (Score:4, Interesting)
                   by guruevi ( 827432 ) <evi@@@evcircuits...com> on Sunday July 09, 2017 @05:42PM
                   (#54775013) Homepage


                   You don't sound like a security expert either. If the kernels are so buggy, write
                   patches and demonstrable exploit code.


                   Parent      Share
                       Re: Linus on Grsecurity (Score:0)

                       by Anonymous Coward on Sunday July 09, 2017 @08:53PM (#54775743)


                       "i" did. I submitted it as part of a 20MB binary blob. Gitguud! :p


                       Parent      Share

                   Re:Linus on Grsecurity (Score:0)

                   by Anonymous Coward on Monday July 10, 2017 @10:50AM (#54778351)


                   Thanks for posting that Brad.


                   Parent      Share

                Re:Linus on Grsecurity (Score:0)
                by Anonymous Coward on Sunday July 09, 2017 @03:04PM (#54774291)


                Are we talking about the same guy who still cannot recognize security fixes and the
                importance to assign them a proper CVE?
                The same guy who called openbsd guys "masturbating monkeys"?
                Yeah, no wonder why linux is a security joke.


                Parent      Share
                Re:Linus on Grsecurity (Score:0)
                by Anonymous Coward on Sunday July 09, 2017 @03:08PM (#54774309)




https://linux.slashdot.org/story/17/07/09/188246/bruce-perens-warns-grsecurity-breaches-the-linux-kernels-gpl-license[9/9/2017 4:07:58 PM]
Bruce Perens Warns Grsecurity Breaches the Linux Kernel's GPL License - Slashdot
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                Said "Their patches are pure garbage" and then commits LSM garbage.
                wow much quality wow


                Parent      Share
                Re:Linus on Grsecurity (Score:0)

                by Anonymous Coward on Sunday July 09, 2017 @03:10PM (#54774319)


                Can't you say roughly the same thing about systemd? "we don't care if we break
                anything, we'll just claim it's super-fast on startup"


                Parent      Share
                   Re:Linus on Grsecurity (Score:0)
                   by Anonymous Coward on Sunday July 09, 2017 @03:34PM (#54774459)


                   Yes but systemd is made by "one of us"! You don't get it buddy?
                   Linux has stopped being technical long ago, it's just a social dance this days
                   with a full-mouthed bouncer on the door.


                   Parent      Share

                Re:Linus on Grsecurity (Score:-1)
                by Anonymous Coward on Sunday July 09, 2017 @04:34PM (#54774737)


                background music: dueling banjo theme from "Deliverance"

                   Also a shout out to Linus for his recent trade disparagement:
                   https://www.spinics.net/lists/kernel/msg2540934.html
                   It's big talk coming from a guy who hasn't protected his users for the past
                   16 years, who authored the broken stack gap patch that crashed machines
                   and broke apps in 2010 and introduced the userland ABI changes that are
                   now causing
                   problems with the proper fix (that oh, surprise, looks a lot like PaX's fix from
                   2010). We've heard these kinds of nonsense claims from Linus before, like
                   here:
                   https://lkml.org/lkml/2011/6/6/306
                   Maybe someone pointed him to it and the embarrassment from realizing he
                   was
                   completely wrong was too much that he's decided to lash out?

                   Yes Linus, our patches are such garbage the KSPP can't manage to do
                   anything
                   other than copy+paste from them, and you're slowly merging them (along
                   with our registered copyrights). How do our table scraps taste?

                   BTW, we're happy to go toe-to-toe with you here in public on actual facts
                   instead of pathetic ad hominems.

                   -Brad


                Parent      Share
                Re:Linus on Grsecurity (Score:1)

                by martinfb ( 743607 ) on Monday July 10, 2017 @01:14PM (#54779499)


                Do you care to site where this can be verified?

                Parent      Share




https://linux.slashdot.org/story/17/07/09/188246/bruce-perens-warns-grsecurity-breaches-the-linux-kernels-gpl-license[9/9/2017 4:07:58 PM]
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                   Re:Linus on Grsecurity (Score:0)
                   by Anonymous Coward on Monday July 10, 2017 @01:23PM (#54779579)


                   > Do you care to site where this can be verified?

                   No, but he can probably cite it.


                   Parent      Share

            sounds about right (Score:5, Insightful)
            by spongman ( 182339 ) on Sunday July 09, 2017 @02:45PM (#54774195)


            i usually fall into the "GPL is less free than BSD" camp, but in this case I agree fully
            with Perens. the Linux kernel is GPL, everyone who works on it agrees accepts that. if
            you don't like the GPL or the conditions it places on you, or how you (and others) can
            distribute your code - then go the fuck somewhere else.


            Share
                Re:sounds about right (Score:0)
                by Anonymous Coward on Sunday July 09, 2017 @03:10PM (#54774317)


                What a marvelous way to stop innovation in it's tracks. Forcing the same license
                requirements on actual changes to the kernel versus imposing the same license
                restriction on any downstream externally linked code is not going to attract many
                competent developers or those who specifically employee developers who can
                extend and enhance the functionality running against the kernel.

                It seems the only ones who are allowed to reap any monetary rewards from the
                Linux ecosystem are the GPL cheerleaders collecting their consultant fees for their
                efforts in spreading the Open Source gospel. And who really cares what Linus
                thinks? The man seems to have graduated with honors from the Donald Trump
                public speaking University. The man basically ported the Unix kernel to the x86
                architecture. He wasn't even the first person to try before Windows swept them to
                the curb in the early years of the PC. So while his achievement is impressive he
                did change water into wine. And he also belongs to the club of people who make a
                substantial amount of coin while simultaneously telling those lower in the food
                chain that they need to donate their work for the public good and if they want to
                make an actual living they should remain in the Republic of the Anonymous
                Cubicle and take solace in their monkey coding endeavors.


                Parent      Share
                   Re:sounds about right (Score:2)
                   by GerryGilmore ( 663905 ) on Sunday July 09, 2017 @03:26PM (#54774417)


                   Wait a danged minute here! How can a core kernel change be considered
                   "externally linked code"? If it truly just links, there's no GPL issue. Methinks
                   you've stretched too far trying to make your point and fell off the logic cliff.
                   Parent      Share
                       Re:sounds about right (Score:0)

                       by Anonymous Coward on Monday July 10, 2017 @04:25AM (#54776947)


                       The LGPL is the one that allows linking, not the GPL.


                       Parent      Share

                   Re:sounds about right (Score:2)



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                   by segedunum ( 883035 ) on Sunday July 09, 2017 @03:34PM (#54774461)


                   On the contrary, a huge amount of innovation and development has happened
                   with Linux because everyone knows where they stand. Take a look at the 'open
                   source' competitors to Linux. They are nowhere to be seen.
                   Parent      Share
                   Re:sounds about right (Score:2)
                   by Bruce Perens ( 3872 ) <bruce@perens.com> on Sunday July 09, 2017 @03:37PM
                   (#54774481) Homepage Journal



                      Forcing the same license requirements on actual changes to the kernel
                      versus imposing the same license restriction on any downstream externally
                      linked code is not going to attract many competent developers or those who
                      specifically employee developers who can extend and enhance the
                      functionality running against the kernel.

                   Whoa! Aren't you talking about the most successful strategy for developing a
                   kernel ever? There seem to be no shortage of developers of high competence
                   working on the Linux kernel, including those supported by companies. Hey, we
                   even got Microsoft to do it after their earlier and widely publicized GPL
                   paranoia.

                   I seriously doubt any kernel team, no matter the budget, can come close to
                   what has been done with Linux.


                   Parent      Share
                   Re:sounds about right (Score:2)

                   by UnknowingFool ( 672806 ) on Sunday July 09, 2017 @03:56PM (#54774583)




                       What a marvelous way to stop innovation in it's tracks.

                   [sarcasm]How dare people who draw up a contract expect you to abide by the
                   contract when you agree to it. How dare they, sir![/sarcasm]

                       Forcing the same license requirements on actual changes to the kernel
                       versus imposing the same license restriction on any downstream
                       externally linked code is not going to attract many competent developers
                       or those who specifically employee developers who can extend and
                       enhance the functionality running against the kernel.

                   Er what? The patches that grsecurity are to the kernel which they are bundling
                   with their code and then enforce new conditions on the kernel.

                       It seems the only ones who are allowed to reap any monetary rewards
                       from the Linux ecosystem are the GPL cheerleaders collecting their
                       consultant fees for their efforts in spreading the Open Source gospel. And
                       who really cares what Linus thinks? The man seems to have graduated
                       with honors from the Donald Trump public speaking University.

                   Ad hominem attack. Who cares what the maintainer/developer of Linux says
                   about Linux? Are you daft?

                       The man basically ported the Unix kernel to the x86 architecture.

                   Um, you don't know the history of Linux or Unix do you? By port, you mean
                   "write from scratch?" If you knew anything about the history of either you'd




https://linux.slashdot.org/story/17/07/09/188246/bruce-perens-warns-grsecurity-breaches-the-linux-kernels-gpl-license[9/9/2017 4:07:58 PM]
Bruce Perens Warns Grsecurity Breaches the Linux Kernel's GPL License - Slashdot
                                 Case 3:17-cv-04002-LB Document 32-2 Filed 10/31/17 Page 41 of 138
                   know why that statement is woefully ignorant.

                       He wasn't even the first person to try before Windows swept them to the
                       curb in the early years of the PC.

                   No one claims he was the first any more than anyone claims that Windows was
                   the first GUI. At least anyone who knows the history of computing.

                       So while his achievement is impressive he did change water into wine.
                       And he also belongs to the club of people who make a substantial amount
                       of coin while simultaneously telling those lower in the food chain that they
                       need to donate their work for the public good and if they want to make an
                       actual living they should remain in the Republic of the Anonymous Cubicle
                       and take solace in their monkey coding endeavors.

                   I'm sorry but did I miss the edict from Lord Linus about donating my time and
                   programming skills to the public good, Comrade? I seem to think that any
                   donation I made to Linux was of my own free will and that I wasn't chained to a
                   computer slaving away at code for years while being shocked periodically.


                   Parent      Share
                   Re:sounds about right (Score:2)

                   by epyT-R ( 613989 ) on Sunday July 09, 2017 @04:45PM (#54774799)


                   by 'innovation', you mean whatever snakeoil your company wants to sell using
                   the work of others? You do know that the kernel license doesn't apply to
                   userspace, right? Userspace libs and executables have their own licenses
                   (GPL or otherwise).

                   If you think linux is a 'unix kernel' then you are seriously misinformed. It's a unix
                   work-a-like.


                   Parent      Share
                   Re:sounds about right (Score:0)

                   by Anonymous Coward on Sunday July 09, 2017 @04:06PM (#54774621)


                   If you believe that 28 years is "no time" and over 10000 people are "not many",
                   you should probably actually say that somewhere before using your personally
                   redefined words.

                   Otherwise people will just claim, rightfully so, that you don't know what you are
                   talking about.
                   They may even accuse you of spreading lies, since no intelligent person would
                   assume your strange definitions of those words.


                   Parent      Share
                   Re:sounds about right (Score:0)
                   by Anonymous Coward on Sunday July 09, 2017 @04:36PM (#54774753)




                       What a marvelous way to stop greed in it's tracks.

                   FTFY.


                   Parent      Share
                   Re:sounds about right (Score:0)



https://linux.slashdot.org/story/17/07/09/188246/bruce-perens-warns-grsecurity-breaches-the-linux-kernels-gpl-license[9/9/2017 4:07:58 PM]
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                                 Case 3:17-cv-04002-LB Document 32-2 Filed 10/31/17 Page 42 of 138
                   by Anonymous Coward on Monday July 10, 2017 @11:56PM (#54783463)


                   When did the GPL have anything to do with innovation? Talk about moving
                   goal posts... The sole purpose of the GPL is to give developers a license that
                   explicitly gives the users the four core freedoms.

                   Innovation is completely orthogonal to that aim.

                   Speaking of innovation, when's the last time Linux got anything from "the new
                   guard" that was innovative? systemd is a ripoff of launchd/smf, PulseAudio is
                   designed much like Windows and Mac audio stacks... containers are a poor
                   man's VM, with the same (or worse) security pitfalls. FreeDesktop hasn't
                   brought a shred of innovation to Linux. Who has? I'll wait.

                   Libre software is about writing software that doesn't control the user. Everything
                   else is a bonus.


                   Parent      Share

                Re:sounds about right (Score:0)
                by Anonymous Coward on Sunday July 09, 2017 @10:26PM (#54776059)


                While I don't condone grsecurity's behavior here, there's nothing violating the
                license going on here. The GPL does not require that the vendor provides support
                or updates, and grsecurity is not breaking the rules by making support and updates
                conditional on nonredistribution. It's a SLEAZY move, for sure, but if a customer
                were to redistribute the patches they received, grsecurity would have no recourse
                to do anything more than stop giving that customer future updates -- they did, by
                virtue of the GPL, grant the customer the legal right to redistribute the source code.
                (grsecurity would probably then refuse to do business with anyone who uses a
                thus-distributed version of their patchset, but that's their right.)


                Parent      Share
                   Re:sounds about right (Score:0)

                   by Anonymous Coward on Tuesday July 11, 2017 @10:18PM (#54790891)


                   >While I don't condone grsecurity's behavior here, there's nothing violating the
                   license going on here.

                   Yes there is. You are not a lawyer. I am.

                   They are blatantly violating the no-additional-restrictive-terms clause.
                   Blatantly. In writing.

                   Stay in your lane, lay-person.


                   Parent      Share
                       Re: sounds about right (Score:0)
                       by Anonymous Coward on Thursday July 13, 2017 @07:48AM (#54799499)


                       Oh no, an internet lawyer! "I am a lawyer, therefore I am right" is a hilarious
                       legal theory that I'd love to see a real lawyer try in court.


                       Parent      Share

                Re:sounds about right (Score:0)

                by Anonymous Coward on Monday July 10, 2017 @11:41AM (#54778781)




https://linux.slashdot.org/story/17/07/09/188246/bruce-perens-warns-grsecurity-breaches-the-linux-kernels-gpl-license[9/9/2017 4:07:58 PM]
Bruce Perens Warns Grsecurity Breaches the Linux Kernel's GPL License - Slashdot
                                  Case 3:17-cv-04002-LB Document 32-2 Filed 10/31/17 Page 43 of 138

                   i usually fall into the "GPL is less free than BSD" camp

                Most people who fall into this camp consider their personal freedom. They are free
                to close source their (or someone else's) code at any time. That was Apple's
                choice, and they had the legal right to do so. The GPL therefore creates a
                restriction that the BSD does not.

                Most people who fall into the "BSD is less free than GPL" camp are considering the
                freedom of the software itself. If I purchase a $15,000 sintering printer that uses
                Linux as an OS, there is a guarantee that the software will remain free. When the
                company goes out of business, the software is still available to be maintained,
                patched, and updated (this actually happened at work). The product does not die
                with the company and become abandonware.


                Parent         Share

            Please Read The Entire Statement (Score:5, Informative)
            by Bruce Perens ( 3872 ) <bruce@perens.com> on Sunday July 09, 2017 @02:53PM (#54774233)
            Homepage Journal



            You should read the entire statement [perens.com], because there are things missing
            from the quote above that are important. The most important part is the legal theory:

              By operating under their policy of terminating customer relations upon distribution of
              their GPL-licensed software, Open Source Security Inc., the owner of Grsecurity,
              creates an expectation that the customer's business will be damaged by losing
              access to support and later versions of the product, if that customer exercises their
              re-distribution right under the GPL license. This is tantamount to the addition of a
              term to the GPL prohibiting distribution or creating a penalty for distribution. GPL
              section 6 specifically prohibits any addition of terms. Thus, the GPL license, which
              allows Grsecurity to create its derivative work of the Linux kernel, terminates, and the
              copyright of the Linux Kernel is infringed. The contract from the Linux kernel
              developers to both Grsecurity and the customer which is inherent in the GPL is
              breached.

            Also, this is important to keep me in compliance with the law:

              I am an intellectual property and technology specialist who advises attorneys, not an
              attorney. This is my opinion and is offered as advice to your attorney. Please show
              this to him or her. Under the law of most states, your attorney who is contracted to
              you is the only party who can provide you with legal advice.

            It's important to consider the goals of the GPL. You get great Free Software, but it's not
            a gift. It is sharing with rules that must be followed. You are required to keep it Free.
            And one of the implied purposes of the GPL is to cause more great Free Software to
            be made. This means that derivative works that are not shared really go against the
            purpose as well as the wording of the GPL.


            Share
                Re:Please Read The Entire Statement (Score:5, Insightful)
                by Teun ( 17872 ) on Sunday July 09, 2017 @03:14PM (#54774341) Homepage




                   It's important to consider the goals of the GPL. You get great Free Software,
                   but it's not a gift. It is sharing with rules that must be followed. You are
                   required to keep it Free. And one of the implied purposes of the GPL is to
                   cause more great Free Software to be made. This means that derivative
                   works that are not shared really go against the purpose as well as the wording



https://linux.slashdot.org/story/17/07/09/188246/bruce-perens-warns-grsecurity-breaches-the-linux-kernels-gpl-license[9/9/2017 4:07:58 PM]
Bruce Perens Warns Grsecurity Breaches the Linux Kernel's GPL License - Slashdot
                                 Case 3:17-cv-04002-LB Document 32-2 Filed 10/31/17 Page 44 of 138
                   of the GPL.

                Amen, it's especially through the GPL that future developers are enabled to stand
                on the shoulders of the present.
                Nothing gets lost, we all win.


                Parent      Share
                   Re:Please Read The Entire Statement (Score:0)
                   by Anonymous Coward on Sunday July 09, 2017 @03:19PM (#54774371)


                   Well, except for grsecurity, and its users...
                   Parent      Share
                       Re:Please Read The Entire Statement (Score:5, Informative)
                       by Bruce Perens ( 3872 ) <bruce@perens.com> on Sunday July 09, 2017 @03:41PM
                       (#54774509) Homepage Journal


                       They don't want to play well with others. They should base on BSD or make
                       their own kernel. No legal issues if they did that.


                       Parent      Share
                          Re:Please Read The Entire Statement (Score:1)
                           by Megol ( 3135005 ) on Sunday July 09, 2017 @06:37PM (#54775227)


                           You linked blog post is as of now just an example of FUD. If you have
                           evidence post it. Otherwise you are just throwing FUD in order to hurt
                           grsecurity.

                           (To the large amount of idiots frequenting this site I don't give a flying
                           f*** about grsecurity just honestly when presenting things like this)


                           Parent     Share
                              Re:Please Read The Entire Statement (Score:0)

                              by Anonymous Coward on Tuesday July 11, 2017 @10:22PM (#54790907)


                              >FUD bla bla bla
                              Please don't spread libel.

                              Now on to the show:

                              Note: Yes IAAL, and Yes we know you as a lay-person programmer
                              know more about the law than "useless" lawyers and law
                              technicians so you don't have to restate your in-born greatness,
                              please.

                              From GRSecurity's "Stable Patch Agreement":

                              "Notwithstanding these rights and obligations, the User
                              acknowledges that redistribution of the provided stable patches or
                              changelogs outside of the explicit obligations under the GPL to
                              User's customers will result in termination of access to future
                              updates of grsecurity stable patches and changelogs."

                              IE: If you choose to redistribute, other than in the case of a demand
                              made by a user, retaliation will occur.

                              That is an additional term, between GRSecurity and the distributee,




https://linux.slashdot.org/story/17/07/09/188246/bruce-perens-warns-grsecurity-breaches-the-linux-kernels-gpl-license[9/9/2017 4:07:58 PM]
Bruce Perens Warns Grsecurity Breaches the Linux Kernel's GPL License - Slashdot
                                 Case 3:17-cv-04002-LB Document 32-2 Filed 10/31/17 Page 45 of 138
                              adding a restriction, end of story. This is forbidden by the license
                              terms underwhich GRSecurity had the privilege to modify the
                              kernel, create derivative works, and distribute derivative works, etc.

                              I say had, because once a license term is violated, the terms of the
                              license distributed by the linux-rightsholders governing the use of
                              their property states that the license is revoked upon violation of a
                              term.

                              You have to understand that the linux-kernel, even if it is sitting on
                              your harddrive, is the property of the linux-kernel rights-holders. Not
                              GRSecurity, etc.

                              It's like a piece of land (Copyright is alienable in the same way that
                              real property is). I may allow you to walk over my land, and I may
                              rescind that license at any time. I may also post rules that you must
                              obey when walking over my land which, if you violate, I may set
                              terms that your license to walk over my land be revoked.

                              One of these rules is that you do not offer terms adding additional
                              restrictions to derived works. GRSecurity has offered such terms.
                              The moment they did so they violated the terms of the license grant.


                              Parent      Share
                                  Re: Please Read The Entire Statement (Score:0)

                                  by Anonymous Coward on Friday July 14, 2017 @07:27PM (#54811841)


                                  It's cute when children pretend to be lawyers.


                                  Parent      Share

                       Re:Please Read The Entire Statement (Score:0)

                       by Anonymous Coward on Sunday July 09, 2017 @04:20PM (#54774683)




                          Well, except for grsecurity, and its users...

                       grsecurity had every possible opportunity to accept the licensing terms
                       offered to them.
                       They choose not to.

                       By not accepting the license granting them permissions, then normal
                       copyright law applies, which makes such an action a crime.
                       If you don't like the limitations copyright laws impose on us all, then you
                       should be complaining to your government about it. It isn't us that wrote
                       those laws.

                       So yes, everyone except for grsecurity who choose on their own to be
                       excluded.

                       As for their users, are you suggesting any of their users have not accepted
                       the license offered to them? I am not aware of that being the case.

                       But if that was the case, then yes, any of their users that choose not to
                       accept the license will not have to accept the license, and no one will force
                       any of the gains upon them that the license grants.


                       Parent      Share




https://linux.slashdot.org/story/17/07/09/188246/bruce-perens-warns-grsecurity-breaches-the-linux-kernels-gpl-license[9/9/2017 4:07:58 PM]
Bruce Perens Warns Grsecurity Breaches the Linux Kernel's GPL License - Slashdot
                                 Case 3:17-cv-04002-LB Document 32-2 Filed 10/31/17 Page 46 of 138
                   Re:Please Read The Entire Statement (Score:1)
                   by Megol ( 3135005 ) on Sunday July 09, 2017 @06:23PM (#54775181)


                   It isn't true and GPL software generally isn't where one learn nor where
                   innovations come from. But a true believer will continue to believe...


                   Parent      Share
                       Re:Please Read The Entire Statement (Score:0)
                       by Anonymous Coward on Monday July 10, 2017 @03:34AM (#54776839)


                       > It isn't true and GPL software generally isn't where one learn nor where
                       innovations come from.

                       You sound like you truly believe what you're writing.

                       (downright scary how people often aren't able to see the ideology which
                       possesses them).


                       Parent      Share

                Re:Please Read The Entire Statement (Score:2)
                by Kjella ( 173770 ) on Sunday July 09, 2017 @04:05PM (#54774613) Homepage


                To me this smells like a blurb written to create a PR stink even though it has no
                legal substance. Nobody has the right to future business, I can say stuff like "If you
                start selling real fur products I'll boycott your store" and it would be "tantamount to
                the addition of a term" for our business relationship but legally it doesn't exist.
                You're not obliged to listen, I'm not obliged to come back. That loss of business
                might be seen as a "penalty" but it's the flip side of voting with my wallet. I don't see
                that it's any different for suppliers, vendors and subcontractors - they don't have to
                do any more business than what's already agreed on. Any other interpretation
                would require Grsecurity to be forced to serve customers they don't want to, which
                is to read waaaaaay too much into the GPL.


                Parent      Share
                   Re:Please Read The Entire Statement (Score:3)

                   by Bruce Perens ( 3872 ) <bruce@perens.com> on Sunday July 09, 2017 @04:39PM
                   (#54774759) Homepage Journal


                   It's the time sequence that is important in proving a legal theory of this sort. The
                   customer has been warned before the act of distribution that their business
                   would be damaged as a consequence of distribution. If they just coincidentally
                   fired a customer without warning them first, it would be much harder to make a
                   case.
                   Parent      Share
                       Re:Please Read The Entire Statement (Score:2)
                       by Kjella ( 173770 ) on Sunday July 09, 2017 @08:52PM (#54775739) Homepage




                          It's the time sequence that is important in proving a legal theory of this
                          sort. The customer has been warned before the act of distribution that
                          their business would be damaged as a consequence of distribution. If
                          they just coincidentally fired a customer without warning them first, it
                          would be much harder to make a case.

                       What theory? It doesn't matter if they tell you why up front, after the fact or




https://linux.slashdot.org/story/17/07/09/188246/bruce-perens-warns-grsecurity-breaches-the-linux-kernels-gpl-license[9/9/2017 4:07:58 PM]
Bruce Perens Warns Grsecurity Breaches the Linux Kernel's GPL License - Slashdot
                                 Case 3:17-cv-04002-LB Document 32-2 Filed 10/31/17 Page 47 of 138
                       not at all. Tortuous interference with business is when a third party
                       sabotages a business relationship, a company's own choice to stop doing
                       business with you is not damage under any theory of liability I've heard of.
                       You might have expected future business and its absence may cause all
                       kinds of problems, but basic freedom of association says they don't have to
                       if they don't want to. That they're specifically not doing business with you
                       because you exercised your rights under the GPL is to me a bit like using
                       your free speech. It might be legal, but it's not free from consequences and
                       I really doubt any court will try to prescribe that it should be.


                       Parent      Share
                          Re:Please Read The Entire Statement (Score:0)
                           by Anonymous Coward on Sunday July 09, 2017 @10:14PM (#54776003)


                           They are adding terms to the GPL2 license, which the license explicitly
                           says they can't do. If they are adding terms to the license then they are
                           in breach of it, therefore no longer able to redistribute the code,
                           therefore in violation of copyright.

                           If they simply refuse to provide further patches to customers who
                           redistribute their patches, that is likely legal and not a violation of the
                           GPLv2. However, if they tell their customers up front that if they
                           distribute the patches they will no longer get GrSecurity patches, then
                           that is adding a term to the GPL2 license, and thus a violation of it.


                           Parent     Share
                              Re: Please Read The Entire Statement (Score:0)
                              by Anonymous Coward on Thursday July 13, 2017 @06:44PM (#54804433)


                              Except that new grsecurity patches do not exist in advance. The
                              client is hiring grsecurity to do the work to make them. The
                              unintended consequence here is that you're saying it is impossible
                              for grsecurity to refuse performing future work as it would constitute
                              a breach of the GPL, so must continue supplying future changes
                              whether they want to or not. Does the GPL apply to future code that
                              only exists in potentia?


                              Parent      Share

                          Re: Please Read The Entire Statement (Score:2)
                           by Bruce Perens ( 3872 ) <bruce@perens.com> on Sunday July 09, 2017
                           @11:50PM (#54776347) Homepage Journal


                           What if they used an NDA instead? And how is the effect any different?
                           Parent     Share
                              Re: Please Read The Entire Statement (Score:0)
                              by Anonymous Coward on Tuesday July 11, 2017 @10:31PM (#54790937)


                              The licensing terms of the linux-kernel forbid additional restrictive
                              terms between distributee and further distributee of linux or
                              derivative rights of linux.

                              Obviously just because you conjured up an NDA doesn't change
                              the violation: it only serves to scare lay witnesses from testifying.


                              Parent      Share




https://linux.slashdot.org/story/17/07/09/188246/bruce-perens-warns-grsecurity-breaches-the-linux-kernels-gpl-license[9/9/2017 4:07:58 PM]
Bruce Perens Warns Grsecurity Breaches the Linux Kernel's GPL License - Slashdot
                                 Case 3:17-cv-04002-LB Document 32-2 Filed 10/31/17 Page 48 of 138
                          Re:Please Read The Entire Statement (Score:0)

                           by Anonymous Coward on Tuesday July 11, 2017 @10:36PM (#54790949)


                           Kjella:
                           >not damage under any theory of liability I've heard of.

                           Damages would be as written in the copyright statute: any and all
                           profits, or (alternatively) statutory damages. Profits is the one one
                           would want to pursue as statutory damages only amount to a bit over
                           100k.

                           You did read the copyright statute, right?

                           >under any theory of liability I've heard of.
                           Lay-persons are ignorant of a-lot of things, are they not? Isn't there a
                           reason law school is a number of years in length? Oh, I'm sorry,
                           lawyers are "useless" etc etc etc. Silly me for thinking otherwise.


                           Parent     Share

                   Re: Please Read The Entire Statement (Score:2)
                   by guruevi ( 827432 ) <evi@@@evcircuits...com> on Sunday July 09, 2017 @05:55PM
                   (#54775067) Homepage


                   Not really. If you have entered into a contract with a company that buy your
                   products you cannot after the fact add terms such as those about your
                   customer using real fur.

                   It is similar to what happens here, the company has entered into a contract with
                   Linux (the real fur) and GRsecurity has entered into the same contract but now
                   GRsecurity is saying you can't execute your contract with Linux and they won't
                   either even though you have the contract with them that explicitly says
                   otherwise.

                   GRSecurity cannot patch the kernel and sell their product, regardless how
                   crappy it is without breaking their contract with Linux and/or violating the
                   contract their customers have with Linux.


                   Parent      Share
                   Re:Please Read The Entire Statement (Score:0)
                   by Anonymous Coward on Tuesday July 11, 2017 @10:27PM (#54790921)


                   >To me this smells like a blurb written to create a PR stink even though it has
                   no legal substance.

                   Note: IAAL (I _A_ A L) . Bruce Perens is correct and you are not correct in this
                   instance. Please do not libel Mr Perens by claiming his article is some
                   malicious act or that he is incorrect in his legal thinking.

                   From GRSecurity's "Stable Patch Agreement":

                   "Notwithstanding these rights and obligations, the User acknowledges that
                   redistribution of the provided stable patches or changelogs outside of the
                   explicit obligations under the GPL to User's customers will result in termination
                   of access to future updates of grsecurity stable patches and changelogs."

                   IE: If you choose to redistribute, other than in the case of a demand made by a
                   user, retaliation will occur.




https://linux.slashdot.org/story/17/07/09/188246/bruce-perens-warns-grsecurity-breaches-the-linux-kernels-gpl-license[9/9/2017 4:07:58 PM]
Bruce Perens Warns Grsecurity Breaches the Linux Kernel's GPL License - Slashdot
                                 Case 3:17-cv-04002-LB Document 32-2 Filed 10/31/17 Page 49 of 138
                   That is an additional term, between GRSecurity and the distributee, adding a
                   restriction, end of story. This is forbidden by the license terms underwhich
                   GRSecurity had the privilege to modify the kernel, create derivative works, and
                   distribute derivative works, etc.

                   I say had, because once a license term is violated, the terms of the license
                   distributed by the linux-rightsholders governing the use of their property states
                   that the license is revoked upon violation of a term.

                   You have to understand that the linux-kernel, even if it is sitting on your
                   harddrive, is the property of the linux-kernel rights-holders. Not GRSecurity,
                   etc.

                   It's like a piece of land (Copyright is alienable in the same way that real
                   property is). I may allow you to walk over my land, and I may rescind that
                   license at any time. I may also post rules that you must obey when walking
                   over my land which, if you violate, I may set terms that your license to walk
                   over my land be revoked.

                   One of these rules is that you do not offer terms adding additional restrictions
                   to derived works. GRSecurity has offered such terms. The moment they did so
                   they violated the terms of the license grant.


                   Parent      Share
                       Re:Please Read The Entire Statement (Score:0)

                       by Anonymous Coward on Tuesday July 11, 2017 @10:46PM (#54790997)


                       > One of these rules is that you do not offer terms adding additional
                       restrictions to derived works. GRSecurity has offered such terms.

                       Really? What terms add any restrictions whatsoever to the SOFTWARE
                       LICENSE? As far as I can tell, the license is the same as it ever was, and
                       gives you all the same rights and permissions.


                       Parent      Share
                          Re:Please Read The Entire Statement (Score:0)

                           by Anonymous Coward on Thursday July 13, 2017 @09:12PM (#54805481)


                           >Really? What terms add any restrictions whatsoever to the
                           SOFTWARE LICENSE?

                           That's cute. You Proud (red in the face) White American Man
                           Programmers believe that section 6 of version 2 of the GPL is trying to
                           describe some sort of copyright protection over it's own text right there.

                           First of all you, yes you, are an ignorant person who thinks the
                           "License" is merely the written memorialization you can print out or
                           read. No. You ignorant fool. You white monkey. You proud American
                           Man (who bombs every pro-marry young girl country in existence to
                           secure the world for the white woman (as you violently oppose your
                           own intrests as a man: as the golem of the white woman you are)), red
                           in the face with angry hubris. The LICENSE is the permission you have
                           from the property owner to use his property. When he tells you that he
                           is ALLOWING you to make derivative works of his property (how
                           gracious of him: it is his right to deny you this PRIVILEGE) he may put
                           restrictions on the dispossession of his PROPERTY (copyright is
                           alienable in the same way real property etc is (see: copyright statute)).
                           Here he has stated that you may not impose restrictions between you
                           and other people you distribute a derived work to that are in excess of



https://linux.slashdot.org/story/17/07/09/188246/bruce-perens-warns-grsecurity-breaches-the-linux-kernels-gpl-license[9/9/2017 4:07:58 PM]
Bruce Perens Warns Grsecurity Breaches the Linux Kernel's GPL License - Slashdot
                                 Case 3:17-cv-04002-LB Document 32-2 Filed 10/31/17 Page 50 of 138
                           the restrictions the license he has granted you. That is you CANNOT
                           ask someone to AGREE to ADDITIONAL RESTRICTIONS. If you do so
                           your permission from the owner is revoked. GRSecurity asks further
                           distributees to agree to not distribute the derivative work.

                           Basically, you, you stupid ignornant White Man, do not KNOW what a
                           License is. You think it is a piece of paper. You are a fool. But like all
                           the rest of the White Man programmers here from America (proudly
                           being exceptional and making the world safe for women and girls,
                           proudly (rockets red glare, bombs bursting in air.... (tears in eyes (an
                           eagles tears))) will continue forever in your hubris.

                           I shall explain again:

                             >Except that, as many have pointed out, it's not a new license term.
                             It's a term of an agreement that makes reference to the license. They
                             are not saying you can't get a license unless you agree to their terms;
                             they're saying you can't get support and updates.

                           The terms of the license govern what agreements you may make
                           between yourself and other parties. It is not solely governing what "the
                           license" (that you publish to the other parties) says.

                           Section 6 states simply
                           "You may not impose any further restrictions on the recipients' exercise
                           of the rights granted herein."

                           Clear as day. What you lay people do not seem to understand is that
                           the terms here are governing what agreements and actions the
                           distributee can take regarding furthur distributees, in reality, in the flesh.

                           Here the ACTIONS of GRSecurity are to RESTRICT the exercise of the
                           redistribution rights of the further distributee.

                           This is an action prohibited by the terms offered by the linux-rights
                           holders, and they have written as another term that the permission they
                           give to use their property is revoked upon violation of their terms.

                           Very simple.

                           The linux-rights holders could have written "those who eat grapes on a
                           monday have their license revoked at the moment grape is consumed".
                           Linux is their property and they may alienate it as they desire in the
                           same way they may alienate their real and personal property.

                           Under your theory no revocation would take place unless GRSecurity
                           physically prevented further distributees from redistributing by putting a
                           gun to their heads if they dared attempt so. Clearly that is not how
                           things work. GRSecurity proffered terms designed to restrict one from
                           redistributing the derivative work, terms which have been successful in-
                           fact. A clear violation of section 6.

                           Very simple.

                           And yes, IAAL.

                           >as many have pointed out,
                           Many lay people, like yourself, who are not studied in the law and are
                           completely ignorant of it's workings, seeing only the surface edifices,
                           yet, in hubris, insist that their opinion on any matter regarding legal
                           outcomes is worth the equivalent value of even one speck of infertile



https://linux.slashdot.org/story/17/07/09/188246/bruce-perens-warns-grsecurity-breaches-the-linux-kernels-gpl-license[9/9/2017 4:07:58 PM]
Bruce Perens Warns Grsecurity Breaches the Linux Kernel's GPL License - Slashdot
                                 Case 3:17-cv-04002-LB Document 32-2 Filed 10/31/17 Page 51 of 138
                           earth.

                           You do NOT know what you are talking about. Neither do your
                           Programmer friends.


                           Parent     Share
                              Re: Please Read The Entire Statement (Score:0)
                              by Anonymous Coward on Saturday July 15, 2017 @12:54PM (#54814647)


                              I guess Bruce doesn't want to talk to you any more:
                              https://boards.4chan.org/pol/thread/133715593/suddenly-bruce-
                              perens-doesnt-want-to-talk-to-me


                              Parent      Share

                Re:Please Read The Entire Statement (Score:2)
                by DRJlaw ( 946416 ) on Sunday July 09, 2017 @06:10PM (#54775145)



                  It's important to consider the goals of the GPL. You get great Free Software, but
                  it's not a gift. It is sharing with rules that must be followed. You are required to
                  keep it Free. And one of the implied purposes of the GPL is to cause more great
                  Free Software to be made. This means that derivative works that are not shared
                  really go against the purpose as well as the wording of the GPL.

                Yes, and you don't get to change the rules either, Bruce.

                What they're doing is not "tantamount to the addition of a term to the GPL
                prohibiting distribution or creating a penalty for distribution." The person to whom
                the code is distributed (for sake of argument, "you") remains free to distribute that
                code to anyone, and that anyone remains free to distribute the code to anyone
                else.

                What they're doing is refusing to distribute a future version of the code to you --
                which the GPL permits (e.g., limited availability [gnu.org]). If they distribute the
                code under section 3a, they have no obligation to distribute the code to any other
                party, i.e., they cannot be compelled to distribute updated versions of the code to
                you.

                Their only obligation to distribute a future version of the code to anyone in
                particular would arise under a support contract. But the GPL does not require that
                support even be provided, much less govern support contracts. If they want to
                condition further support upon non-disclosure of the code, they could do it stupidly
                -- by having long term support contracts, lump sum fees, and a termination
                provision (courts dislike forfeiture-like penalties) -- or wisely -- by having month to
                month terms, monthly fees, and simply refusing to renew at the end of the term.
                There's no mechanism, whether in copyright or contract, to force them to continue
                to accommodate a customer that they do not want to deal with after they've
                complied with GPLv2 section 3a and any support contract's current term has
                expired.

                If they've done this wisely, they're within the letter of the license and this is another
                instance, like Tivoization, where the free software community is simply going to
                have to learn to adapt.

                  This means that derivative works that are not shared really go against the
                  purpose as well as the wording of the GPL.

                You haven't convinced me that this goes against the wording of the GPL. As to the
                purpose, since you've succeeded in having the GPL held to form a contract, you'll



https://linux.slashdot.org/story/17/07/09/188246/bruce-perens-warns-grsecurity-breaches-the-linux-kernels-gpl-license[9/9/2017 4:07:58 PM]
Bruce Perens Warns Grsecurity Breaches the Linux Kernel's GPL License - Slashdot
                                 Case 3:17-cv-04002-LB Document 32-2 Filed 10/31/17 Page 52 of 138
                have to take the "four corners" doctrine, construction against the draftsperson, and
                all the rest of contract law along for the ride as well. Once a party can show literal
                compliance with a contract's terms, attempts to add "tantamount" obligations or
                argue "tantamount" violations become extremely difficult. In the end, both sides
                have to follow the rules of the document.


                Parent      Share
                   Re:Please Read The Entire Statement (Score:3)
                   by Bruce Perens ( 3872 ) <bruce@perens.com> on Sunday July 09, 2017 @06:42PM
                   (#54775245) Homepage Journal


                   A lot of people are not understanding the the importance of the time sequence.
                   Because of the actions of Open Source Security Inc. to date, the customer
                   already knows that there is a threat to cause them business damage if they
                   exercise their right to distribution, before they perform the act of distribution.
                   That's an additional term.

                   You are treating this as if the consequences of distribution are the only relevant
                   element, and as if they only happen after distribution. This is not the case.


                   Parent      Share
                       Re:Please Read The Entire Statement (Score:0)

                       by Anonymous Coward on Tuesday July 11, 2017 @10:59PM (#54791059)



                         the customer already knows that there is a threat to cause them business
                         damage if they exercise their right to distribution

                       Yes but AFAICT the GPL doesn't offer any guarantee against business
                       damage (or a guarantee of any kind). That's between the vendor and the
                       customer.

                       Or was Freedom 4, freedom from business damage, added when I wasn't
                       looking?


                       Parent      Share

                   Re:Please Read The Entire Statement (Score:0)
                   by Anonymous Coward on Tuesday July 11, 2017 @10:46PM (#54791001)


                   From GRSecurity's "Stable Patch Agreement":

                   "Notwithstanding these rights and obligations, the User acknowledges that
                   redistribution of the provided stable patches or changelogs outside of the
                   explicit obligations under the GPL to User's customers will result in termination
                   of access to future updates of grsecurity stable patches and changelogs."

                   IE: If you choose to redistribute, other than in the case of a demand made by a
                   user, retaliation will occur

                   That is an additional term, between GRSecurity and the distributee, adding a
                   restriction, end of story. This is forbidden by the license terms underwhich
                   GRSecurity had the privilege to modify the kernel, create derivative works, and
                   distribute derivative works, etc.

                   I say had, because once a license term is violated, the terms of the license
                   distributed by the linux-rightsholders governing the use of their property states
                   that the license is revoked upon violation of a term.




https://linux.slashdot.org/story/17/07/09/188246/bruce-perens-warns-grsecurity-breaches-the-linux-kernels-gpl-license[9/9/2017 4:07:58 PM]
Bruce Perens Warns Grsecurity Breaches the Linux Kernel's GPL License - Slashdot
                                 Case 3:17-cv-04002-LB Document 32-2 Filed 10/31/17 Page 53 of 138
                   You have to understand that the linux-kernel, even if it is sitting on your
                   harddrive, is the property of the linux-kernel rights-holders. Not GRSecurity,
                   etc.

                   It's like a piece of land (Copyright is alienable in the same way that real
                   property is). I may allow you to walk over my land, and I may rescind that
                   license at any time. I may also post rules that you must obey when walking
                   over my land which, if you violate, I may set terms that your license to walk
                   over my land be revoked.

                   One of these rules is that you do not offer terms adding additional restrictions
                   to derived works. GRSecurity has offered such terms. The moment they did so
                   they violated the terms of the license grant.


                   Parent      Share
                       Re: Please Read The Entire Statement (Score:0)

                       by Anonymous Coward on Wednesday July 12, 2017 @05:56PM (#54796635)


                       Posting the same stuff repeatedly? Perhaps you should stop pounding on
                       the table.


                       Parent      Share
                          Re: Please Read The Entire Statement (Score:0)

                           by Anonymous Coward on Thursday July 13, 2017 @08:58PM (#54805421)


                           You proud White American Men (valiantly making sure no man on earth
                           gets a nice young girl as a bride because Jesus said Better A Millstone,
                           and you hate the Old Testament Jewish God so just ignore Him) keep
                           making the same false claims from your position of ignorance.

                           So I must continually correct the same false claims you make.

                           But, you know, you're a proud red-in-the-face valiant White American
                           Man and Programmer so you just know everything since birth.


                           Parent     Share
                              Re: Please Read The Entire Statement (Score:0)

                              by Anonymous Coward on Saturday July 15, 2017 @06:25PM (#54816401)


                              You know, trying to bring race, gender, and religion into it doesn't
                              really help your case.

                              If there's one thing programmers excel at, it's abstracting away
                              useless, irrelevant information. The fact that you're inflating your
                              rhetoric indicates you have nothing substantial at the core and now
                              you're just lashing out in frustration.

                              Should have spent more time studying psychology and philosophy
                              instead of law.


                              Parent      Share

                Re:Please Read The Entire Statement (Score:2)
                by DRJlaw ( 946416 ) on Sunday July 09, 2017 @06:27PM (#54775195)


                Bruce,




https://linux.slashdot.org/story/17/07/09/188246/bruce-perens-warns-grsecurity-breaches-the-linux-kernels-gpl-license[9/9/2017 4:07:58 PM]
Bruce Perens Warns Grsecurity Breaches the Linux Kernel's GPL License - Slashdot
                                 Case 3:17-cv-04002-LB Document 32-2 Filed 10/31/17 Page 54 of 138
                Your blog post states that "the contract from the Linux kernel developers to both
                Grsecurity and the customer which is inherent in the GPL is breached."

                This is quite concerning. Please explain how you believe that the contract from the
                Linux kernel developers to the customer has been breached. What violation has
                the customer committed? More specifically, since the GPLv2 sec. 6 specifies that "
                [e]ach time you redistribute the Program (or any work based on the Program), the
                recipient automatically receives a license from the original licensor to copy,
                distribute or modify the Program subject to these terms and conditions," how do
                you contend that the customer is "subject to both contributory infringement and
                breach of contract by employing this product in conjunction with the Linux kernel
                under the no-redistribution policy currently employed by Grsecurity?" If the
                customer doesn't redistribute code to a third party, axiomatically they cannot be in
                breach of anything. I remind you that according to GPLv2 sec. 0, "Activities other
                than copying, distribution and modification are not covered by this License; they
                are outside its scope," and that only distribution, not modification alone, triggers
                secs. 2(b) and 3.

                I think that you owe those customers something better than vague threats and an
                invitation to spend capital contacting their attorney.


                Parent      Share
                   Re:Please Read The Entire Statement (Score:3)
                   by Bruce Perens ( 3872 ) <bruce@perens.com> on Sunday July 09, 2017 @06:54PM
                   (#54775293) Homepage Journal


                   Let's look at what the magistrate said:

                      Defendant contends that Plaintiff's reliance on the unsigned GNU GPL fails
                      to plausibly demonstrate mutual assent, that is, the existence of a contract.
                      Not so. The GNU GPL, which is attached to the complaint, provides that the
                      Ghostscript user agrees to its terms if the user does not obtain a commercial
                      license. Plaintiff alleges that Defendant used Ghostscript, did not obtain a
                      commercial license, and represented publicly that its use of Ghostscript was
                      licensed under the GNL GPU. These allegations sufficiently plead the
                      existence of a contract. See, e.g., MedioStream, Inc. v. Microsoft Corp., 749
                      F. Supp. 2d 507, 519 (E.D. Tex. 2010) (concluding that the software owner
                      had adequately pled a claim for breach of a shrink-wrap license).

                   You are misinterpreting the GPL when you say this:

                      If the customer doesn't redistribute code to a third party, axiomatically they
                      cannot be in breach of anything.

                   The GPL is Open Source Security Inc.'s only permission to create and
                   distribute a derivative work of the Linux kernel. I don't believe that anyone is
                   denying that Grsecurity was created and distributed, and is derivative. The
                   customer is obtaining and making use of an infringing derivative work. The
                   status of the kernel is "All Rights Reserved" because the GPL has terminated,
                   and that very clearly makes the customer a contributory infringer.

                   You are taking a very simplistic view of the GPL that doesn't fit what you
                   appear to be representing with your user name. Did you actually sit for the Bar?
                   I know there are a lot of people with a J.D. who don't ever practice, it's a
                   personal choice, but I would have expected a bit more depth in interpretation.


                   Parent      Share
                       Re:Please Read The Entire Statement (Score:2)
                       by DRJlaw ( 946416 ) on Sunday July 09, 2017 @07:35PM (#54775425)




https://linux.slashdot.org/story/17/07/09/188246/bruce-perens-warns-grsecurity-breaches-the-linux-kernels-gpl-license[9/9/2017 4:07:58 PM]
Bruce Perens Warns Grsecurity Breaches the Linux Kernel's GPL License - Slashdot
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                         You are taking a very simplistic view of the GPL that doesn't fit what you
                         appear to be representing with your user name. Did you actually sit for
                         the Bar?

                       Why yes, Bruce, I have, and am licensed in multiple states. I actively
                       practice intellectual property law as well.

                         The customer is obtaining and making use of an infringing derivative
                         work. The status of the kernel is "All Rights Reserved" because the GPL
                         has terminated, and that very clearly makes the customer a contributory
                         infringer.

                       The license granted to the customer certainly has not terminated. Section 6
                       grants the customer that license separate and apart from Grsecurity, and
                       the GPL does not provide any grounds for terminating the customer's
                       license, as opposed to Grsecurity's license. You should also reread the
                       termination provision of GPLv2 sec. 4: "However, parties who have
                       received copies, or rights, from you under this License will not have their
                       licenses terminated so long as such parties remain in full compliance."

                       In addition, your alleged infringer has granted the customer a license to the
                       infringer's modification under the GPLv2, and nobody else has standing to
                       assert that the customer is allegedly infringing that "infringing derivative
                       work."

                       Your argument is that if the license to an upstream distrubtor has been
                       terminated, the downstream users are unlicensed and become liable for
                       e.g., copyright infringement and breach of contract. In my view that directly
                       contradicts GPLv2 secs. 4 and 6, and also raises a great big "red flag" for
                       people like my clients.

                       I suppose I'll simply have to refer your argument to Eben....


                       Parent      Share
                          Re:Please Read The Entire Statement (Score:3)

                           by Bruce Perens ( 3872 ) <bruce@perens.com> on Sunday July 09, 2017
                           @07:56PM (#54775533) Homepage Journal


                           OK, if you're a real lawyer, I have no problem arguing law with you. I've
                           won against folks who were admitted to the supreme court before.

                             The license granted to the customer certainly has not terminated.

                           The customer has that license for the kernel. They do not have that
                           license for Grsecurity, because Grsecurity's license to the kernel
                           terminated, and Grsecurity did not have the right to grant the GPL to
                           the customer for an infringing derivative work. If Grsecurity was an
                           independent work rather than derivative, it would have been different.

                           This belongs to a class of arguments I see very frequently, in which the
                           defendant has not complied with the GPL but repeatedly offers the
                           language of the GPL in their defense as if they get to cherry-pick the
                           terms they like.

                           Sure, refer it to Eben. He's already been copied and has so far not
                           chosen to differ. Richard chose not to be involved because he felt
                           Grsecurity would not listen to him, and he has bigger fish to fry.




https://linux.slashdot.org/story/17/07/09/188246/bruce-perens-warns-grsecurity-breaches-the-linux-kernels-gpl-license[9/9/2017 4:07:58 PM]
Bruce Perens Warns Grsecurity Breaches the Linux Kernel's GPL License - Slashdot
                                 Case 3:17-cv-04002-LB Document 32-2 Filed 10/31/17 Page 56 of 138
                           Parent     Share
                              Re:Please Read The Entire Statement (Score:2)

                              by DRJlaw ( 946416 ) on Sunday July 09, 2017 @10:04PM (#54775969)



                                 The customer has that license for the kernel.

                              Which means that the original developers cannot properly sue the
                              customers for infringement or breach of contract concerning use of
                              the Linux kernel. Check. You've now admitted that there's no basis
                              for liability absent a customer's own violation of the GPL.

                                 They do not have that license for Grsecurity, because
                                 Grsecurity's license to the kernel terminated...

                              But the original developers do not own Grsecurity's modifications. In
                              addition, the original developers cannot sue a user licensed to use
                              the Linux kernel for using Grsecurity's modifications, since users
                              are expressly licensed to modify the original developers' code
                              themselves by the GPL (sec. 2)! Nor can Grsecurity sue any user
                              for using Grsecurity's modifications, since Grsecurity either licensed
                              the modifications to customers (and all users via the GPLv2) or it
                              will be estopped from claiming infringement due to the purported
                              license.

                                 and Grsecurity did not have the right to grant the GPL to the
                                 customer for an infringing derivative work.

                              Wrong. Grsecurity use a GPL license for its own code whenever it
                              chooses. Whether Grsecurity remains licensed to use the Linux
                              kernel or not, both the Linux kernel and Grsecurity's modifications
                              are GPL licensed - the first sentence of GPLv2 sec. 6 expressly
                              says so. Termination of the kernel license to Grsecurity does not
                              affect the rights of their customers, or any other users, per GPLv2
                              secs. 4 and 6.

                                 If Grsecurity was an independent work rather than derivative, it
                                 would have been different.

                              Denied. You have not explained how Grsecurity cannot license its
                              own modifications under the GPL, nor how anyone other than
                              Grsecurity could sue users for using those modifications. You have
                              admitted that customers and users are licensed to use the Linux
                              kernel even if Grsecurity is not. You will have to admit that users
                              can modify the Linux kernel if they so choose, even using non-
                              GPLv2 modifications, so long as they do not publish or distribute
                              the result (GPLv2 secs. 2 and 3).

                              To reiterate, the customer has been licensed by the original
                              developers for the original kernel and by Grsecurity for the
                              modifications. If the customers comply with the GPL by, e.g., not
                              publishing or distributing the combination of licensed code, there is
                              no ground to terminate the license from the original developers to
                              the customers and thus no infringement or breach of contract by
                              those customers.

                                 This belongs to a class of arguments I see very frequently, in
                                 which the defendant has not complied with the GPL but
                                 repeatedly offers the language of the GPL in their defense as if
                                 they get to cherry-pick the terms they like.




https://linux.slashdot.org/story/17/07/09/188246/bruce-perens-warns-grsecurity-breaches-the-linux-kernels-gpl-license[9/9/2017 4:07:58 PM]
Bruce Perens Warns Grsecurity Breaches the Linux Kernel's GPL License - Slashdot
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                              This is the sort of sloppy reasoning that I see very frequently. You
                              are attempting to treat Grsecurity and the customers as one and the
                              same, when I have been asking specifically about the customers in
                              this instance. You now concede that the customers are licensed,
                              and you cannot identify anything that the customers themselves
                              have done in breach of the licenses, yet you contend that the
                              customers are potentially liable for "contributory infringement" and
                              breach of contract.

                              The mere fact that you accuse customers of potential "contributory
                              infringement" shows how wrong you are. A contributory infringer
                              [cornell.edu] is "[o]ne who knowingly induces, causes or materially
                              contributes to copyright infringement, by another but who has not
                              committed or participated in the infringing acts him or herself, may
                              be held liable as a contributory infringer if he or she had knowledge,
                              or reason to know, of the infringement."

                              How does the customer induce, cause, or contribute to copyright
                              infringement by another by merely using Grsecurity's product? For
                              that matter, how does a customer breach the GPL merely by using
                              Grsecurity's product?

                              I'm not cherry picking terms. Identify the specific term of the GPLv2
                              that the customer, not Grsecurity, has not complied with.


                              Parent      Share
                                  Re:Please Read The Entire Statement (Score:3)
                                  by Bruce Perens ( 3872 ) <bruce@perens.com> on Sunday July 09, 2017
                                  @11:12PM (#54776241) Homepage Journal



                                    Which means that the original developers cannot properly sue
                                    the customers for infringement or breach of contract
                                    concerning use of the Linux kernel. Check. You've now
                                    admitted that there's no basis for liability absent a customer's
                                    own violation of the GPL.

                                  I admitted no such thing. And telling me what I admitted, when I
                                  haven't, is a rhetorical trick, not argument.

                                  Grsecurity is an unlicensed derivative work and it's owned in
                                  part by the kernel developers because it necessarily includes
                                  portions of the original work. The GPL does not apply to it at all.
                                  The fact that the user has the GPL for some other copy of a
                                  Linux kernel does not license the infringing derivative work to
                                  the user. Nor does it grant Open Source Security Inc. the ability
                                  to convey the GPL for that work.

                                    But the original developers do not own Grsecurity's
                                    modifications.

                                  Actually, they do! Not the whole thing, but the derivative work
                                  necessarily incorporates a significant portion of the original
                                  work, and this is definitely true for the patch format used. The
                                  GPL doesn't apply to that copy as its terms were not honored,
                                  and OSS never had a right to convey the GPL originally on that
                                  copy. A GPL conveyed by someone else for another copy of
                                  Linux does not apply to the infringing derivative work. Grsecurity
                                  has no right to distribute it at all. The Linux kernel developers
                                  own the only remedy that will make its legal use possible.




https://linux.slashdot.org/story/17/07/09/188246/bruce-perens-warns-grsecurity-breaches-the-linux-kernels-gpl-license[9/9/2017 4:07:58 PM]
Bruce Perens Warns Grsecurity Breaches the Linux Kernel's GPL License - Slashdot
                                 Case 3:17-cv-04002-LB Document 32-2 Filed 10/31/17 Page 58 of 138
                                    Termination of the kernel license to Grsecurity does not affect
                                    the rights of their customers, or any other users, per GPLv2
                                    secs. 4 and 6.

                                  It does indeed if Grsecurity never had the right to convey the
                                  GPL on that work to the users in the first place. You can't
                                  convey it on a derivative work without a license from the owners
                                  of the work it was derived from. Grsecurity did not have that
                                  license because they did not comply with it.

                                    Denied. You have not explained how Grsecurity cannot
                                    license its own modifications under the GPL, nor how anyone
                                    other than Grsecurity could sue users for using those
                                    modifications. You have admitted that customers and users
                                    are licensed to use the Linux kernel even if Grsecurity is not.
                                    You will have to admit that users can modify the Linux kernel
                                    if they so choose, even using non-GPLv2 modifications, so
                                    long as they do not publish or distribute the result (GPLv2
                                    secs. 2 and 3).

                                  OK, this one is too much. Look, I know that lawyers will try to
                                  fool the other side to win an argument. I've had it happen
                                  before. It's not going to make me accept your argument. I
                                  explained clearly where Grsecurity could not license its
                                  infringing derivative work. You're being silly to contend that
                                  anyone can license an infringing derivative work to someone
                                  else without a lot more permission than the GPL contains.

                                    To reiterate, the customer has been licensed by the original
                                    developers for the original kernel and by Grsecurity for the
                                    modifications.

                                  The infringing derivative work was never licensed to the
                                  customers, because Grsecurity never had a right to license it to
                                  anyone. The copies of the kernel that are under the GPL came
                                  to the customer another way, if they have any, and the fact that
                                  the user has the GPL from someone else on another copy does
                                  not automatically license the infringing derivative work to the
                                  customer.

                                    A contributory infringer is "[o]ne who knowingly induces,
                                    causes or materially contributes to copyright infringement, by
                                    another but who has not committed or participated in the
                                    infringing acts him or herself, may be held liable as a
                                    contributory infringer if he or she had knowledge, or reason to
                                    know, of the infringement."

                                  They have now been informed that there's a good chance of
                                  risk of contributory infringement and to check with their counsel.
                                  It's public knowledge now. They're paying for copies. That's how
                                  they become a contributory infringer.

                                    How does the customer induce, cause, or contribute to
                                    copyright infringement by another by merely using
                                    Grsecurity's product? For that matter, how does a customer
                                    breach the GPL merely by using Grsecurity's product?

                                  By knowingly entering in a contract to acquire an infringing
                                  derivative work.


                                  Parent      Share



https://linux.slashdot.org/story/17/07/09/188246/bruce-perens-warns-grsecurity-breaches-the-linux-kernels-gpl-license[9/9/2017 4:07:58 PM]
Bruce Perens Warns Grsecurity Breaches the Linux Kernel's GPL License - Slashdot
                                 Case 3:17-cv-04002-LB Document 32-2 Filed 10/31/17 Page 59 of 138
                                     Re:Please Read The Entire Statement (Score:2)

                                      by DRJlaw ( 946416 ) on Monday July 10, 2017 @08:01AM
                                      (#54777427)



                                        Grsecurity is an unlicensed derivative work and it's owned
                                        in part by the kernel developers because it necessarily
                                        includes portions of the original work. The GPL does not
                                        apply to it at all.

                                      Those portions of the original work have been licensed to
                                      the customers by the GPLv2 sec 6. The license to those
                                      portions of the original work cannot be terminated per
                                      GPLv2 sec 4. The customer is also expressly licensed to
                                      make such a combination by GPLv2 sec. 2 so long as they
                                      do not publish or distribute the combined work.

                                      End of story.

                                        They're paying for copies. That's how they become a
                                        contributory infringer.

                                      No. Merely purchasing the existing combination of code
                                      does not provide the required right and ability to supervise
                                      or control the infringing activity [copyright.gov]. You are well
                                      outside the bounds of your expertise, and it shows.


                                      Parent     Share
                                         Re:Please Read The Entire Statement (Score:3)
                                         by Bruce Perens ( 3872 ) <bruce@perens.com> on Monday July
                                         10, 2017 @10:57AM (#54778423) Homepage Journal



                                            No. Merely purchasing the existing combination of
                                            code does not provide the required right and ability to
                                            supervise or control the infringing activity. You are
                                            well outside the bounds of your expertise, and it
                                            shows.

                                         In this case, it's the reverse. I understand how the
                                         software is applied (this is why I'm an expert witness in
                                         demand) and you're out of your expertise, sorry. The
                                         customer applies the patch. That gives them control of
                                         the infringing activity.

                                            Those portions of the original work have been
                                            licensed to the customers by the GPLv2 sec 6. The
                                            license to those portions of the original work cannot
                                            be terminated per GPLv2 sec 4. The customer is also
                                            expressly licensed to make such a combination by
                                            GPLv2 sec. 2 so long as they do not publish or
                                            distribute the combined work.

                                         Weren't you going to ask Eben about this? Why don't
                                         you do so, and get back to me. I still don't believe
                                         they're licensed.

                                         By the way, I got the Grsecurity agreement
                                         [perens.com]. They actually put down in writing how
                                         they restrict the customer's GPL rights.




https://linux.slashdot.org/story/17/07/09/188246/bruce-perens-warns-grsecurity-breaches-the-linux-kernels-gpl-license[9/9/2017 4:07:58 PM]
Bruce Perens Warns Grsecurity Breaches the Linux Kernel's GPL License - Slashdot
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                                         Parent      Share

                                     Re:Please Read The Entire Statement (Score:2)
                                      by DRJlaw ( 946416 ) on Monday July 10, 2017 @08:34AM
                                      (#54777547)


                                      Just to be clear Bruce,

                                        The fact that the user has the GPL for some other copy of
                                        a Linux kernel does not license the infringing derivative
                                        work to the user.

                                      This appears to be the crux of our differences. GPLv2 sec. 4
                                      states:

                                        4. You may not copy, modify, sublicense, or distribute the
                                        Program except as expressly provided under this License.
                                        Any attempt otherwise to copy, modify, sublicense or
                                        distribute the Program is void, and will automatically
                                        terminate your rights under this License. However,
                                        parties who have received copies, or rights, from you
                                        under this License will not have their licenses
                                        terminated so long as such parties remain in full
                                        compliance.

                                      That section says that the customer has a licence for that
                                      copy of the Linux kernel, not any other. Section 4 does not
                                      apply only to users who received copies from distributors
                                      who were completely in compliance with the GPL, because
                                      sec. 6 would make the emphasized language entirely
                                      superfluous under that interpretation:

                                        6. Each time you redistribute the Program (or any work
                                        based on the Program), the recipient automatically
                                        receives a license from the original licensor to copy,
                                        distribute or modify the Program subject to these terms
                                        and conditions.

                                      The customer is not "sublicensed" by the distributor, and
                                      therefore does not have their license terminated by
                                      termination of the license to the distributor under sec. 6
                                      alone. In short, GPL2 sec. 4 says that the user is not
                                      responsible for the sins of a distributor. Every user of GPL
                                      licensed code is independently licensed by every contributor
                                      to that GPL licensed code to use the copy of the code that
                                      they have received, regardless of the compliance of
                                      intermediaries, so long as that individual user complies with
                                      the GPL.

                                      The argument to the contrary is the "great big 'red flag'" that
                                      I've referred to. I'm quite certain that you haven't run that
                                      argument by Eben or the FSF, because it necessarily
                                      means that anyone using GPL code must audit the person
                                      or entity that they received the code from, not only for the
                                      copy that they received, but all copies that that distributor
                                      has ever distributed, so ensure that they have a license to
                                      "that" copy of the GPL-ed code and not "some other copy"
                                      of the code.

                                      If you wanted to stoke the perception that GPLed code is
                                      "toxic" in yet another unhelpful and nebulous way, you



https://linux.slashdot.org/story/17/07/09/188246/bruce-perens-warns-grsecurity-breaches-the-linux-kernels-gpl-license[9/9/2017 4:07:58 PM]
Bruce Perens Warns Grsecurity Breaches the Linux Kernel's GPL License - Slashdot
                                 Case 3:17-cv-04002-LB Document 32-2 Filed 10/31/17 Page 61 of 138
                                      couldn't have picked a better way...


                                      Parent     Share
                                         Perception of the GPL (Score:3)
                                         by Bruce Perens ( 3872 ) <bruce@perens.com> on Monday July
                                         10, 2017 @11:54AM (#54778917) Homepage Journal



                                            If you wanted to stoke the perception that GPLed
                                            code is "toxic" in yet another unhelpful and nebulous
                                            way, you couldn't have picked a better way...

                                         Actually, all I see so far is that an intentional GPL
                                         violator's customers are not protected from that
                                         intentional violation. It's not at all clear that this is in any
                                         way different from the proprietary software licensing
                                         world, where a contributory infringement case brought
                                         on the customer rather than the vendor is a frequent
                                         strategy.

                                         I check out the software licenses that are offered to my
                                         customers. Sometimes I red-light a proprietary software
                                         vendor because I don't believe they have the right to
                                         offer their own software. This is often obvious from their
                                         licensing. Similarly, a company should not accept a
                                         commercial issue of a GPL work if it's not sure the
                                         vendor has a right to offer the work.

                                         I am sorry that due diligence is required, but of course
                                         the Free Software folks didn't invent this intellectual
                                         property mess.


                                         Parent      Share
                                         Re:Please Read The Entire Statement (Score:2)
                                         by Bruce Perens ( 3872 ) <bruce@perens.com> on Monday July
                                         10, 2017 @11:45AM (#54778825) Homepage Journal


                                         I just copied Eben again this morning, as I'd received a
                                         copy of the Grsecurity Stable Patch Access Agreement,
                                         which I had not previously had in hand. I also included
                                         another link to my article. No word from Eben yet.

                                         While the user may not be responsible for the sins of the
                                         distributor, this is only the case after the distributor
                                         successfully conveys the GPL to the user upon the
                                         work. I contend that the distributor never had the right to
                                         convey the GPL to the user at all upon an infringing
                                         derivative work, and that a direct grant by the kernel
                                         developers to the user is thus never triggered.

                                         Also, keep in mind that if the user does successfully
                                         receive the GPL on a work, they must be fully in
                                         compliance (section 4) for the GPL to continue. If the
                                         "sins" of the distributor are repeated by the user, the
                                         user is not in compliance. The point here is that the user
                                         need not pay for a "sin" which they do not repeat, nor
                                         may the distributor perform a deliberate action which
                                         terminates the user's GPL rights unless the user repeats
                                         that action.




https://linux.slashdot.org/story/17/07/09/188246/bruce-perens-warns-grsecurity-breaches-the-linux-kernels-gpl-license[9/9/2017 4:07:58 PM]
Bruce Perens Warns Grsecurity Breaches the Linux Kernel's GPL License - Slashdot
                                 Case 3:17-cv-04002-LB Document 32-2 Filed 10/31/17 Page 62 of 138
                                         When the user receives the infringing derivative work,
                                         and when the user applies the patch, they inherit the
                                         previous infringement from the distributor. The GPL
                                         does not wash clean that infringing status for the user.


                                         Parent      Share
                                             Re:Please Read The Entire Statement (Score:2)
                                             by DRJlaw ( 946416 ) on Monday July 10, 2017 @01:50PM
                                             (#54779849)



                                               While the user may not be responsible for the sins
                                               of the distributor, this is only the case after the
                                               distributor successfully conveys the GPL to the
                                               user upon the work. I contend that the distributor
                                               never had the right to convey the GPL to the user
                                               at all upon an infringing derivative work, and that a
                                               direct grant by the kernel developers to the user is
                                               thus never triggered.

                                             And I contend that you're wrong. In the SFLC's own
                                             words [softwarefreedom.org]:

                                               Automatic Downstream Licensing

                                               Each time you redistribute a GPLâ(TM)d program,
                                               the recipient automatically receives a license,
                                               under the terms of the GPL involved, from every
                                               upstream licensor whose copyrighted material is
                                               present in the work you redistribute. You can think
                                               of this as creating a three-dimensional rather than
                                               linear flow of license rights. Every recipient of the
                                               work is âoein privity,â or is directly receiving a
                                               license from every licensor.

                                               This mechanism of automatic downstream
                                               licensing is central to the working of copyleft.
                                               Every licensor independently grants licenses, and
                                               every licensor independently terminates the
                                               license on violation. In the case of GPLv2, this
                                               termination is automatic, while under GPLv3 the
                                               party breaching the licenseâ(TM)s terms may be
                                               able to cure before termination. Parties further
                                               downstream from the infringing party remain
                                               licensed, so long as they donâ(TM)t themselves
                                               commit infringing actions. Their licenses come
                                               directly from all the upstream holders, and are
                                               not dependent on the license of the breaching
                                               party who distributed to them. For the same
                                               reason, an infringer who acquires another copy of
                                               the program has not thereby acquired any new
                                               license rights: once any upstream licensor of that
                                               program has terminated the license for breach of
                                               its terms, no new automatic license will issue to
                                               the recipient just by acquiring another copy.

                                             It does not matter whether "the distributor []ever had
                                             the right to convey the GPL to the user." The user
                                             takes their license directly from every contributor,
                                             and cannot be liable for using a GPLed work unless
                                             they themselves directly violate the GPL.



https://linux.slashdot.org/story/17/07/09/188246/bruce-perens-warns-grsecurity-breaches-the-linux-kernels-gpl-license[9/9/2017 4:07:58 PM]
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                                 Case 3:17-cv-04002-LB Document 32-2 Filed 10/31/17 Page 63 of 138

                                             I no longer need your clarification. It's eminently
                                             clear that you're in the wrong.


                                             Parent      Share

                                             Re:Please Read The Entire Statement (Score:2)
                                             by Bruce Perens ( 3872 ) <bruce@perens.com> on Monday
                                             July 10, 2017 @02:55PM (#54780327) Homepage Journal


                                             The infringing derivative work is not the software
                                             which the Linux developers license to people under
                                             the GPL. It is a separate work to which the GPL
                                             does not apply and to which the Linux developers
                                             hold a copyright interest and the only remedy which
                                             can permit its legal use. The Linux developers never
                                             intended to license that work, they still haven't, the
                                             GPL doesn't apply to it.
                                             Parent      Share
                                             Re:Please Read The Entire Statement (Score:2)
                                             by Bruce Perens ( 3872 ) <bruce@perens.com> on Monday
                                             July 10, 2017 @03:02PM (#54780357) Homepage Journal


                                             You are also ignoring the paragraph after the one
                                             you cited:

                                               Protection Against Additional Restrictions Usersâ
                                               (TM) freedoms cannot be protected if parties can
                                               add restrictive terms to the copyleft. The âoeno
                                               additional restrictionsâ principle is therefore
                                               unwaivable if the GPL licenses are to achieve
                                               their primary objective. GPLv2 therefore requires
                                               that the only license terms available for works
                                               based on GPLv2 works are the terms of GPLv2.
                                               GPLv3, in Â7, enumerates a few classes of
                                               permissible additional terms, to allow very limited
                                               license variations in particular circumstances. But
                                               with these exceptions, the âoeno further
                                               restrictionsâ principle applies strictly. For these
                                               reasons, acceptance requirements or ceremonies,
                                               including âoeclick to acceptâ installation routines,
                                               violate the terms of GPL.

                                             By this interpretation, both the distributor who
                                             offered an additional term and the customer who
                                             accepted it in breach.

                                             I should also add that SFLC's interpretation of the
                                             GPL is not binding upon anyone but SFLC, and
                                             arguably not even them. I certainly don't have to
                                             accept it or abide by it.


                                             Parent      Share
                                             Re:Please Read The Entire Statement (Score:0)
                                             by Anonymous Coward on Tuesday July 11, 2017 @11:50PM
                                             (#54791263)


                                             1) The SFLC is not a party here. Linus et al are
                                             (being the copyright holders).




https://linux.slashdot.org/story/17/07/09/188246/bruce-perens-warns-grsecurity-breaches-the-linux-kernels-gpl-license[9/9/2017 4:07:58 PM]
Bruce Perens Warns Grsecurity Breaches the Linux Kernel's GPL License - Slashdot
                                 Case 3:17-cv-04002-LB Document 32-2 Filed 10/31/17 Page 64 of 138
                                             2) The derivative work itself is violating copyright.

                                             To create and distribute a non-stand alone
                                             derivative work, lawfully, one must have permission
                                             to do so (to modify, distribute, etc).

                                             Once GRSecurity proffered more restrictive
                                             additional terms they lost the license grant. Thus
                                             they no-longer have the permission to modify Linus'
                                             et al's property, let-alone distribute derivative works
                                             based upon it.

                                             To distribute a violating work is a violation of the
                                             property rights of the copyright holder. To modify the
                                             linux kernel when one's grant has been revoked is
                                             another violation.

                                             To knowingly make a copy of a work that violates
                                             another's copyright... you get the idea.


                                             Parent      Share

                                         Re:Please Read The Entire Statement (Score:1)

                                         by ale2011 ( 2486668 ) on Monday July 10, 2017 @02:34PM
                                         (#54780217)




                                             GPLv2 sec. 4 states:

                                               4. You may not copy, modify, sublicense, or
                                               distribute the Program except as expressly
                                               provided under this License. Any attempt
                                               otherwise to copy, modify, sublicense or
                                               distribute the Program is void, and will
                                               automatically terminate your rights under this
                                               License. However, parties who have received
                                               copies, or rights, from you under this License
                                               will not have their licenses terminated so
                                               long as such parties remain in full
                                               compliance.

                                             That section says that the customer has a licence
                                             for that copy of the Linux kernel, not any other.
                                             Section 4 does not apply only to users who
                                             received copies from distributors who were
                                             completely in compliance with the GPL, because
                                             sec. 6 would make the emphasized language
                                             entirely superfluous under that interpretation:

                                         That would seem to imply that a patch can be
                                         considered not to be derivative work. Is it so?

                                         Some versions of the Grsecurity article [wikipedia.org]
                                         seem to imply that Bruce is the only one who argues
                                         that's a violation. IANAL, and I think if that's not a
                                         violation then the GPL is badly written (perhaps thet's
                                         why there is v3.) RMS's statement [debian.org] is
                                         unusually laconic.


                                         Parent      Share



https://linux.slashdot.org/story/17/07/09/188246/bruce-perens-warns-grsecurity-breaches-the-linux-kernels-gpl-license[9/9/2017 4:07:58 PM]
Bruce Perens Warns Grsecurity Breaches the Linux Kernel's GPL License - Slashdot
                                 Case 3:17-cv-04002-LB Document 32-2 Filed 10/31/17 Page 65 of 138
                                             Re:Please Read The Entire Statement (Score:0)
                                             by Anonymous Coward on Tuesday July 11, 2017 @11:55PM
                                             (#54791289)


                                             v3 exists because the drafters of v2 of the GPL
                                             failed to include a no-revocation clause. Licenses
                                             are revokable at the will of the grantor (barring
                                             estopple).

                                             IAAL, GRSecurity is blatantly violating the no-
                                             additional-restrictive-terms clause.


                                             Parent      Share
                                             Re:Please Read The Entire Statement (Score:0)
                                             by Anonymous Coward on Wednesday July 12, 2017
                                             @12:18AM (#54791395)


                                             But they aren't placing restricting anything in what
                                             the license allows.

                                             They're taking away something extra they offered
                                             which the license doesn't promise anyhow.


                                             Parent      Share
                                             Re:Please Read The Entire Statement (Score:0)

                                             by Anonymous Coward on Thursday July 13, 2017
                                             @09:28PM (#54805561)


                                             >Really? What terms add any restrictions
                                             whatsoever to the SOFTWARE LICENSE?

                                             That's cute. You Proud (red in the face) White
                                             American Man Programmers believe that section 6
                                             of version 2 of the GPL is trying to describe some
                                             sort of copyright protection over it's own text right
                                             there.

                                             First of all you, yes you, are an ignorant person who
                                             thinks the "License" is merely the written
                                             memorialization you can print out or read. No. You
                                             ignorant fool. You white monkey. You proud
                                             American Man (who bombs every pro-marry young
                                             girl country in existence to secure the world for the
                                             white woman (as you violently oppose your own
                                             intrests as a man: as the golem of the white woman
                                             you are)), red in the face with angry hubris. The
                                             LICENSE is the permission you have from the
                                             property owner to use his property. When he tells
                                             you that he is ALLOWING you to make derivative
                                             works of his property (how gracious of him: it is his
                                             right to deny you this PRIVILEGE) he may put
                                             restrictions on the dispossession of his PROPERTY
                                             (copyright is alienable in the same way real property
                                             etc is (see: copyright statute)). Here he has stated
                                             that you may not impose restrictions between you
                                             and other people you distribute a derived work to
                                             that are in excess of the restrictions the license he
                                             has granted you. That is you CANNOT ask
                                             someone to AGREE to ADDITIONAL



https://linux.slashdot.org/story/17/07/09/188246/bruce-perens-warns-grsecurity-breaches-the-linux-kernels-gpl-license[9/9/2017 4:07:58 PM]
Bruce Perens Warns Grsecurity Breaches the Linux Kernel's GPL License - Slashdot
                                 Case 3:17-cv-04002-LB Document 32-2 Filed 10/31/17 Page 66 of 138
                                             RESTRICTIONS. If you do so your permission from
                                             the owner is revoked. GRSecurity asks further
                                             distributees to agree to not distribute the derivative
                                             work.

                                             Basically, you, you stupid ignornant White Man, do
                                             not KNOW what a License is. You think it is a piece
                                             of paper. You are a fool. But like all the rest of the
                                             White Man programmers here from America
                                             (proudly being exceptional and making the world
                                             safe for women and girls, proudly (rockets red glare,
                                             bombs bursting in air.... (tears in eyes (an eagles
                                             tears))) will continue forever in your hubris.

                                             I shall explain again:

                                               >Except that, as many have pointed out, it's not a
                                               new license term. It's a term of an agreement that
                                               makes reference to the license. They are not
                                               saying you can't get a license unless you agree to
                                               their terms; they're saying you can't get support
                                               and updates.

                                             The terms of the license govern what agreements
                                             you may make between yourself and other parties. It
                                             is not solely governing what "the license" (that you
                                             publish to the other parties) says.

                                             Section 6 states simply
                                             "You may not impose any further restrictions on the
                                             recipients' exercise of the rights granted herein."

                                             Clear as day. What you lay people do not seem to
                                             understand is that the terms here are governing
                                             what agreements and actions the distributee can
                                             take regarding furthur distributees, in reality, in the
                                             flesh.

                                             Here the ACTIONS of GRSecurity are to RESTRICT
                                             the exercise of the redistribution rights of the further
                                             distributee.

                                             This is an action prohibited by the terms offered by
                                             the linux-rights holders, and they have written as
                                             another term that the permission they give to use
                                             their property is revoked upon violation of their
                                             terms.

                                             Very simple.

                                             The linux-rights holders could have written "those
                                             who eat grapes on a monday have their license
                                             revoked at the moment grape is consumed". Linux is
                                             their property and they may alienate it as they desire
                                             in the same way they may alienate their real and
                                             personal property.

                                             Under your theory no revocation would take place
                                             unless GRSecurity physically prevented further
                                             distributees from redistributing by putting a gun to
                                             their heads if they dared attempt so. Clearly that is




https://linux.slashdot.org/story/17/07/09/188246/bruce-perens-warns-grsecurity-breaches-the-linux-kernels-gpl-license[9/9/2017 4:07:58 PM]
Bruce Perens Warns Grsecurity Breaches the Linux Kernel's GPL License - Slashdot
                                 Case 3:17-cv-04002-LB Document 32-2 Filed 10/31/17 Page 67 of 138
                                             not how things work. GRSecurity proffered terms
                                             designed to restrict one from redistributing the
                                             derivative work, terms which have been successful
                                             in-fact. A clear violation of section 6.

                                             Very simple.

                                             And yes, IAAL.

                                             >as many have pointed out,
                                             Many lay people, like yourself, who are not studied
                                             in the law and are completely ignorant of it's
                                             workings, seeing only the surface edifices, yet, in
                                             hubris, insist that their opinion on any matter
                                             regarding legal outcomes is worth the equivalent
                                             value of even one speck of infertile earth.

                                             You do NOT know what you are talking about.
                                             Neither do your Programmer friends


                                             Parent      Share
                                             Re:Please Read The Entire Statement (Score:0)

                                             by Anonymous Coward on Thursday July 13, 2017
                                             @09:31PM (#54805579)


                                             >But they aren't placi

                                             They are restricting their clients from redistributing
                                             the derivative work, and are doing so effectively.
                                             They require their clients to agree not to redistribute
                                             the derivative work. Proffering such terms is a
                                             violation of section 6: it is exactly what section 6 was
                                             drafted to prevent.

                                               >Except that, as many have pointed out, it's not a
                                               new license term. It's a term of an agreement that
                                               makes reference to the license. They are not
                                               saying you can't get a license unless you agree to
                                               their terms; they're saying you can't get support
                                               and updates.

                                             The terms of the license govern what agreements
                                             you may make between yourself and other parties. It
                                             is not solely governing what "the license" (that you
                                             publish to the other parties) says.

                                             Section 6 states simply
                                             "You may not impose any further restrictions on the
                                             recipients' exercise of the rights granted herein."

                                             Clear as day. What you lay people do not seem to
                                             understand is that the terms here are governing
                                             what agreements and actions the distributee can
                                             take regarding furthur distributees, in reality, in the
                                             flesh.

                                             Here the ACTIONS of GRSecurity are to RESTRICT
                                             the exercise of the redistribution rights of the further
                                             distributee.




https://linux.slashdot.org/story/17/07/09/188246/bruce-perens-warns-grsecurity-breaches-the-linux-kernels-gpl-license[9/9/2017 4:07:58 PM]
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                                 Case 3:17-cv-04002-LB Document 32-2 Filed 10/31/17 Page 68 of 138
                                             This is an action prohibited by the terms offered by
                                             the linux-rights holders, and they have written as
                                             another term that the permission they give to use
                                             their property is revoked upon violation of their
                                             terms.

                                             Very simple.

                                             The linux-rights holders could have written "those
                                             who eat grapes on a monday have their license
                                             revoked at the moment grape is consumed". Linux is
                                             their property and they may alienate it as they desire
                                             in the same way they may alienate their real and
                                             personal property.

                                             Under your theory no revocation would take place
                                             unless GRSecurity physically prevented further
                                             distributees from redistributing by putting a gun to
                                             their heads if they dared attempt so. Clearly that is
                                             not how things work. GRSecurity proffered terms
                                             designed to restrict one from redistributing the
                                             derivative work, terms which have been successful
                                             in-fact. A clear violation of section 6.

                                             Very simple.

                                             And yes, IAAL.

                                             >as many have pointed out,
                                             Many lay people, like yourself, who are not studied
                                             in the law and are completely ignorant of it's
                                             workings, seeing only the surface edifices, yet, in
                                             hubris, insist that their opinion on any matter
                                             regarding legal outcomes is worth the equivalent
                                             value of even one speck of infertile earth.

                                             You do NOT know what you are talking about.
                                             Neither do your Programmer friends.


                                             Parent      Share
                                             Re:Please Read The Entire Statement (Score:0)
                                             by Anonymous Coward on Thursday July 13, 2017
                                             @10:12PM (#54805821)


                                             > And yes, IAAL

                                             You misspelled "fucking fruitcake."


                                             Parent      Share
                                             Re:Please Read The Entire Statement (Score:0)
                                             by Anonymous Coward on Thursday July 13, 2017
                                             @11:24PM (#54806111)


                                             > They require their clients to agree not to
                                             redistribute the derivative work.

                                             How are they requiring clients to agree?

                                             Are they holding their babies hostage or something?



https://linux.slashdot.org/story/17/07/09/188246/bruce-perens-warns-grsecurity-breaches-the-linux-kernels-gpl-license[9/9/2017 4:07:58 PM]
Bruce Perens Warns Grsecurity Breaches the Linux Kernel's GPL License - Slashdot
                                 Case 3:17-cv-04002-LB Document 32-2 Filed 10/31/17 Page 69 of 138
                                             Their clients have every right and ability to
                                             redistribute. The license is clear on that.


                                             Parent      Share


                Re: Please Read The Entire Statement (Score:-1)

                by Anonymous Coward on Sunday July 09, 2017 @03:00PM (#54774271)


                Actually, the GPL is about taking code written by other people that happens to link
                to GPL code, and force it to also be released under the GPL. Your idea of forcing
                GPL software to remain free is basically stealing other people's code and forcing it
                to also be released under the GPL because it links to GPL software. Freedom my
                ass.


                Parent       Share
                   Re: Please Read The Entire Statement (Score:2)
                   by 110010001000 ( 697113 ) on Sunday July 09, 2017 @03:14PM (#54774345) Homepage
                   Journal



                   Even if that were true, the GPL is open and free to read. You should have read
                   it before you created Grsecurity.
                   Parent      Share
                   Re: Please Read The Entire Statement (Score:0)

                   by Anonymous Coward on Sunday July 09, 2017 @03:08PM (#54774305)


                   >forcing it to also be released under the GPL because it links to GPL software.
                   Freedom my ass.

                   It is freedom, of the highest order. You are free NOT to do that as well as to do
                   it.

                   It isn't stealing, in any respect. You don't have to modify GPL code - you can
                   write your own from scratch and do with it as you please.


                   Parent      Share
                   Re: Please Read The Entire Statement (Score:0)
                   by Anonymous Coward on Sunday July 09, 2017 @03:17PM (#54774361)


                   Happens to link to? What kind of ide is this?
                   If you write kernel patches for a kernel under GPL it does not link to this GPL
                   bound code by chance. It's by design, and unless they're utterly stupid they've
                   known this from day 1.


                   Parent      Share
                   Re: Please Read The Entire Statement (Score:2)
                   by Cacadril ( 866218 ) on Monday July 10, 2017 @06:24AM (#54777211)




                       ...taking code written by other people...force it to also be released under
                       the GPL. ...stealing other people's code

                   This resembles the rapist who thinks the girl forced him to do it by being so
                   female and attractive.




https://linux.slashdot.org/story/17/07/09/188246/bruce-perens-warns-grsecurity-breaches-the-linux-kernels-gpl-license[9/9/2017 4:07:58 PM]
Bruce Perens Warns Grsecurity Breaches the Linux Kernel's GPL License - Slashdot
                                 Case 3:17-cv-04002-LB Document 32-2 Filed 10/31/17 Page 70 of 138
                   The linux kernel was there first, GPL and all. Nobody was "forced" to write
                   GRSecurity as a patch to Linux. Nobody wrote code innocently only to have it
                   taken away from them afterwards. GRSecurity does not work without the Linux
                   kernel, or, if you can make it work without, you are free to do so,

                       ...that happens to link to GPL code

                   This is another distortion of the facts. The code does not "happen to link" totally
                   by accident or by evil acts of the Linux crowd. First, I doubt it just links, without
                   any patching of existing code. We are talking about applying patches, that is,
                   creating a derivative work in the form of a modified compilation unit. Who is
                   "taking" other people's code here? And who is applying the patches? Who is
                   doing the linking?


                   Parent      Share
                       Re: Please Read The Entire Statement (Score:0)

                       by Anonymous Coward on Wednesday July 12, 2017 @02:07AM (#54791719)


                       The linux kernel was attractive and a kernel.
                       Clearly it had to be raped.

                       0 : 1 Linux.
                       1 : 1 Grsecurity
                       Eat your heart out RMS.


                       Parent      Share
                       Re: Please Read The Entire Statement (Score:0)
                       by Anonymous Coward on Wednesday July 12, 2017 @02:09AM (#54791729)


                       "This is another distortion of the facts. The code does not "happen to link"
                       totally by accident or by evil acts of the Linux crowd. First, I doubt it just
                       links, without any patching of existing code."

                       Indeed. Grsecurity is _THE_ most extensive modification of the Linux
                       kernel that has EVER been written and offered as a monolithic patch. If it
                       isn't a derivative work then NOTHING in software is.


                       Parent      Share
                          Re: Please Read The Entire Statement (Score:0)
                           by Anonymous Coward on Thursday July 13, 2017 @07:53AM (#54799517)


                           False. There have been far bigger changes commited into the kernel in
                           the past. Keep spreading that FUD, though.


                           Parent     Share
                              Re: Please Read The Entire Statement (Score:0)
                              by Anonymous Coward on Thursday July 13, 2017 @09:35PM (#54805603)


                              >False. There have been far bigger changes commited into the
                              kernel in the past.
                              Give some examples of something more extensive than
                              GRSecurity's reach. (Not something confined to one subsection of
                              the kernel)

                              >Keep spreading that FUD, though.
                              Want me to sue you for libel? Would you like that buddy?



https://linux.slashdot.org/story/17/07/09/188246/bruce-perens-warns-grsecurity-breaches-the-linux-kernels-gpl-license[9/9/2017 4:07:58 PM]
Bruce Perens Warns Grsecurity Breaches the Linux Kernel's GPL License - Slashdot
                                 Case 3:17-cv-04002-LB Document 32-2 Filed 10/31/17 Page 71 of 138
                              WOULD YOU LIKE THAT?

                              If GRSecurity isn't a derivative work then NOTHING in software is.


                              Parent      Share

                Re:Please Read The Entire Statement (Score:1)
                by Megol ( 3135005 ) on Sunday July 09, 2017 @06:21PM (#54775171)


                The FSF have no trademark on the word free and the definition of free isn't done
                by the FSF. Stop pretending and act like an adult.


                Parent      Share
                Re:Please Read The Entire Statement (Score:2)
                by phantomfive ( 622387 ) on Monday July 10, 2017 @02:18AM (#54776689) Journal


                Your analysis seems on point: if they've acted to prevent redistributing of their
                changes, then they've violated the GPL. However I am a little less clear on this
                paragraph:

                   As a customer, it’s my opinion that you would be subject to both contributory
                   infringement and breach of contract by employing this product in conjunction
                   with the Linux kernel under the no-redistribution policy currently employed by
                   Grsecurity.

                I feel like the customers will still get full rights to use the Linux kernel (as long as
                they don't redistribute the binaries). I'm not sure where the contributory
                infringement and breach of contract come from.


                Parent      Share
                   Re:Please Read The Entire Statement (Score:2)
                   by Bruce Perens ( 3872 ) <bruce@perens.com> on Monday July 10, 2017 @10:41AM
                   (#54778289) Homepage Journal


                   Because the GPL doesn't apply to the infringing derivative work, as it
                   terminated when it was not complied with, and Open Source Security, Inc.
                   doesn't have a right to license it to others or to apply the GPL to it. So, the
                   customers have a work with no valid license and the kernel developers own the
                   only remedy that would permit its legal use.

                   If the customers had the GPL on that work, distribution might be relevant. They
                   don't. Also keep in mind that distribution is not the only thing you can do to
                   violate the GPL. You can create a derivative work that is in violation even
                   before distribution.


                   Parent      Share
                       Re:Please Read The Entire Statement (Score:2)

                       by phantomfive ( 622387 ) on Monday July 10, 2017 @12:32PM (#54779201) Journal




                          Because the GPL doesn't apply to the infringing derivative work, as it
                          terminated when it was not complied with, and Open Source Security,
                          Inc. doesn't have a right to license it to others or to apply the GPL to it.
                          So, the customers have a work with no valid license and the kernel
                          developers own the only remedy that would permit its legal use.

                       The counter-argument here is that the customers already have a valid



https://linux.slashdot.org/story/17/07/09/188246/bruce-perens-warns-grsecurity-breaches-the-linux-kernels-gpl-license[9/9/2017 4:07:58 PM]
Bruce Perens Warns Grsecurity Breaches the Linux Kernel's GPL License - Slashdot
                                 Case 3:17-cv-04002-LB Document 32-2 Filed 10/31/17 Page 72 of 138
                       license to the Linux kernel, with the GPL already granted, and the GPL
                       allows them to modify the kernel in almost any way. I see elsewhere that
                       you've written to Eben Moglen on the topic, so I'll wait to see what he says.

                          You can create a derivative work that is in violation even before
                          distribution.

                       How would you do that? The GPL allows essentially any kind of
                       modification (as long as you make a 'prominent' note of the modifications in
                       the source).


                       Parent      Share
                       Re:Please Read The Entire Statement (Score:2)
                       by phantomfive ( 622387 ) on Monday July 10, 2017 @12:50PM (#54779315) Journal


                       I want to add some analysis here, following the appellate court's ruling in
                       Oracle v Google (if you haven't read it already, I strongly recommend
                       reading it, because it is clear-minded and I fully expect it to set the
                       precedent for software copyright cases for a long, long time).

                       So, imagine the 'owner' of the Linux kernel sued the customer of
                       Grsecurity. Following OvG, the courts would first apply the Abstraction,
                       Filtration, and Comparison test [copyleft.org] to figure out what is infringing.
                       So the question is, what is infringing? After running the AFC test, there is
                       nothing left that the customer doesn't have a license to. The Linux kernel
                       'owner' has given the end-user the right to use all of his(her) code. There is
                       nothing left that the 'owner' can say that the customer doesn't have a
                       license to.

                       Now, if the user doesn't have the right to use the code remaining after the
                       AFC test, I would be interested in hearing an argument as to why not.
                       Parent      Share

                Re:Please Read The Entire Statement (Score:2)
                by phantomfive ( 622387 ) on Monday July 10, 2017 @03:40AM (#54776843) Journal


                ok, I've read your argument elsewhere regarding the contributory infringement. In a
                lot of ways, it's like the cleanflicks case.....you are not allowed to edit and sell the
                edited DVDs, but you are allowed to sell metadata indicating which parts of the
                original movie can be modified, even though such metadata is clearly a derivative
                work. That would be analogous to allowing an end-user to download the kernel
                elsewhere, then apply the patches to it separately.

                DVDs are a little different because they fall under the Family Entertainment and
                Copyright Act. The Linux kernel does not. I can't think of any case that applies to
                this directly. Applying the abstraction, comparison, filtration test
                [zerobugsan...faster.net], it seems reasonable that if Grsecurity lost the right to
                redistribute the Linux Kernel, they would at least lose the right to those portions of
                the code which allow them to integrate directly with the kernel, or are directly
                related to Linux. IF that happens, of course the patch would be useless.

                So the question is, if you have a license from Grsecurity to use the parts of code
                they own, and a license from Linux for parts of the code that they own, why can't
                you use them together? The real question is about the jointly-owned portion of the
                code (after the abstraction, comparison, filtration test). Are you able use that or
                not? If not, why not?
                Parent      Share

            This is a problem affecting all OSS licenses (Score:2)



https://linux.slashdot.org/story/17/07/09/188246/bruce-perens-warns-grsecurity-breaches-the-linux-kernels-gpl-license[9/9/2017 4:07:58 PM]
Bruce Perens Warns Grsecurity Breaches the Linux Kernel's GPL License - Slashdot
                                 Case 3:17-cv-04002-LB Document 32-2 Filed 10/31/17 Page 73 of 138
            by Lirodon     ( 2847623 ) on Sunday July 09, 2017 @03:28PM (#54774429)



            I've seen multiple pieces of software, including Paint.net and Classic Shell, change to
            proprietary licenses because of this exact issue; being able to effectively plagiarize a
            program just because it's open source and you can theoretically do anything to it, like
            change the name and claim it as your own, claim it's a "new version" that's littered with
            malware or add-ons that aren't open source, etc. Open source licenses do not give you
            a carte blanche to infringe on any other proprietary intellectual property associated with
            the software, such as trademarks and trade dress.
            Share
                Re:This is a problem affecting all OSS licenses (Score:4, Interesting)
                by Bruce Perens ( 3872 ) <bruce@perens.com> on Sunday July 09, 2017 @03:44PM
                (#54774533) Homepage Journal


                Actually, the GPL and a trademark registration will keep just what you're talking
                about from happening. Going proprietary won't give you any more protection
                unless you're talking about just locking up the source. But you have to enforce
                once in a while to keep idiots from breaking the rules.
                Parent      Share
                Re: This is a problem affecting all OSS licenses (Score:2)
                by guruevi ( 827432 ) <evi@@@evcircuits...com> on Sunday July 09, 2017 @05:59PM
                (#54775081) Homepage


                No you cannot do that under proper open source licenses such as the GPL. In the
                cases of paint.net and classic shell and many more, they just want to have other
                people build and fix their product and then once successful, they want to close it
                and sell a commercial product. It's the main reason never to contribute to anything
                obscure that is under a MIT or BSD license.


                Parent      Share
                   Re: This is a problem affecting all OSS licenses (Score:0)
                   by Anonymous Coward on Wednesday July 12, 2017 @02:20AM (#54791753)


                   "then once successful, they want to close it and sell a commercial product. "

                   Sounds like this happens with GPL derivative works too... as if the GPL is no
                   shield.


                   Parent      Share

                Re:This is a problem affecting all OSS licenses (Score:0)
                by Anonymous Coward on Sunday July 09, 2017 @03:56PM (#54774581)


                paint.net changed because scammers were swiping the code and using it without
                proper attribution, without changing crucial elements like application guid and
                update urls, etc.

                classicshell.net was pretty much the same story.

                it's not because they didn't like open source.. it's that their code was abused over
                and over and over again in violation of even the generous terms they used to be
                available under. not quite the same situation as here.


                Parent      Share
                   Re:This is a problem affecting all OSS licenses (Score:2)




https://linux.slashdot.org/story/17/07/09/188246/bruce-perens-warns-grsecurity-breaches-the-linux-kernels-gpl-license[9/9/2017 4:07:58 PM]
Bruce Perens Warns Grsecurity Breaches the Linux Kernel's GPL License - Slashdot
                                 Case 3:17-cv-04002-LB Document 32-2 Filed 10/31/17 Page 74 of 138
                   by Lirodon     ( 2847623 ) on Sunday July 09, 2017 @06:23PM (#54775177)



                   Well, this is the same case. Their code, despite being heavily modified, is still
                   being attributed to them as their work, thus violating its integrity because it is
                   not the grsecurity..
                   Parent       Share

                Re:This is a problem affecting all OSS licenses (Score:0)
                by Anonymous Coward on Sunday July 09, 2017 @03:56PM (#54774585)


                The Paint.net case was just weird. I pretty much took it as the Windows developer
                community just not understanding open source.


                Parent      Share

            Do like... (Score:2)
            by 101percent ( 589072 ) on Sunday July 09, 2017 @04:14PM (#54774651)


            Linux should do like OpenBSD did with pf and just replace it. All this yelling and
            screaming just turns people away.
            Share
                Re:Do like... (Score:0)
                by Anonymous Coward on Sunday July 09, 2017 @10:30PM (#54776077)


                What yelling and screaming?

                And for that matter, what does Linux need to replace in this case?


                Parent      Share
                   Re:Do like... (Score:2)
                   by 101percent ( 589072 ) on Monday July 10, 2017 @01:32AM (#54776607)


                   This drama is on every relevant website.
                   Parent       Share
                       Yes.. (Score:0)

                       by Anonymous Coward on Wednesday July 12, 2017 @02:22AM (#54791757)


                       The fire rises...


                       Parent      Share


            Good example of why to avoid the GPL. (Score:-1, Troll)
            by Anonymous Coward on Sunday July 09, 2017 @02:18PM (#54774095)


            This is yet another good example of why infectious software licenses like those in the
            GPL family should be completely avoided. Despite all of the talk about "freedom", the
            GPL licenses are some of the most onerous and restrictive. They are just too risky to
            deal with. It's best to avoid them, and to instead just stick with licenses that are truly
            free, like the MIT and BSD licenses.


            Share
                Re:Good example of why to avoid the GPL. (Score:5, Insightful)
                by epyT-R ( 613989 ) on Sunday July 09, 2017 @02:37PM (#54774173)




https://linux.slashdot.org/story/17/07/09/188246/bruce-perens-warns-grsecurity-breaches-the-linux-kernels-gpl-license[9/9/2017 4:07:58 PM]
Bruce Perens Warns Grsecurity Breaches the Linux Kernel's GPL License - Slashdot
                                 Case 3:17-cv-04002-LB Document 32-2 Filed 10/31/17 Page 75 of 138
                Unless of course the goal is to keep the software open/modifiable by all while
                disallowing poaching by closed source developers. This frees the project from
                parasitic closed developers. They'll have to write their own code if they want to
                keep it closed.


                Parent      Share
                   Re:Good example of why to avoid the GPL. (Score:4, Insightful)

                   by Teun ( 17872 ) on Sunday July 09, 2017 @03:02PM (#54774281) Homepage


                   Indeed, as we know free is not gratis.
                   The GPL keeps the existing software and its derivatives free to use by and for
                   all.
                   Parent      Share
                       Re:Good example of why to avoid the GPL. (Score:0)
                       by Anonymous Coward on Sunday July 09, 2017 @10:37PM (#54776099)


                       Except in this case you mean.


                       Parent      Share
                          Re: Good example of why to avoid the GPL. (Score:0)

                           by Anonymous Coward on Monday July 10, 2017 @12:32AM (#54776463)


                           No, you misunderstood the case here. GPL should be keeping it open
                           source, but company is trying to restrict that, which is contrary to the
                           license.


                           Parent     Share
                              Re: Good example of why to avoid the GPL. (Score:0)

                              by Anonymous Coward on Wednesday July 12, 2017 @01:10AM (#54791591)


                              So grsecurity aren't included as part of the "all" of humanity? What
                              a very selective, judgemental and bigoted license the GPL is.


                              Parent      Share
                              Re: Good example of why to avoid the GPL. (Score:0)

                              by Anonymous Coward on Wednesday July 12, 2017 @02:28AM (#54791773)


                              If no one sues them they'll keep getting away with it...


                              Parent      Share

                   Re:Good example of why to avoid the GPL. (Score:0)

                   by Anonymous Coward on Sunday July 09, 2017 @03:20PM (#54774387)


                   Exactly this.


                   Parent      Share
                   Re:Good example of why to avoid the GPL. (Score:0)
                   by Anonymous Coward on Monday July 10, 2017 @12:27AM (#54776447)




                       Unless of course the goal is to keep the software open/modifiable by all



https://linux.slashdot.org/story/17/07/09/188246/bruce-perens-warns-grsecurity-breaches-the-linux-kernels-gpl-license[9/9/2017 4:07:58 PM]
Bruce Perens Warns Grsecurity Breaches the Linux Kernel's GPL License - Slashdot
                                 Case 3:17-cv-04002-LB Document 32-2 Filed 10/31/17 Page 76 of 138
                       while disallowing poaching by closed source developers. This frees the
                       project from parasitic closed developers. They'll have to write their own
                       code if they want to keep it closed.

                   Then perhaps free software developers should write their own kernel with a
                   license that disallows those "parasitic closed developers" from deploying
                   software on it. But they won't because they need closed source software in fact
                   the GNU project would have been an utter failure if it weren't for the preamble
                   in the Linux kernel license that exempts software making kernel syscalls from
                   being infected with the GPL license terms.

                   Collaboration and cooperation regardless of ideology is essential, you just
                   seem incredibly ignorant of the fact that the free software movement would be
                   completely defunct if it weren't for the ability of closed and open source
                   developers to collaborate on the GNU/Linux platform.


                   Parent      Share
                       Re:Good example of why to avoid the GPL. (Score:2)
                       by epyT-R ( 613989 ) on Monday July 10, 2017 @01:37AM (#54776619)




                          Then perhaps free software developers should write their own kernel
                          with a license that disallows those "parasitic closed developers" from
                          deploying software on it.

                       If, as you say, they need closed developers, why should they do that?

                          But they won't because they need closed source software in fact the
                          GNU project would have been an utter failure if it weren't for the
                          preamble in the Linux kernel license that exempts software making
                          kernel syscalls from being infected with the GPL license terms.

                       I suspect the MODULE_LICENSE() macro acts as the barrier between
                       what they consider GPL kernel internals and 'boilerplate' code. GPL (and
                       GPL/MIT hybrid) licensed code gets full access while others do not. It's not
                       hard to write closed drivers for linux if you want to, but you'll be limited to
                       what you can touch. You need not worry about 'infection' from GPL code
                       just as the kernel devs don't need to worry about 'infections' from closed
                       blobs. Just remember that nonfree modules 'taint' the kernel, so if your
                       users have crashes, the devs will not support them nor accept bug reports.
                       Seems fair to me as you cannot expect them to support software they don't
                       have the source for.

                          you just seem incredibly ignorant of the fact that the free software
                          movement would be completely defunct if it weren't for the ability of
                          closed and open source developers to collaborate on the GNU/Linux
                          platform.

                       What are you babbling about? All three licenses allow such collaboration.
                       Obviously, the industry chose to involve itself with linux or, like you said, it
                       would not be where it is today.


                       Parent      Share
                          Re:Good example of why to avoid the GPL. (Score:0)
                           by Anonymous Coward on Monday July 10, 2017 @07:21PM (#54782019)




                                  Then perhaps free software developers should write their




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Bruce Perens Warns Grsecurity Breaches the Linux Kernel's GPL License - Slashdot
                                 Case 3:17-cv-04002-LB Document 32-2 Filed 10/31/17 Page 77 of 138
                                  own kernel with a license that disallows those "parasitic
                                  closed developers" from deploying software on it.

                              If, as you say, they need closed developers, why should they do
                              that?

                           Well if they don't want "parasitic closed developers" then kick them out,
                           but the fact is the Linux community are just as "parasitic" and are
                           dependent on closed source developers to remain viable, that
                           cooperation is important for both camps, you don't seem to understand
                           this. Collaboration is a good thing and thankfully Linus chose to include
                           overriding license preamble that allowed this rather than the GPLv2
                           which would have prevented this.

                              You need not worry about 'infection' from GPL code just as the
                              kernel devs don't need to worry about 'infections' from closed
                              blobs.

                           Right because the kernel is not GPLv2, if it were then
                           programs/modules that make syscalls would constitute a derived work
                           and would therefore be subject to the terms of the GPLv2, that is why
                           the license preamble is necessary.

                              What are you babbling about? All three licenses allow such
                              collaboration. Obviously, the industry chose to involve itself with
                              linux or, like you said, it would not be where it is today.

                           Wrong, that is the whole point of the license preamble. You have
                           actually read it right? You understand the difference between the kernel
                           license and the GPLv2 don't you? Because it appears you do not.


                           Parent     Share

                Re: Good example of why to avoid the GPL. (Score:2)

                by Zero__Kelvin ( 151819 ) on Sunday July 09, 2017 @06:04PM (#54775111) Homepage


                Likewise, laws against murder are the worst! Sure, they protect me, at least as
                much as any law can, but they don't allow me to murder whomever I want! This is
                why laws against murder are horrible and have to go!
                Parent      Share
                   Re: Good example of why to avoid the GPL. (Score:0)
                   by Anonymous Coward on Wednesday July 12, 2017 @02:33AM (#54791783)


                   Hi Sweden!


                   Parent      Share

                Re:Good example of why to avoid the GPL. (Score:-1)
                by Anonymous Coward on Sunday July 09, 2017 @02:33PM (#54774157)


                The GPL has absolutely nothing to do with "freedom" and is nothing but Orwellian
                doublespeak.

                "In order to be free must must do exactly as say, only as I say, and nothing else."

                Sorry, fuck you, that's not freedom. If the GPL was really about freedom then it
                would contain exactly one sentence.

                "You are free to do whatever you want with this software. "



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                Period. The end.

                And then there's hypocritical bullshit like this:

                   "In the public interest, I am willing to discuss this issue with companies and
                   their legal counsel, under NDA"

                How is doing things secretly under NDA "in the public interest"?


                Parent      Share
                   Re:Good example of why to avoid the GPL. (Score:5, Interesting)

                   by Dogtanian ( 588974 ) on Sunday July 09, 2017 @02:50PM (#54774217) Homepage


                   Clippy says, "It appears you're starting yet another GPL vs. BSD holy war
                   discussion. Would You Like Help?"

                   * Yes, please link to one of the approximately 17,000 near-identical discussions
                   of this nature we've already had on Slashdot over the years.

                   * No, I'd rather pointlessly go through the exact same longwinded to-ing and
                   fro-ing and restatements of the same old facts purely to indulge my personal
                   need, despite the fact I know the chances of any new insight coming out of the
                   billionth tedious discussion of this long-established subject is next to nothing,
                   despite the fact that those on both sides feel the need to repeat the same
                   entrenched positions- which mostly come down to personal philosophy and not
                   an incomplete understanding of the issues (which everyone knows full well by
                   now) and will therefore be unlikely to change in the face of the discussion (not
                   that this was the point anyway).

                   (Joking aside, I'm pretty sure the OP knows all this and is intentionally trolling;
                   I'm also pretty sure the replying AC above isn't, which IMHO makes it worse).
                   Parent      Share
                       Re:Good example of why to avoid the GPL. (Score:0)
                       by Anonymous Coward on Sunday July 09, 2017 @07:09PM (#54775343)


                       Humans can keep these arguments going for literally thousands of years, I
                       wouldn't expect to hear the end of it any time soon.


                       Parent      Share

                   Re:Good example of why to avoid the GPL. (Score:2)
                   by Eravnrekaree ( 467752 ) on Sunday July 09, 2017 @03:04PM (#54774287)


                   The GPL is reasonable, You want to use someone elses code you should give
                   back the improvements you make. I dont see anything wrong with that.


                   Parent      Share
                       Re: Good example of why to avoid the GPL. (Score:4, Informative)
                       by Entrope ( 68843 ) on Sunday July 09, 2017 @04:13PM (#54774647) Homepage


                       The GPL does not require any "giving back". It says that if you change the
                       software, and give the changed version to somebody else, you must give
                       them (a) the source code and (b) a GPL-compatible license for the
                       combined/modified software. You could call that obligatory giving forward,
                       but not obligatory giving back.




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Bruce Perens Warns Grsecurity Breaches the Linux Kernel's GPL License - Slashdot
                                 Case 3:17-cv-04002-LB Document 32-2 Filed 10/31/17 Page 79 of 138
                       Parent      Share
                          Re: Good example of why to avoid the GPL. (Score:1, Insightful)
                           by Gr8Apes ( 679165 ) on Sunday July 09, 2017 @06:59PM (#54775307)


                           I'd call it relinquishing control of your software. We don't touch GPL
                           source or libraries anywhere I have worked precisely because of this
                           show-stopping feature of GPL.
                           Parent     Share
                              Re: Good example of why to avoid the GPL. (Score:2)
                              by drinkypoo ( 153816 ) <martin.espinoza@gmail.com> on Sunday July 09,
                              2017 @11:21PM (#54776259) Homepage Journal




                                  I'd call it relinquishing control of your software.

                              That's exactly what it is. Some people find that letting go results in a
                              better deal. Some don't.


                              Parent      Share
                                  Re: Good example of why to avoid the GPL. (Score:0)

                                  by Anonymous Coward on Sunday July 09, 2017 @11:36PM (#54776297)


                                  >> I'd call it relinquishing control of your software.
                                  > That's exactly what it is.

                                  Not quite, because if you make a derivative work, it's not really
                                  "yours" under copyright law. GPL has nothing to do with this
                                  fact.


                                  Parent      Share
                                     Re: Good example of why to avoid the GPL. (Score:1)
                                      by Gr8Apes ( 679165 ) on Monday July 10, 2017 @01:11PM
                                      (#54779467)


                                      Is it a derivative work if you write 100K LOCs and 1 rarely
                                      used method in an odd library calls a GPL'd method?
                                      Parent     Share
                                         Re: Good example of why to avoid the GPL.
                                         (Score:0)
                                         by Anonymous Coward on Monday July 10, 2017 @01:25PM
                                         (#54779603)


                                         > Is it a derivative work if you write 100K LOCs and 1
                                         rarely used method in an odd library calls a GPL'd
                                         method?

                                         Irrelevant how much you write or how you interface,
                                         according to FSF - what matters is whether the
                                         combined code makes a "single program."


                                         Parent      Share
                                             Re: Good example of why to avoid the GPL.
                                             (Score:1)
                                             by Gr8Apes ( 679165 ) on Monday July 10, 2017 @03:20PM
                                             (#54780437)




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                                                > Is it a derivative work if you write 100K LOCs
                                                and 1 rarely used method in an odd library
                                                calls a GPL'd method?

                                                Irrelevant how much you write or how you
                                                interface, according to FSF - what matters is
                                                whether the combined code makes a "single
                                                program."

                                             Exactly, why risk someone *stealing* your code
                                             because you mistakenly or erroneously somehow
                                             linked to a single API call? Which is why we avoid
                                             GPL code like the plague it is. And yes, someone
                                             taking something from you because you linked to a
                                             library that links to a library that links to a library that
                                             calls a piece of GPL code is why you should always
                                             fully audit your entire library dependency tree and
                                             strictly control it. It's also why the maven repo
                                             system sucks more than a little bit, because it
                                             doesn't really help you with this situation much at all.
                                             Gradle is no better in this regard, btw.


                                             Parent      Share
                                             Re: Good example of why to avoid the GPL.
                                             (Score:0)
                                             by Anonymous Coward on Monday July 10, 2017 @07:33PM
                                             (#54782105)


                                             > Exactly, why risk someone *stealing* your code

                                             You can't steal what is freely given. GPL is about
                                             SHARING your code.

                                             Look, it's real simple-- if you don't intend to share
                                             your code, don't use someone else's GPL'd code in
                                             your project. Nobody is forcing you.


                                             Parent      Share
                                             Re: Good example of why to avoid the GPL.
                                             (Score:1)
                                             by Gr8Apes ( 679165 ) on Tuesday July 11, 2017 @03:41PM
                                             (#54788685)


                                             Ah, but the GPL can take from you if you're not
                                             careful. It's very wise to know exactly what the GPL
                                             costs you, because it can cost you.

                                             The entire point was that the GPL forces you to
                                             relinquish control of your work. It's implied that only
                                             happens if you use GPL'd code, which is why I
                                             normally don't touch anything with GPL on it.


                                             Parent      Share
                                             Re: Good example of why to avoid the GPL.
                                             (Score:2)
                                             by mfnickster ( 182520 ) on Tuesday July 11, 2017



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Bruce Perens Warns Grsecurity Breaches the Linux Kernel's GPL License - Slashdot
                                 Case 3:17-cv-04002-LB Document 32-2 Filed 10/31/17 Page 81 of 138
                                             @06:16PM (#54789649)



                                               The entire point was that the GPL forces you to
                                               relinquish control of your work. It's implied that
                                               only happens if you use GPL'd code, which is why
                                               I normally don't touch anything with GPL on it.

                                             No, it most certainly does not. You own your own
                                             work; you can use GPL or not, or dual- or triple-
                                             license it if you want.

                                             If you use someone else's code, COPYRIGHT LAW
                                             forces you to abide by the author's license, not GPL.


                                             Parent      Share
                                             Re: Good example of why to avoid the GPL.
                                             (Score:1)
                                             by Gr8Apes ( 679165 ) on Tuesday July 11, 2017 @10:11PM
                                             (#54790849)


                                             The GPL is nothing without copyright law.
                                             Parent      Share
                                             Re: Good example of why to avoid the GPL.
                                             (Score:0)
                                             by Anonymous Coward on Tuesday July 11, 2017 @10:21PM
                                             (#54790903)


                                             Not sure what that's supposed to mean, but GPL
                                             won't work without copyright law, no. But without
                                             copyright law, you wouldn't need a license to
                                             distribute other people's code, would you?


                                             Parent      Share
                                             Re: Good example of why to avoid the GPL.
                                             (Score:1)
                                             by Gr8Apes ( 679165 ) on Tuesday July 11, 2017 @11:11PM
                                             (#54791093)


                                             Without copyright law, I don't have to worry about
                                             being forced to distribute any additions I might do to
                                             such code either, because the code wouldn't be
                                             protected any more than MIT, BSD, or Apache, and
                                             actually less.
                                             Parent      Share
                                             Re: Good example of why to avoid the GPL.
                                             (Score:0)
                                             by Anonymous Coward on Tuesday July 11, 2017 @11:22PM
                                             (#54791141)


                                             You also wouldn't have to worry about keeping
                                             people from stealing your code, because there'd be
                                             nothing to stop them.


                                             Parent      Share
                                             Re: Good example of why to avoid the GPL.




https://linux.slashdot.org/story/17/07/09/188246/bruce-perens-warns-grsecurity-breaches-the-linux-kernels-gpl-license[9/9/2017 4:07:58 PM]
Bruce Perens Warns Grsecurity Breaches the Linux Kernel's GPL License - Slashdot
                                 Case 3:17-cv-04002-LB Document 32-2 Filed 10/31/17 Page 82 of 138
                                             (Score:0)
                                             by Anonymous Coward on Wednesday July 12, 2017
                                             @02:39AM (#54791801)


                                             You lay people are idiots when it comes to copyright
                                             law.

                                             It's called a "stand alone" work.

                                             (Which GRSecurity is not, but your example that
                                             links to 1 easily replaceable library would be (though
                                             you would have to show this in court, and the
                                             retention fee for the lawyer is where the costs come
                                             in))

                                             Consult a lawyer or read a book before arguing the
                                             law. May I suggest anything written by a nice bloke
                                             with the name of "Nimmer"???

                                             I really don't understand why White American Men
                                             who are Programmers don't understand that they
                                             don't know everything in all fields. European Men
                                             who are Programmers are not afflicted with this.


                                             Parent      Share
                                             Re: Good example of why to avoid the GPL.
                                             (Score:1)
                                             by Gr8Apes ( 679165 ) on Wednesday July 12, 2017
                                             @03:31PM (#54795689)


                                             Have you ever decompiled a sizable project and
                                             tried to do anything with it? I have.
                                             Parent      Share
                                             Re: Good example of why to avoid the GPL.
                                             (Score:0)
                                             by Anonymous Coward on Thursday July 20, 2017
                                             @08:09PM (#54849873)



                                               Have you ever decompiled a sizable project and
                                               tried to do anything with it? I have.

                                             Not a sizeable one, no.

                                             Was that binary your own work? Or are you blowing
                                             smoke about copyright and have no problem
                                             stealing others' work to benefit yourself?


                                             Parent      Share

                              Re: Good example of why to avoid the GPL. (Score:2)

                              by someone1234 ( 830754 ) on Monday July 10, 2017 @02:54AM (#54776763)


                              In other words, you expect stuff for free but you don't want to give
                              the same to others.


                              Parent      Share
                                  Re: Good example of why to avoid the GPL. (Score:1)



https://linux.slashdot.org/story/17/07/09/188246/bruce-perens-warns-grsecurity-breaches-the-linux-kernels-gpl-license[9/9/2017 4:07:58 PM]
Bruce Perens Warns Grsecurity Breaches the Linux Kernel's GPL License - Slashdot
                                 Case 3:17-cv-04002-LB Document 32-2 Filed 10/31/17 Page 83 of 138
                                  by Gr8Apes ( 679165 ) on Monday July 10, 2017 @09:59AM (#54777923)


                                  I've contributed back to several projects so that's untrue. Just
                                  not the core IP of my work. I have no issue contributing fixes, I
                                  do have issues with my core work being legally opened up to
                                  the world because I use 1 API call in a library under that
                                  wondrous entity known as the GPL v3, especially that one
                                  clause that can be added that slips my mind at the moment.
                                  Parent      Share
                                     Re: Good example of why to avoid the GPL. (Score:0)
                                      by Anonymous Coward on Monday July 10, 2017 @10:20PM
                                      (#54783017)


                                      Maybe that library's author didn't want you to be able to
                                      make that call without paying him or opening your code.

                                      Maybe if you have 100kloc you can write your own version
                                      of whatever else isn't already clearly part of the platform.


                                      Parent     Share
                                         Re: Good example of why to avoid the GPL.
                                         (Score:1)
                                         by Gr8Apes ( 679165 ) on Tuesday July 11, 2017 @03:38PM
                                         (#54788665)




                                             Maybe that library's author didn't want you to be
                                             able to make that call without paying him or
                                             opening your code.

                                         Maybe he did, but maybe someone a couple of
                                         dependencies up didn't, and also didn't properly legally
                                         vette their code.


                                         Parent      Share

                              Re: Good example of why to avoid the GPL. (Score:0)
                              by Anonymous Coward on Monday July 10, 2017 @03:08AM (#54776787)


                              Awesome - and now you're at a big competitive disadvantage. =) I
                              license all the free software I produce under GPL or AGPL, just to
                              fuck over stooges like you.


                              Parent      Share
                                  Re: Good example of why to avoid the GPL. (Score:1)

                                  by Gr8Apes ( 679165 ) on Monday July 10, 2017 @03:13PM (#54780405)


                                  And people like me will never see nor use your software, and be
                                  at a competitive advantage by writing only what we need, and
                                  not the kitchen sink approach you likely used.
                                  Parent      Share

                              Re: Good example of why to avoid the GPL. (Score:0)
                              by Anonymous Coward on Monday July 10, 2017 @02:19PM (#54780107)


                              It`s not "your" software, that's your first misunderstanding



https://linux.slashdot.org/story/17/07/09/188246/bruce-perens-warns-grsecurity-breaches-the-linux-kernels-gpl-license[9/9/2017 4:07:58 PM]
Bruce Perens Warns Grsecurity Breaches the Linux Kernel's GPL License - Slashdot
                                 Case 3:17-cv-04002-LB Document 32-2 Filed 10/31/17 Page 84 of 138

                              Parent      Share
                                  Re: Good example of why to avoid the GPL. (Score:1)
                                  by Gr8Apes ( 679165 ) on Monday July 10, 2017 @03:12PM (#54780401)


                                  What *I* write is absolutely *my* software. I like to keep it that
                                  way for certain things I write, so I avoid anything GPL'd.
                                  Parent      Share
                                     Re: Good example of why to avoid the GPL. (Score:2)
                                      by david_thornley ( 598059 ) on Tuesday July 11, 2017 @02:27PM
                                      (#54788073)


                                      That's a valid attitude. Lambasting the GPL for being
                                      something you don't want is less so. The GPL protects
                                      freedom, just not in a way that's useful to you and the way
                                      you operate.


                                      Parent     Share
                                         Re: Good example of why to avoid the GPL.
                                         (Score:1)
                                         by Gr8Apes ( 679165 ) on Tuesday July 11, 2017 @03:34PM
                                         (#54788627)




                                             That's a valid attitude. Lambasting the GPL for
                                             being something you don't want is less so. The
                                             GPL protects freedom, just not in a way that's
                                             useful to you and the way you operate.

                                         It doesn't protect "freedom" at all under any standard
                                         definition. It does a great job of restricting freedom,
                                         however.


                                         Parent      Share
                                             Re: Good example of why to avoid the GPL.
                                             (Score:2)
                                             by david_thornley ( 598059 ) on Wednesday July 12, 2017
                                             @11:22AM (#54793789)


                                             If you have some GPLed software, you may copy it
                                             as you please. You may make changes as you
                                             please. You can redistribute as you please. What
                                             you can't do is change the license, which makes it
                                             incompatible with certain business models.


                                             Parent      Share
                                             Re: Good example of why to avoid the GPL.
                                             (Score:0)
                                             by Anonymous Coward on Thursday July 13, 2017
                                             @06:28PM (#54804319)


                                             Apparently you also can't stop working for someone,
                                             either.


                                             Parent      Share




https://linux.slashdot.org/story/17/07/09/188246/bruce-perens-warns-grsecurity-breaches-the-linux-kernels-gpl-license[9/9/2017 4:07:58 PM]
Bruce Perens Warns Grsecurity Breaches the Linux Kernel's GPL License - Slashdot
                                 Case 3:17-cv-04002-LB Document 32-2 Filed 10/31/17 Page 85 of 138
                              Re: Good example of why to avoid the GPL. (Score:0)
                              by Anonymous Coward on Monday July 10, 2017 @08:01PM (#54782273)


                              Of course none of the people who make this comment ever
                              acknowledge for one minute that there wouldn't be any of "your
                              code" to be forced to release unless you started with someone
                              else's code in the first place. Yes, it is certainly your choice not to
                              use any GPL code, and write all your own under whatever license
                              you want. But it is silly to say that if you modify someone else's
                              code, the only consideration is "your code".


                              Parent      Share
                                  Re: Good example of why to avoid the GPL. (Score:1)

                                  by Gr8Apes ( 679165 ) on Tuesday July 11, 2017 @03:35PM (#54788637)


                                  Riddle me this, oh wise AC - why does the Linux kernel not use
                                  GPL v3?
                                  Parent      Share

                              Re: Good example of why to avoid the GPL. (Score:0)
                              by Anonymous Coward on Monday July 10, 2017 @09:09PM (#54782611)


                              Then you do not understand the licenses and impoverish your
                              employers due to your ignorance.


                              Parent      Share
                                  Re: Good example of why to avoid the GPL. (Score:1)

                                  by Gr8Apes ( 679165 ) on Tuesday July 11, 2017 @03:36PM (#54788645)


                                  I understand the licenses much better than you, apparently. I
                                  also understand my and my employers needs. So far there has
                                  only been 1 case where GPL software was acceptable.
                                  Parent      Share

                       Re:Good example of why to avoid the GPL. (Score:0)

                       by Anonymous Coward on Monday July 10, 2017 @06:04PM (#54781515)


                       BSD is better. Give if you want. Take if you want. Do whatever you want.


                       Parent      Share

                   Re:Good example of why to avoid the GPL. (Score:3)

                   by TechyImmigrant ( 175943 ) on Sunday July 09, 2017 @03:31PM (#54774445) Homepage
                   Journal




                       How is doing things secretly under NDA "in the public interest"?

                   It's the first question he would be asked. "Will do discuss this under NDA". So
                   he's getting that out of the way before they start.


                   Parent      Share
                       Re:Good example of why to avoid the GPL. (Score:5, Informative)
                       by Bruce Perens ( 3872 ) <bruce@perens.com> on Sunday July 09, 2017 @03:50PM
                       (#54774565) Homepage Journal




https://linux.slashdot.org/story/17/07/09/188246/bruce-perens-warns-grsecurity-breaches-the-linux-kernels-gpl-license[9/9/2017 4:07:58 PM]
Bruce Perens Warns Grsecurity Breaches the Linux Kernel's GPL License - Slashdot
                                 Case 3:17-cv-04002-LB Document 32-2 Filed 10/31/17 Page 86 of 138
                       Right. Nobody and their legal counsel want to talk about this without an
                       NDA. I am taking on some liability by accepting an NDA and still doing the
                       whole thing for free.
                       Parent      Share

                   Re:Good example of why to avoid the GPL. (Score:2)
                   by dissy ( 172727 ) on Sunday July 09, 2017 @04:45PM (#54774801)




                       If the GPL was really about freedom then it would contain exactly one
                       sentence.
                       "You are free to do whatever you want with this software. "

                   Wow, why do you hate freedom so much?

                   How am I "free" if I, as you claim, am forced to grant permission to others that
                   allows them to assume ownership of everything I make, and at the same time
                   deny me usage and possession of everything I make?

                   Sounds like forced slavery to me...


                   Parent      Share
                       Re:Good example of why to avoid the GPL. (Score:2, Interesting)

                       by Bruce Perens ( 3872 ) <bruce@perens.com> on Sunday July 09, 2017 @05:03PM
                       (#54774871) Homepage Journal


                       You understand the difference between "me libertarianism" and "us
                       libertarianism". Some of these folks are offended that they aren't allowed to
                       keep slaves.
                       Parent      Share
                          Re:Good example of why to avoid the GPL. (Score:2)

                           by Megol ( 3135005 ) on Sunday July 09, 2017 @06:06PM (#54775121)


                           I understand the GPL is "word libertarianism" a.k.a "just do as I say
                           libertarianism" a.k.a. not libertarianism at all. Many (not most) GPL
                           adherents see it as an inspired text with religious meaning and try to
                           redefine common terms. No you people don't get to change the
                           meaning of freedom and you don't get to define what people should
                           want.

                           The GPL have an important place among other software licenses. It
                           however do allow people to keep the metaphorical slaves as long as
                           they swear to uphold the holy GPL. Most other licenses accept that it
                           isn't about the holy idea but about allowing others to modify, study and
                           distribute creations with the question of (still metaphorical) slaves being
                           controlled by other, separate, rules.


                           Parent     Share
                              Re:Good example of why to avoid the GPL. (Score:4,
                              Informative)
                              by dissy ( 172727 ) on Sunday July 09, 2017 @07:38PM (#54775439)




                                  It however do allow people to keep the metaphorical slaves as
                                  long as they swear to uphold the holy GPL.

                              No one is forcing the GPL on anyone.



https://linux.slashdot.org/story/17/07/09/188246/bruce-perens-warns-grsecurity-breaches-the-linux-kernels-gpl-license[9/9/2017 4:07:58 PM]
Bruce Perens Warns Grsecurity Breaches the Linux Kernel's GPL License - Slashdot
                                 Case 3:17-cv-04002-LB Document 32-2 Filed 10/31/17 Page 87 of 138
                              Absolutely no one is forced to take GPL code and do anything with
                              it. Not a single person.

                              Slaves do not by definition have the choice to not be a slave.

                              If you don't want to "uphold the holy GPL" as you call it, you are
                              perfectly free to get code in any one of many other ways.
                              You can find code licensed in some other way.
                              You can learn to code and write your own.
                              You can pay someone to write it for you and give you copyright
                              ownership, after which you can license it in anyway you please,
                              including not licencing it at all.

                              You are the one redefining "freedom", "slaves", and "forced" here.


                              Parent      Share
                                  Re:Good example of why to avoid the GPL. (Score:2)
                                  by duke_cheetah2003 ( 862933 ) on Sunday July 09, 2017 @08:51PM
                                  (#54775733) Homepage




                                     You can learn to code and write your own.
                                     You can pay someone to write it for you and give you
                                     copyright ownership, after which you can license it in
                                     anyway you please, including not licencing it at all.

                                  Not so sure these are entirely viable in every situation. One can
                                  easily run afoul of patents when writing your own code.
                                  Additionally, if your code looks and/or acts like someone elses
                                  code, you can easily be accused of stealing it by entities
                                  protecting whatever it is you seemed to have re-invented.

                                  While programming and coding should be fairly free and loose
                                  with regards to the above concerns, it is not. Not in this reality.
                                  Tread carefully.


                                  Parent      Share
                                     Re:Good example of why to avoid the GPL. (Score:2)
                                      by duke_cheetah2003 ( 862933 ) on Sunday July 09, 2017 @08:55PM
                                      (#54775761) Homepage


                                      As an addendum to the above, I just wanted to point out, the
                                      above scenarios won't activate until you start making money
                                      with your work. You'll be absolutely amazed how much
                                      crazy will come out of the woodwork, then claim patents,
                                      theft and/or any other sort of misrepresentation in order to
                                      grab a slice of your pie.

                                      Again, tread carefully.


                                      Parent     Share
                                     Re:Good example of why to avoid the GPL. (Score:2)
                                      by dissy ( 172727 ) on Sunday July 09, 2017 @09:27PM (#54775879)


                                      I don't think I understand what you are meaning to say.

                                      Yes, those are valid concerns when writing your own code
                                      and hiring someone to write code for you...



https://linux.slashdot.org/story/17/07/09/188246/bruce-perens-warns-grsecurity-breaches-the-linux-kernels-gpl-license[9/9/2017 4:07:58 PM]
Bruce Perens Warns Grsecurity Breaches the Linux Kernel's GPL License - Slashdot
                                 Case 3:17-cv-04002-LB Document 32-2 Filed 10/31/17 Page 88 of 138
                                      But compared to the other options listed (using code under
                                      another license, and using GPL code while agreeing to the
                                      GPL), plus the option the parent poster said was preferable,
                                      namely using GPL code while violating copyright laws in
                                      doing so, I'm fairly certain all of those have the same patent
                                      risk just the same.

                                      Even purchasing a license to commercial closed code isn't
                                      free of those risks.
                                      Although if the commercial entity you purchase the code
                                      from is also the patent holder for the process it works by,
                                      your risk is greatly reduced at least so far as being sued for
                                      a patent violation.

                                      As for the problem of "being accused of a crime you didn't
                                      commit", at least in the US, this is a risk everyone is
                                      exposed to no matter what they do in life.
                                      Unfortunately that can happen if you stay in bed sleeping for
                                      23 hours a day, if you happen to piss off the wrong person
                                      in you one waking hour.

                                      As a warning to people, fair enough.
                                      I just don't see what any of those have to do with the "need"
                                      to violate copyright laws like the parent was saying is the
                                      best option regarding copyright licenses.


                                      Parent     Share

                                     Re:Good example of why to avoid the GPL. (Score:2)
                                      by david_thornley ( 598059 ) on Tuesday July 11, 2017 @02:38PM
                                      (#54788193)


                                      The GPL provides you with very restricted patent
                                      protections. Someone else with a patent can come along
                                      and screw you over.

                                      What the GPL does is give you an automatic license for the
                                      patents actually used that are actually held by upstream
                                      providers. There's no reason you can't negotiate your own
                                      patent licenses, just as there's no reason you can't write
                                      your own code.

                                      Most of the non-copyleft licenses I've looked at have no
                                      mention of patents, so you're in trouble with that.

                                      Again, if you don't want the benefits of the GPL, don't use
                                      GPLed code. You're whining that GPLed code has certain
                                      protections that shield you from some inconveniences you
                                      whine about.


                                      Parent     Share

                                  Re:Good example of why to avoid the GPL. (Score:2)
                                  by Megol ( 3135005 ) on Monday July 10, 2017 @08:27AM (#54777529)




                                         It however do allow people to keep the metaphorical
                                         slaves as long as they swear to uphold the holy GPL.

                                     No one is forcing the GPL on anyone.



https://linux.slashdot.org/story/17/07/09/188246/bruce-perens-warns-grsecurity-breaches-the-linux-kernels-gpl-license[9/9/2017 4:07:58 PM]
Bruce Perens Warns Grsecurity Breaches the Linux Kernel's GPL License - Slashdot
                                 Case 3:17-cv-04002-LB Document 32-2 Filed 10/31/17 Page 89 of 138
                                     Absolutely no one is forced to take GPL code and do
                                     anything with it. Not a single person.

                                     Slaves do not by definition have the choice to not be a
                                     slave.

                                     If you don't want to "uphold the holy GPL" as you call it,
                                     you are perfectly free to get code in any one of many other
                                     ways.
                                     You can find code licensed in some other way.
                                     You can learn to code and write your own.
                                     You can pay someone to write it for you and give you
                                     copyright ownership, after which you can license it in
                                     anyway you please, including not licencing it at all.

                                     You are the one redefining "freedom", "slaves", and
                                     "forced" here.

                                  I am? First of all I don't remember writing anything about
                                  someone forcing someone other, let's see... No, I didn't define
                                  nor use the word "forced". That's an indication that you maybe
                                  should re-read my post. I don't define slaves (just continued the
                                  _bad_ analogy used in the post I replied to) and I don't define
                                  free - as that definition is well known and can be looked up if
                                  needed. So no, I do not redefine anything.

                                  The GPL people like to pretend their idea of freedom under
                                  certain conditions (that actually reduces freedoms) is the "true"
                                  definition of Freedom. That's bogus. Real freedom is to be able
                                  to do what one want. GPL hinders some of those wants of
                                  certain people/organizations/corporations. That's fine by me, as
                                  I think the GPL is a good license for _some_ things but limits
                                  freedoms too much for most things. But I'll not let people
                                  pretend removing freedoms makes something more free - they
                                  could argue that those limitations on freedom is better (which I
                                  generally don't agree with (but see above)) but outright lying is
                                  bullshit.

                                  To answer your first paragraph last: I never claimed or hinted
                                  anyone is forced to use the GPL or even (if they choose to use
                                  the GPL) to follow the semi-religious ideas of the FSF. So why
                                  do you like to pretend I did? I didn't use the word forced/force at
                                  all nor anything that could be constructed as being forced to do
                                  something.


                                  Parent      Share
                                     Re:Good example of why to avoid the GPL. (Score:2)
                                      by dissy ( 172727 ) on Monday July 10, 2017 @10:20PM (#54783011)


                                      You are absolutely correct, you were not one of the people
                                      using the term "forced" nor redefining it.
                                      I apologize for my mistake.

                                      But you still keep referring to the GPL removing freedoms.
                                      You are aware that it is copyright law that removes your
                                      freedom to, as you say, to be able to do what one wants.

                                      The GPL, like most licenses, actually *counters* the
                                      removal of rights that copyright law forces on you.




https://linux.slashdot.org/story/17/07/09/188246/bruce-perens-warns-grsecurity-breaches-the-linux-kernels-gpl-license[9/9/2017 4:07:58 PM]
Bruce Perens Warns Grsecurity Breaches the Linux Kernel's GPL License - Slashdot
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                                      As you say, it may not grant you all the rights you wish to
                                      have, but not giving you something is quite different from
                                      taking something you do have away.
                                      Copyright law takes nearly everything away, and the license
                                      gives it back to you.


                                      Parent     Share

                              Re: Good example of why to avoid the GPL. (Score:0)
                              by Anonymous Coward on Monday July 10, 2017 @03:13AM (#54776799)


                              GPL is communism, not libertarianism. That's why it actually
                              benefits the world. Duhhhhhh.


                              Parent      Share
                                  Re: Good example of why to avoid the GPL. (Score:0)

                                  by Anonymous Coward on Wednesday July 12, 2017 @03:06AM
                                  (#54791891)


                                  Bingo. The GPL is the China of Software. It brings to the people
                                  of the world the software they would be paying thousands for
                                  otherwise. It is a collective agreement between software artists
                                  and engineers to create a better world that benefits all common
                                  people.


                                  Parent      Share

                       Re:Good example of why to avoid the GPL. (Score:0)
                       by Anonymous Coward on Sunday July 09, 2017 @09:57PM (#54775945)


                       Libertoon ... grok GPL ... because you took, now you must give! A just king
                       would also assert such a social structure. Contra ... if you never took then
                       you need never give. Of-course a strong productive man naturally gives
                       and rarely becomes weaker for it.


                       Parent      Share
                       Re:Good example of why to avoid the GPL. (Score:0)

                       by Anonymous Coward on Monday July 10, 2017 @12:13AM (#54776407)




                          How am I "free" if I, as you claim, am forced to grant permission to
                          others that allows them to assume ownership of everything I make,
                          and at the same time deny me usage and possession of everything I
                          make?

                          Sounds like forced slavery to me...

                       No. If you want to release truly free code then release it to the public
                       domain where nobody has ownership of it and nobody needs to be granted
                       permission to do anything with it.


                       Parent      Share
                          Re:Good example of why to avoid the GPL. (Score:0)

                           by Anonymous Coward on Monday July 10, 2017 @02:49AM (#54776757)


                           This is why some projects have a dual GPL / Commercial licence...



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Bruce Perens Warns Grsecurity Breaches the Linux Kernel's GPL License - Slashdot
                                 Case 3:17-cv-04002-LB Document 32-2 Filed 10/31/17 Page 91 of 138
                           Anyone is free to use it under the GPL terms, but if you want to embed
                           it in some proprietary software without giving anything back you will
                           need to pay for the commercial licence..

                           Is it so hard to understand that some developers don't want their code
                           to modified and locked down by some private company that will then
                           make money off it, without them giving anything back...


                           Parent     Share
                              Re:Good example of why to avoid the GPL. (Score:0)

                              by Anonymous Coward on Monday July 10, 2017 @03:06AM (#54776783)


                              Who cares what other people do with it? I dont doubt there are
                              people that are worried that other people might make money of free
                              software but thankfully, if you take a look at github, that attitude is
                              waning as more projects favour permissive licenses over restrictive
                              ones.

                              Not everything has to be open source/free software so there is huge
                              benefit in releasing bits of projects as open source to be
                              collaboratively improved and used in both free and non-free
                              software, just as free software has done pretty much since its
                              inception. In fact without non-free software the free software
                              movement would have gotten nowhere, GNU/Linux would barely
                              run on any hardware at all.


                              Parent      Share

                       Re:Good example of why to avoid the GPL. (Score:0)
                       by Anonymous Coward on Monday July 10, 2017 @08:06PM (#54782299)


                       OK, how about "You are free to use my land for picnics as long as you pick
                       up your trash, and don't camp overnight.".

                       Wah Wah Wah - They are forcing me to pick up trash on their land, and not
                       allowing homeless people a place to live! Wah Wah.


                       Parent      Share

                   Re:Good example of why to avoid the GPL. (Score:0)
                   by Anonymous Coward on Sunday July 09, 2017 @03:04PM (#54774289)




                       How is doing things secretly under NDA "in the public interest"?

                   Did you really ask this? Seriously. Did you?
                   Your opinion of GPL aside, are you remotely aware of law at all? Seriously. Are
                   you?


                   Parent      Share
                       Question mark abuse (Score:5, Funny)
                       by lucm ( 889690 ) on Sunday July 09, 2017 @03:20PM (#54774385)




                          Did you really ask this? Seriously. Did you?
                          Your opinion of GPL aside, are you remotely aware of law at all?
                          Seriously. Are you?



https://linux.slashdot.org/story/17/07/09/188246/bruce-perens-warns-grsecurity-breaches-the-linux-kernels-gpl-license[9/9/2017 4:07:58 PM]
Bruce Perens Warns Grsecurity Breaches the Linux Kernel's GPL License - Slashdot
                                 Case 3:17-cv-04002-LB Document 32-2 Filed 10/31/17 Page 92 of 138
                       I'd be curious to see if on your keyboard the "?" key is as worn down as the
                       space bar.


                       Parent      Share
                          Re: Question mark abuse (Score:1)
                           by that this is not und ( 1026860 ) * on Sunday July 09, 2017 @03:54PM
                           (#54774575)


                           They have trained their dog to bump the ? key with it's nose
                           periodically. The dogs nose is softer and wetter than a finger, meaning
                           there is less wear to the keycap.


                           Parent     Share
                              Re: Question mark abuse (Score:0)
                              by Anonymous Coward on Wednesday July 12, 2017 @03:33AM (#54791969)


                              An excellent solution to a pressing problem!


                              Parent      Share

                   Re: Good example of why to avoid the GPL. (Score:0)
                   by Anonymous Coward on Sunday July 09, 2017 @02:39PM (#54774179)


                   The original Linux kernel was released over 25 years ago. If copyrights had
                   their original terms, as many here would want, parts of the Linux kernel would
                   no longer be copyrighted, but actually in the public domain. That means the
                   GPL could not apply, due to the lack of copyright protection. The open source
                   community should stop being hypocrites and release GPL code into the public
                   domain after 20 years, as many of their users call for authors of other works to
                   do. Add a clause to the GPL indicating that anything licensed under the GPL
                   will enter the public domain after 20 years, and perhaps I won't complain about
                   the GPL being ridiculous onerous and asinine.


                   Parent      Share
                       Re: Good example of why to avoid the GPL. (Score:2)

                       by Bruce Perens ( 3872 ) <bruce@perens.com> on Sunday July 09, 2017 @04:09PM
                       (#54774633) Homepage Journal


                       The problem with using the Founder's Copyright is that Public Domain is
                       not more free for the aggregate of all people than the GPL would be. It's
                       just an invitation to integrate the public code into private works without
                       returning anything, while the GPL promotes that more code is shared.


                       Parent      Share
                          Re: Good example of why to avoid the GPL. (Score:1, Interesting)

                           by Gr8Apes ( 679165 ) on Sunday July 09, 2017 @06:54PM (#54775291)




                              The problem with using the Founder's Copyright is that Public
                              Domain is not more free for the aggregate of all people than the
                              GPL would be. It's just an invitation to integrate the public code
                              into private works without returning anything, while the GPL
                              promotes that more code is shared.

                           Well, that depends upon whether you want freedom or a set of rules. I



https://linux.slashdot.org/story/17/07/09/188246/bruce-perens-warns-grsecurity-breaches-the-linux-kernels-gpl-license[9/9/2017 4:07:58 PM]
Bruce Perens Warns Grsecurity Breaches the Linux Kernel's GPL License - Slashdot
                                 Case 3:17-cv-04002-LB Document 32-2 Filed 10/31/17 Page 93 of 138
                           respect your opinion on most things, but in this case you cannot make
                           the case that GPL is about freedom, because its not. It's about
                           controlling those who use it while giving them great latitude in one way,
                           but constraining them greatly in others. The closest thing to freedom
                           regarding copyright and code are licenses such as MIT, BSD, and the
                           Apache 2 licenses, and even those have clauses constraining use.
                           They're just a lot less restraining than the GPL (2 or 3).


                           Parent     Share
                              Re: Good example of why to avoid the GPL. (Score:3)
                              by cas2000 ( 148703 ) on Monday July 10, 2017 @08:18AM (#54777479)



                                 [...]but in this case you cannot make the case that GPL is about
                                 freedom, because its not. It's about controlling those who use
                                 it[...]

                              I'm so sick of seeing this bullshit.

                              The ONLY (alleged) "freedom" that the GPL restricts is the
                              "freedom" to fuck over downstream users and take away the rights
                              granted to them by the upstream authors and all contributors.

                              Only psychopaths, wannabe-psychopaths, and psychopath-
                              sympathisers think that that's a "freedom" worth supporting.


                              Parent      Share
                                  Re: Good example of why to avoid the GPL. (Score:1)

                                  by Gr8Apes ( 679165 ) on Monday July 10, 2017 @09:54AM (#54777897)




                                     I'm so sick of seeing this bullshit.

                                     The ONLY (alleged) "freedom" that the GPL restricts is the
                                     "freedom" to fuck over downstream users and take away
                                     the rights granted to them by the upstream authors and all
                                     contributors.

                                     Only psychopaths, wannabe-psychopaths, and
                                     psychopath-sympathisers think that that's a "freedom"
                                     worth supporting.

                                  Chip on your shoulder much? I cannot extend GPL code in any
                                  meaningful way and resell it and keep my IP private. I can
                                  extend it and use it internally, so a services based function is
                                  perfectly fine. But as soon as I want to sell a license to the code
                                  or supply an appliance, I must also legally give a copy of my
                                  source. So, the answer is to not extend GPL code in my IP and
                                  keep my IP mine.

                                  Should I hoist a bucket of water from the well, should I then give
                                  that water to everyone that wants some? After all, they all the
                                  ability to hoist (extend code) themselves, right?


                                  Parent      Share
                                     Re: Good example of why to avoid the GPL. (Score:0)
                                      by Anonymous Coward on Monday July 10, 2017 @10:31AM
                                      (#54778217)




https://linux.slashdot.org/story/17/07/09/188246/bruce-perens-warns-grsecurity-breaches-the-linux-kernels-gpl-license[9/9/2017 4:07:58 PM]
Bruce Perens Warns Grsecurity Breaches the Linux Kernel's GPL License - Slashdot
                                 Case 3:17-cv-04002-LB Document 32-2 Filed 10/31/17 Page 94 of 138
                                      > I cannot extend GPL code in any meaningful way and
                                      resell it and keep my IP private.

                                      Just another way of saying "fuck over downstream users
                                      and take away the rights granted to them by the upstream
                                      authors and all contributors."


                                      Parent     Share
                                         Re: Good example of why to avoid the GPL.
                                         (Score:1)
                                         by Gr8Apes ( 679165 ) on Monday July 10, 2017 @12:59PM
                                         (#54779367)




                                             > I cannot extend GPL code in any meaningful way
                                             and resell it and keep my IP private.

                                             Just another way of saying "fuck over downstream
                                             users and take away the rights granted to them by
                                             the upstream authors and all contributors."

                                         You'll note that avoid this, because I respect the legal
                                         aspects of the GPL:

                                            So, the answer is to not extend GPL code in my IP
                                            and keep my IP mine.


                                         Parent      Share

                                         Re: Good example of why to avoid the GPL.
                                         (Score:0)
                                         by Anonymous Coward on Monday July 10, 2017 @05:44PM
                                         (#54781389)




                                             Just another way of saying "fuck over downstream
                                             users and take away the rights granted to them by
                                             the upstream authors and all contributors."

                                         How does that fuck over anyone? If I take a copy of
                                         code and close it off, how does that erase all other
                                         copies of that code in the world? How does that
                                         magically make it so other users can't download the
                                         exact same code that I downloaded in the first place?

                                         You are a fucking moron and GPL is for lazy
                                         cocksuckers who want to begin a stub project, but
                                         expect everyone else to finish and perfect it.


                                         Parent      Share
                                             Re: Good example of why to avoid the GPL.
                                             (Score:0)
                                             by Anonymous Coward on Monday July 10, 2017 @07:30PM
                                             (#54782091)


                                             Because GPL covers derivative works, dipshit.

                                             The idea is to give everyone the benefit of not only




https://linux.slashdot.org/story/17/07/09/188246/bruce-perens-warns-grsecurity-breaches-the-linux-kernels-gpl-license[9/9/2017 4:07:58 PM]
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                                             the original work, but additional works built on that
                                             original work.

                                             Just because you disagree with that philosophy
                                             doesn't mean it's stupid or wrong or communist.

                                             Your problem is you think you have a right to use
                                             other people's code on your own terms. You don't.


                                             Parent      Share
                                             Re: Good example of why to avoid the GPL.
                                             (Score:0)
                                             by Anonymous Coward on Wednesday July 12, 2017
                                             @01:02AM (#54791543)


                                             Nah, the problem is that you're an entitled little shit
                                             who has no business around the open source
                                             scene.


                                             Parent      Share
                                             Re: Good example of why to avoid the GPL.
                                             (Score:0)
                                             by Anonymous Coward on Wednesday July 12, 2017
                                             @03:38AM (#54791993)


                                             "Just because you disagree with that philosophy
                                             doesn't mean it's stupid or wrong or communist."

                                             We have affordable material goods because of
                                             Chinese Communists. Before trade was opened
                                             wide with them nothing was affordable. Then it was
                                             like a switch was flipped.


                                             Parent      Share

                                     Re: Good example of why to avoid the GPL. (Score:2)

                                      by cas2000 ( 148703 ) on Monday July 10, 2017 @11:27AM
                                      (#54778665)


                                      > But as soon as I want to sell a license to the code or
                                      supply an appliance, I must also legally give a copy of my
                                      source.

                                      YES. THAT'S THE FUCKING POINT OF THE GPL.

                                      > So, the answer is to not extend GPL code in my IP and
                                      keep my IP mine.

                                      1. "IP" aka "Intellectual Property" is a meaningless bullshit
                                      propaganda term.

                                      2. Again, that's the fucking point of the GPL. If you're not
                                      willing to abide by the terms, you don't get to fucking benefit
                                      from the code.

                                      Write your own fucking code from scratch, or buy it, or do
                                      whatever the fuck you want that doesn't involve you
                                      parasitising other people's work, other people's contribution
                                      to the common good, for your own private fucking profit.



https://linux.slashdot.org/story/17/07/09/188246/bruce-perens-warns-grsecurity-breaches-the-linux-kernels-gpl-license[9/9/2017 4:07:58 PM]
Bruce Perens Warns Grsecurity Breaches the Linux Kernel's GPL License - Slashdot
                                 Case 3:17-cv-04002-LB Document 32-2 Filed 10/31/17 Page 96 of 138
                                      > Should I hoist a bucket of water from the well, should I
                                      then give that water to everyone that wants some? After all,
                                      they all the ability to hoist (extend code) themselves, right?

                                      right, you're just another libertarian psychopath. why am i
                                      not surprised.


                                      Parent     Share
                                         Re: Good example of why to avoid the GPL.
                                         (Score:1)
                                         by Gr8Apes ( 679165 ) on Monday July 10, 2017 @01:08PM
                                         (#54779447)




                                             > But as soon as I want to sell a license to the
                                             code or supply an appliance, I must also legally
                                             give a copy of my source.

                                             YES. THAT'S THE FUCKING POINT OF THE
                                             GPL.

                                         Translation: I don't have a leg to stand on but I'm really
                                         angry and you should just accept my assertion, because
                                         it's profane and CAPITALIZED!!!!

                                             > So, the answer is to not extend GPL code in my
                                             IP and keep my IP mine.

                                             1. "IP" aka "Intellectual Property" is a meaningless
                                             bullshit propaganda term.

                                         How about I keep my work mine and sell it based on my
                                         terms. Would that work for you, since you seem to have
                                         trouble with the semantics of the GPL and IP as it
                                         translates to work?

                                             2. Again, that's the fucking point of the GPL. If
                                             you're not willing to abide by the terms, you don't
                                             get to fucking benefit from the code.

                                         Translation: Here I fail again to understand your post,
                                         but I'm still angry, and profanity always adds extra
                                         weight to my points.

                                             Write your own fucking code from scratch, or buy
                                             it, or do whatever the fuck you want that doesn't
                                             involve you parasitising other people's work, other
                                             people's contribution to the common good, for your
                                             own private fucking profit.

                                         Once your frothing stage has subsided and you've
                                         actually comprehended what was written in the GP,
                                         you'll note that's exactly what I said, and that your
                                         apparent psychotic OCD need to vomit verbal diarrhea
                                         against anything perceived as negatively impacting the
                                         GPL only reiterates exactly what I posted.

                                             > Should I hoist a bucket of water from the well,
                                             should I then give that water to everyone that



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                                             wants some? After all, they all the ability to hoist
                                             (extend code) themselves, right?

                                             right, you're just another libertarian psychopath.
                                             why am i not surprised.

                                         The only one showing psychopathic tendencies is you.
                                         This analogy was merely to clarify that if I did the work, I
                                         shouldn't be forced to give it away. Now, should I
                                         choose to haul a second bucket and pass it around,
                                         great, and I very well might (and in reality I have).


                                         Parent      Share
                                             Re: Good example of why to avoid the GPL.
                                             (Score:2)
                                             by cas2000 ( 148703 ) on Monday July 10, 2017 @09:13PM
                                             (#54782635)


                                             you're a fucking moron who doesn't understand the
                                             GPL and whines about the fact that it does exactly
                                             what it intends to do.


                                             Parent      Share

                                         Re: Good example of why to avoid the GPL.
                                         (Score:0)
                                         by Anonymous Coward on Wednesday July 12, 2017 @03:42AM
                                         (#54791997)


                                         "Should I hoist a bucket of water from the well, should I
                                         then give that water to everyone that wants some?"

                                         You should collectively build a community water
                                         dispensation system known as a "Muni-ciple Wa-ter Wo-
                                         r-k-s" and make sure the little girls and their families
                                         from which you and your sons draw brides do not die of
                                         thirst.


                                         Parent      Share

                                  Re: Good example of why to avoid the GPL. (Score:0)

                                  by Anonymous Coward on Monday July 10, 2017 @01:50PM (#54779859)


                                  Cry moar.

                                  BSD doesn't restrict anything and software licensed under it
                                  remains available to all. The GPL is the whining bitch version of
                                  an open source license for people who don't get what open
                                  source is about.


                                  Parent      Share

                          Re: Good example of why to avoid the GPL. (Score:0)

                           by Anonymous Coward on Sunday July 09, 2017 @06:00PM (#54775087)


                           I don't see the problem. If you work with open source because you
                           expect other people to give something back, then you are in it for the
                           wrong (selfish) reasons.




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Bruce Perens Warns Grsecurity Breaches the Linux Kernel's GPL License - Slashdot
                                 Case 3:17-cv-04002-LB Document 32-2 Filed 10/31/17 Page 98 of 138
                           Parent     Share
                              Re: Good example of why to avoid the GPL. (Score:2)
                              by cas2000 ( 148703 ) on Monday July 10, 2017 @08:13AM (#54777461)


                              1. who the fuck are you to decide what are the "wrong" reasons?

                              2. I don't particularly care if users give something back or not. I do,
                              however, care a great deal about parasites trying to steal my code
                              into their proprietary shitware. THAT is why whatever I write is GPL,
                              and also why I almost never contribute to non-copyleft projects.

                              The GPL has one of the license features I care most about: ONCE
                              FREE, ALWAYS FREE.


                              Parent      Share
                                  Re: Good example of why to avoid the GPL. (Score:0)
                                  by Anonymous Coward on Monday July 10, 2017 @01:47PM (#54779833)


                                  1. I didn't decide it, the open source community decided it years
                                  before you were born, junior. If you don't like it, then don't
                                  release anything under an open source license. In addition I am
                                  infinitely more important than a petulant, entitled little kid like
                                  you.

                                  2. I don't particularly give a shit what you care about. Don't like
                                  it, then don't participate in the open source community. It's
                                  ridiculous that you fail to comprehend something so simple.

                                  The GPL isn't free, it's restrictive. The BSD license much better
                                  reflects the ethic, selflessness and purpose of open source.


                                  Parent      Share

                       Re: Good example of why to avoid the GPL. (Score:0)
                       by Anonymous Coward on Sunday July 09, 2017 @05:10PM (#54774903)


                       Original terms in which country? Finland, USA?

                       AFAIR the USA original term was 14 years, plus the ability to extend for 14,
                       but I could be wrong.


                       Parent      Share

                   Re:Good example of why to avoid the GPL. (Score:1)
                   by Anonymous Coward on Sunday July 09, 2017 @03:05PM (#54774295)


                   It's been said over and over - it's not about YOUR freedom, it's about the
                   continued freedom of THE CODE
                   If you're not willing to pay "the price" of the GPL stop whining and go use some
                   other code base with terms you can accept. But if you won't comply with the
                   GPL, nothing else gives you the right to redistribute GPL'd code or or derivative
                   works of it.


                   Parent      Share
                       Re:Good example of why to avoid the GPL. (Score:2)

                       by Megol ( 3135005 ) on Sunday July 09, 2017 @05:52PM (#54775063)




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                       Code have no freedom, nor rights. Information have no desires.


                       Parent      Share
                          Re:Good example of why to avoid the GPL. (Score:0)

                           by Anonymous Coward on Wednesday July 12, 2017 @03:45AM (#54792001)


                           "Code have no freedom, nor rights. Information have no desires." ....
                           "Only Purpose"

                           https://www.youtube.com/watch?... [youtube.com]


                           Parent     Share

                       Re:Good example of why to avoid the GPL. (Score:2)
                       by sexconker ( 1179573 ) on Monday July 10, 2017 @04:08AM (#54776909)


                       If you want the code to be free, then release it freely. Code under the GPL
                       is NOT free. It is encumbered.


                       Parent      Share
                          Re:Good example of why to avoid the GPL. (Score:2)
                           by david_thornley ( 598059 ) on Tuesday July 11, 2017 @02:29PM (#54788107)


                           If I release code under the GPL, anyone can use it for whatever
                           software they want to write.


                           Parent     Share
                              Re:Good example of why to avoid the GPL. (Score:2)
                              by sexconker ( 1179573 ) on Tuesday July 11, 2017 @03:32PM (#54788603)




                                  If I release code under the GPL, anyone can use it for
                                  whatever software they want to write.

                              Can they sell it? Can they bundle it? Can they do so without
                              providing the source to modifications they've made? Can they ... ?

                              The GPL is restrictive. You may like the ways it's restrictive, but not
                              everyone does. And just what are we talking about? v1? v2? v3?
                              Some modification of any of the above?


                              Parent      Share
                                  Re:Good example of why to avoid the GPL. (Score:0)
                                  by Anonymous Coward on Tuesday July 11, 2017 @05:27PM (#54789345)


                                  >> If I release code under the GPL, anyone can use it for
                                  whatever software they want to write.

                                  > Can they sell it?

                                  Yes.

                                  > Can they bundle it?

                                  Yes.



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                                  > Can they do so without providing the source to modifications
                                  they've made?

                                  No.

                                  > Can they ... ?

                                  . . . read the terms of the license?


                                  Parent      Share
                                  Re:Good example of why to avoid the GPL. (Score:2)
                                  by david_thornley ( 598059 ) on Wednesday July 12, 2017 @11:20AM
                                  (#54793757)



                                    Can they sell it? Can they bundle it?

                                  Sure. No problem.

                                    Can they do so without providing the source to modifications
                                    they've made?

                                  If they're bundling, sure. Otherwise, no.

                                    The GPL is restrictive. You may like the ways it's restrictive,
                                    but not everyone does

                                  Correct. However, it's a free license in that it allows anyone to
                                  distribute the software, with or without modification, under the
                                  terms of the license. You may not like the restrictions, but many
                                  people do. I don't think it's the best license for everything. For
                                  example, I'm just as happy that Microsoft was able to
                                  appropriate BSD-licensed networking code for Windows, which
                                  would not have happened if not for the less restrictive licensing.

                                    And just what are we talking about? v1? v2? v3? Some
                                    modification of any of the above?

                                  I've never seen GPLv1. Presumably I could find a copy if I liked,
                                  but I've never seen software with that as a license. There are,
                                  AFAIK, three versions of both v2 and v3: the standard license,
                                  the Library/Lesser license, and the Affero license (which applies
                                  to server-side software on the Web or similar environment). The
                                  answers, to the best of my knowledge, are the same with the
                                  Affero and standard licenses for both versions. For the LGPLs,
                                  if you use an LGPLed library, you are free to distribute as a DLL
                                  with source, with none of the software that calls it necessarily
                                  being GPLed in any form.


                                  Parent      Share
                                     Re:Good example of why to avoid the GPL. (Score:2)
                                      by sexconker ( 1179573 ) on Wednesday July 12, 2017 @04:06PM
                                      (#54795927)


                                      So you admit your response to my post was incorrect and
                                      completely pointless?

                                         If you want the code to be free, then release it freely.
                                         Code under the GPL is NOT free. It is encumbered.



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                                            If I release code under the GPL, anyone can use
                                            it for whatever software they want to write.

                                      Code under the GPL is not free. There are restrictions
                                      involved, and you have admitted this. If you release code
                                      under the GPL, people are NOT free to use it for whatever
                                      software they want to write. They are free to use it for
                                      software they want to write and release under certain
                                      restrictions. If someone wants to use GPL code directly in
                                      closed-source software, they cannot. There's a legal maze
                                      to navigate with any version of the GPL. It's a showstopper
                                      for many, despite your personal feelings on the matter.

                                      If you want your code to be used freely, then let it be used
                                      freely. Not some sort of politically-motivated, feel-good, anti-
                                      corporation, abusive definition of "freely".


                                      Parent     Share
                                         Re:Good example of why to avoid the GPL. (Score:0)

                                         by Anonymous Coward on Wednesday July 12, 2017 @04:49PM
                                         (#54796227)


                                         Do we have to have this stupid debate every time an
                                         article is posted related to the GPL?

                                         Everyone knows what the license does and what its
                                         purpose is. At least they should, but certain idiots insist
                                         on misrepresenting the actual terms of the license for
                                         propaganda purposes.

                                         For the record, GPL does not restrict distribution (the
                                         law does), is not "viral" and doesn't infect your code,
                                         and does not force you to do anything including publish
                                         your changes to GPL'd code.

                                         Mostly this argument is about people whining that GPL
                                         isn't as liberal as BSD/MIT/Apache etc. in the
                                         permissions it grants. Tough luck.


                                         Parent      Share
                                         Re:Good example of why to avoid the GPL. (Score:2)
                                         by david_thornley ( 598059 ) on Thursday July 13, 2017
                                         @12:33PM (#54801293)


                                         Ah, so we're back in the insult level of debate.

                                         You're wrong about "If you release code under the GPL,
                                         people are NOT free to use it for whatever software they
                                         want to write.", of course. Anybody can use GPLed code
                                         to write whatever they want. Your " If someone wants to
                                         use GPL code directly in closed-source software, they
                                         cannot." is correct, but I never said anything otherwise.
                                         Software itself is not Free or proprietary on its own,
                                         that's an attribute people assign to it with licensing.
                                         "There's a legal maze to navigate with any version of
                                         the GPL." is also false, since all versions of the GPL are
                                         reasonably clearly written and understandable. It's not a
                                         legal maze, unless you're looking for loopholes to abuse



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                                         the license, which you shouldn't be doing anyway. " It's
                                         a showstopper for many, despite your personal feelings
                                         on the matter." is partly true. Some people want to do
                                         things incompatible with the GPL, and that's their
                                         business, but any whining about how someone else
                                         didn't let them use the code for their own specific
                                         purposes is unbecoming. Some people just have inept
                                         and lazy lawyers, who'd rather advise their clients to do
                                         nothing rather than do a little work to understand the
                                         legal situation.


                                         Parent      Share

                       Re:Good example of why to avoid the GPL. (Score:0)
                       by Anonymous Coward on Monday July 10, 2017 @04:09AM (#54776913)


                       Let me know when inanimate code takessomeone to court. And how could
                       code have freedom like you imply, who are you to impose a license on it?
                       Parent      Share

                   Re:Good example of why to avoid the GPL. (Score:0)
                   by Anonymous Coward on Sunday July 09, 2017 @02:47PM (#54774203)


                   ""In order to be free must must do exactly as say, only as I say, and nothing
                   else."

                      -- L. Ron Hubbard


                   Parent      Share
                   Re:Good example of why to avoid the GPL. (Score:1)
                   by hord ( 5016115 ) <jhord@carbon.cc> on Sunday July 09, 2017 @10:25PM (#54776057)


                   My software is released under this license: "This software is information. It is
                   subject only to local laws of physics." Basically just obey the laws of physics.
                   Like a good lump of matter.
                   Parent      Share
                       Re:Good example of why to avoid the GPL. (Score:0)

                       by Anonymous Coward on Wednesday July 12, 2017 @03:48AM (#54792013)


                       Your code is all-rights-reserved since you didn't modify any of the standard
                       default copyright terms.


                       Parent      Share

                   Re: Good example of why to avoid the GPL. (Score:2)
                   by orlanz ( 882574 ) on Monday July 10, 2017 @06:27AM (#54777217)


                   You are a bloody idiot who can't parse sentences. Finish 3rd grade first please.


                   Parent      Share

                Re:Good example of why to avoid the GPL. (Score:1)
                by Rockoon ( 1252108 ) on Sunday July 09, 2017 @02:25PM (#54774121)


                I for one support the BSD license, and the BSD kernel.
                Parent      Share


https://linux.slashdot.org/story/17/07/09/188246/bruce-perens-warns-grsecurity-breaches-the-linux-kernels-gpl-license[9/9/2017 4:07:58 PM]
Bruce Perens Warns Grsecurity Breaches the Linux Kernel's GPL License - Slashdot
                                Case 3:17-cv-04002-LB Document 32-2 Filed 10/31/17 Page 103 of 138
                   Re:Good example of why to avoid the GPL. (Score:3)
                   by K. S. Kyosuke ( 729550 ) on Sunday July 09, 2017 @02:56PM (#54774253)


                   Good. Everyone who doesn't like Linux's license is perfectly free to support any
                   of the BSDs.
                   Parent      Share
                       CNN is FAKE NEWS (Score:-1)
                       by Anonymous Coward on Sunday July 09, 2017 @04:05PM (#54774611)


                       Death to CNN! Long live the new flesh!


                       Parent      Share
                          Re: CNN is FAKE NEWS (Score:0)

                           by Anonymous Coward on Sunday July 09, 2017 @10:28PM (#54776069)


                           Have you stopped fellating your neighbor's dog yet?


                           Parent     Share

                   Re:Good example of why to avoid the GPL. (Score:4, Informative)

                   by Bruce Perens ( 3872 ) <bruce@perens.com> on Sunday July 09, 2017 @03:48PM
                   (#54774557) Homepage Journal


                   That's your right. Of course, this matters more if you've actually released
                   anything under it.

                   I should tell you, though, I have had more than one person who used gift-style
                   licenses come crying to me about how badly they were abused. Some decide
                   the GPL is a better idea too late...


                   Parent      Share
                       Re:Good example of why to avoid the GPL. (Score:0)

                       by Anonymous Coward on Sunday July 09, 2017 @04:17PM (#54774667)


                       Citations would be really helpful... Otherwise it's a bit worthless, whatever
                       your name is :-)


                       Parent      Share
                          Re:Good example of why to avoid the GPL. (Score:2, Informative)
                           by Bruce Perens ( 3872 ) <bruce@perens.com> on Sunday July 09, 2017
                           @05:00PM (#54774861) Homepage Journal


                           Creator of the Open Source AMBE codec. He doesn't want his name
                           known because he doesn't want to be sued by DVSI.
                           Parent     Share
                              Re:Good example of why to avoid the GPL. (Score:0)
                              by Anonymous Coward on Monday July 10, 2017 @04:05AM (#54776899)


                              Tell him to stop bitching.
                              Parent      Share
                              Re:Good example of why to avoid the GPL. (Score:0)
                              by Anonymous Coward on Monday July 10, 2017 @04:06AM (#54776905)




https://linux.slashdot.org/story/17/07/09/188246/bruce-perens-warns-grsecurity-breaches-the-linux-kernels-gpl-license[9/9/2017 4:07:58 PM]
Bruce Perens Warns Grsecurity Breaches the Linux Kernel's GPL License - Slashdot
                                 Case 3:17-cv-04002-LB Document 32-2 Filed 10/31/17 Page 104 of 138
                               But his name if next to yours on the Wikipedia page....and even in
                               your Blog from March 2010.

                               I respect you not wanting to call out names to protect a point you're
                               trying to make, but a better excuse next time might be in order. ;-)


                               Parent     Share

                          Re: Good example of why to avoid the GPL. (Score:0)
                           by Anonymous Coward on Monday July 10, 2017 @09:51AM (#54777877)


                           WINE comes to mind.


                           Parent      Share

                       Re:Good example of why to avoid the GPL. (Score:0)
                       by Anonymous Coward on Sunday July 09, 2017 @11:52PM (#54776353)


                       The growth in use of permissive licenses (particularly if you look at github)
                       over restrictive ones is a demonstration of pragmatism and the idea that not
                       everything must be free and we can have non-free and free components
                       working together and cooperating rather than focussing on a pure free
                       software ideology.

                       Even the most prominent FSF project, GNU, has made sacrifices of
                       freedom in service of being pragmatic: Specifically the endorsement of the
                       Linux kernel despite the lack of copyright assignment, the elimination of the
                       'or later versions' clause and the preamble permitting syscalls from GPL-
                       incompatible software.

                       Many businesses spend millions or even billions on R&D so often do not
                       want the results of that to be just a charity offering (particularly to their
                       competitors) and the complexity of the legal system and interpretations of
                       the license mean it is much easier to use permissive licenses to be able to
                       make contributions to the open source community than having to consider
                       the ways in which the GPL might be interpreted in the context of how code
                       is integrated. It's easy to provide your own black-and-white definition of
                       what you think it means but we all know the legal system is shades of gray.


                       Parent        Share
                          Re:Good example of why to avoid the GPL. (Score:4, Interesting)
                           by TheRaven64 ( 641858 ) on Monday July 10, 2017 @05:19AM (#54777063)
                           Journal




                               The growth in use of permissive licenses (particularly if you look at
                               github) over restrictive ones is a demonstration of pragmatism and
                               the idea that not everything must be free and we can have non-
                               free and free components working together and cooperating rather
                               than focussing on a pure free software ideology.

                           I wouldn't necessarily even go that far. I am entirely in favour of a world
                           in which all software comes with the FSF's four freedoms. The reason I
                           release code under FreeBSD / MIT licenses is that this seems like a
                           path that has an actual transition plan. If there's a BSDL project
                           available that does 90% of what you need, then you can adopt it and
                           add the remaining 10% without needing to change your business
                           model. Most of the time, it's then cheaper to release the code. If it
                           doesn't give you a competitive advantage, then upstreaming your



https://linux.slashdot.org/story/17/07/09/188246/bruce-perens-warns-grsecurity-breaches-the-linux-kernels-gpl-license[9/9/2017 4:07:58 PM]
Bruce Perens Warns Grsecurity Breaches the Linux Kernel's GPL License - Slashdot
                                Case 3:17-cv-04002-LB Document 32-2 Filed 10/31/17 Page 105 of 138
                           changes means that your maintenance costs go down (and, often,
                           other people will fix your bugs, in exchange for being able to use your
                           new features).

                           If there's only a GPL'd project available, then I've worked with a lot of
                           companies that aren't 100% sure that they will never want to do
                           anything that the GPL prohibits and so will instead write a proprietary
                           version (if you're lucky, you can persuade them to write a permissively
                           licensed version). The GPL'd project doesn't ever enter the company
                           (particularly with GPLv3, where anyone who owns patents gets very
                           nervous) and so they never see the benefits of Free Software. It doesn't
                           provide them with a transition path.

                           This transition path is particularly important because around 90% of all
                           software developers are employed by companies that are not primarily
                           computer companies. They are developing software for in-house use
                           and so implicitly have all of the four freedoms (because they own the
                           copyright), but don't contribute anything to the wider ecosystem (other
                           than money to Microsoft, Oracle, SAP, and so on). Getting them to start
                           using, contributing to, and then preferring open source solutions can
                           unlock a lot of developer resources.


                           Parent     Share
                              Re:Good example of why to avoid the GPL. (Score:3)

                              by cas2000 ( 148703 ) on Monday July 10, 2017 @08:04AM (#54777445)



                                 If there's only a GPL'd project available, then I've worked with a
                                 lot of companies that aren't 100% sure that they will never want to
                                 do anything that the GPL prohibits and so will instead write a
                                 proprietary version

                              Good. The GPL is working as designed.

                              You do realise that that's a feature, not a bug, don't you? It's an
                              anti-leeching provision. They should not be benefiting from the work
                              of GPL developers if they're unwilling to abide by the terms.

                              In that case. they should be writing their own or paying for a
                              proprietary product. Exactly the same as if they don't want to pay
                              the license fee and/or royalties for a commercial product, they have
                              to write their own or get what they need from someone else (incl. of
                              course, GPL software).

                                 This transition path is particularly important because around 90%
                                 of all software developers are employed by companies that are
                                 not primarily computer companies. They are developing software
                                 for in-house use and so implicitly have all of the four freedoms
                                 (because they own the copyright)

                              these companies are exactly the ones who benefit most from
                              copyleft software. They're not making money from the software, so
                              there's no financial incentive to avoid copyleft. In fact, there's a
                              huge incentive to use copyleft code because they can co-operate in
                              improving the code and gain the benefit of sharing the dev workload
                              with similar companies and enthusiastic individuals.

                              copyleft is better for their needs because they don't have to worry
                              about free-loaders or anyone else taking their contributions and
                              embedding them in proprietary/commercial software.



https://linux.slashdot.org/story/17/07/09/188246/bruce-perens-warns-grsecurity-breaches-the-linux-kernels-gpl-license[9/9/2017 4:07:58 PM]
Bruce Perens Warns Grsecurity Breaches the Linux Kernel's GPL License - Slashdot
                                Case 3:17-cv-04002-LB Document 32-2 Filed 10/31/17 Page 106 of 138
                              And many/most of them don't distribute even binaries of their code
                              (and certainly not binaries of any proprietary business-logic or other
                              code), it's all in-house use, so they don't even have to distribute
                              their changes if they don't want to.

                              BSD-style licenses are only good for two kinds of developers:

                              1. Gigantic software & hardware corporations who want to profit
                              from open code without incurring any obligation to contribute back
                              (i.e. parasites who sometimes manage a decent emulation of a
                              symbiote). This is where the huge push towards non-copyleft
                              licensing is coming from.

                              It's even better than exploiting interns, and the unpaid programmers
                              provide their own desks and computers.

                              2. Developers who really don't give a fuck about what is done with
                              their code when they release it (a much smaller group than you
                              appear to imagine).

                              Everyone else is better off with copyleft.


                              Parent      Share
                                  Re:Good example of why to avoid the GPL. (Score:0)

                                  by Anonymous Coward on Monday July 10, 2017 @06:55PM (#54781859)




                                     2. Developers who really don't give a fuck about what is
                                     done with their code when they release it (a much smaller
                                     group than you appear to imagine).

                                  And that itself is a much bigger group than copyleft advocates.
                                  Even Linux, the darling of the open source world, is not driven
                                  by free software ideals. Sure it may be a modified GPLv2 (with
                                  a preamble to override the free software nonsense that would
                                  otherwise prohibit non-free software and code from using it) but
                                  it certainly isn't Affero GPL or GPLv3 and its leader sees
                                  Tivoization as a *good* thing and that moving to a more
                                  restrictive license (GPLv3 or AGPL) would be a *bad* thing.

                                  The best thing about copyleft is how it is adapted to be used by
                                  the kernel, it largely prevents the rampant NIH syndrome in the
                                  FOSS community from creating a fragmented mess like we see
                                  with Linux distributions in general.


                                  Parent      Share

                       Good example of why to avoid Tivo. (Score:0)
                       by Anonymous Coward on Sunday July 09, 2017 @04:23PM (#54774693)


                       Open source can be abused as well that's why you all had to come up with
                       a GPLv-(everyone loves us)-3.0.


                       Parent      Share
                          Re:Good example of why to avoid Tivo. (Score:0)
                           by Anonymous Coward on Wednesday July 12, 2017 @02:26AM (#54791767)




https://linux.slashdot.org/story/17/07/09/188246/bruce-perens-warns-grsecurity-breaches-the-linux-kernels-gpl-license[9/9/2017 4:07:58 PM]
Bruce Perens Warns Grsecurity Breaches the Linux Kernel's GPL License - Slashdot
                                Case 3:17-cv-04002-LB Document 32-2 Filed 10/31/17 Page 107 of 138
                           GPL v3 was needed because v2 lacks a no-revocation clause...

                           (Copyright is alienable in the same way property is. Licenses are
                           revokable at will by the grantor (barring estopple))


                           Parent     Share

                   Re: Good example of why to avoid the GPL. (Score:0)
                   by Anonymous Coward on Sunday July 09, 2017 @06:49PM (#54775275)


                   Ok, like 3 people use BSD for security roles.


                   Parent      Share

                Re:Good example of why to avoid the GPL. (Score:0)

                by Anonymous Coward on Sunday July 09, 2017 @02:28PM (#54774133)


                "Linux is worse than cancer"

                   -- Steve Ballmer


                Parent      Share
                   Re:Good example of why to avoid the GPL. (Score:0)

                   by Anonymous Coward on Sunday July 09, 2017 @02:36PM (#54774171)


                   "Lick my rectum"

                      -- Richard Simmons


                   Parent      Share
                       Re:Good example of why to avoid the GPL. (Score:2)
                       by Stormwatch ( 703920 ) <rodrigogiraoNO@SPAMhotmail.com> on Sunday July 09,
                       2017 @02:58PM (#54774259) Homepage


                       "Most quotes on the internet are made up."
                           - Albert Einstein


                       Parent      Share
                          Re:Good example of why to avoid the GPL. (Score:5, Funny)
                           by 93 Escort Wagon ( 326346 ) on Sunday July 09, 2017 @03:05PM (#54774299)




                              "Most quotes on the internet are made up."

                                    - Albert Einstein

                           Yeah, right there you've demonstrated the "internet problem" in a nut
                           shell... taking an Abraham Lincoln quote and then mis-attributing it to
                           Albert Einstein.


                           Parent     Share
                              Re:Good example of why to avoid the GPL. (Score:5, Funny)
                              by lucm ( 889690 ) on Sunday July 09, 2017 @03:15PM (#54774347)


                              "The definition of insanity is misquoting the same thing over and



https://linux.slashdot.org/story/17/07/09/188246/bruce-perens-warns-grsecurity-breaches-the-linux-kernels-gpl-license[9/9/2017 4:07:58 PM]
Bruce Perens Warns Grsecurity Breaches the Linux Kernel's GPL License - Slashdot
                                Case 3:17-cv-04002-LB Document 32-2 Filed 10/31/17 Page 108 of 138
                              over and expecting different attributions."
                              - President Benjamin Franklin


                              Parent      Share
                                  Re:Good example of why to avoid the GPL. (Score:0)

                                  by Anonymous Coward on Sunday July 09, 2017 @04:03PM (#54774601)


                                  I think it was eminent physicist Sergei Eisenstein that said that.


                                  Parent      Share
                                  Re:Good example of why to avoid the GPL. (Score:0)

                                  by Anonymous Coward on Sunday July 09, 2017 @04:48PM (#54774813)


                                  https://cdn.someecards.com/someecards/usercards/1349461349639_258855.png

                                     If insanity is doing the same thing over and over again and
                                     expecting different results. Then I guess I'll stop cleaning
                                     the house.


                                  Parent      Share
                                     Re:Good example of why to avoid the GPL. (Score:0)
                                      by Anonymous Coward on Sunday July 09, 2017 @07:05PM
                                      (#54775333)


                                      Anybody who cleans their house and expects it to never get
                                      dirty again is simply a retard. It's not the act of doing the
                                      same thing over and over again that makes someone crazy,
                                      it's the expectation that the outcome will change.

                                      Talk about not getting the point. An idiot must have created
                                      that image.


                                      Parent     Share

                                  Re:Good example of why to avoid the GPL. (Score:0)

                                  by Anonymous Coward on Monday July 10, 2017 @03:25AM (#54776823)


                                  Pfff, everybody knows this is from Justin Bieber. Who's this
                                  Frankling guy, anyway?


                                  Parent      Share

                              Re:Good example of why to avoid the GPL. (Score:0)
                              by Anonymous Coward on Sunday July 09, 2017 @03:16PM (#54774353)


                              FAKE NEWS!


                              Parent      Share

                          Re:Good example of why to avoid the GPL. (Score:2)
                           by Scarletdown ( 886459 ) on Sunday July 09, 2017 @03:13PM (#54774335) Journal


                           "When the Internet is invented, I think it would be really cool if people
                           misquoted me on it."

                              -- Abraham Lincoln



https://linux.slashdot.org/story/17/07/09/188246/bruce-perens-warns-grsecurity-breaches-the-linux-kernels-gpl-license[9/9/2017 4:07:58 PM]
Bruce Perens Warns Grsecurity Breaches the Linux Kernel's GPL License - Slashdot
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                           Parent      Share
                              Re:Good example of why to avoid the GPL. (Score:0)
                              by Anonymous Coward on Sunday July 09, 2017 @03:31PM (#54774435)


                              I am become death, destroyer of BSD sphincters.

                                -- Bhagavad Torvalds


                              Parent      Share
                                  Re:Good example of why to avoid the GPL. (Score:2)

                                  by Scarletdown ( 886459 ) on Monday July 10, 2017 @06:40PM
                                  (#54781779) Journal


                                  "Pull my finger!"

                                  -- The idiot sitting in the control center next to the guy who
                                  pushed the button to do the Trinity test.


                                  Parent      Share

                       Re:Good example of why to avoid the GPL. (Score:0)
                       by Anonymous Coward on Sunday July 09, 2017 @03:36PM (#54774469)


                       "Lick, lick, lick my balls"

                        -- Rick Sanchez


                       Parent      Share

                   Re:Good example of why to avoid the GPL. (Score:0)
                   by Anonymous Coward on Sunday July 09, 2017 @07:26PM (#54775393)


                   Bruce Perens played Mr. Lippman on Seinfeld [kramersapartment.com]


                   Parent      Share
                       Re:Good example of why to avoid the GPL. (Score:0)
                       by Anonymous Coward on Sunday July 09, 2017 @10:23PM (#54776041)


                       It's true, I verified it. Mod parent up.


                       Parent      Share

                   Re: Good example of why to avoid the GPL. (Score:0)
                   by Anonymous Coward on Sunday July 09, 2017 @10:33PM (#54776091)


                   "Linux sucks my cock"

                   --Hillary Clinton


                   Parent      Share

                Re: Good example of why to avoid the GPL. (Score:0)
                by Anonymous Coward on Sunday July 09, 2017 @02:33PM (#54774159)




https://linux.slashdot.org/story/17/07/09/188246/bruce-perens-warns-grsecurity-breaches-the-linux-kernels-gpl-license[9/9/2017 4:07:58 PM]
Bruce Perens Warns Grsecurity Breaches the Linux Kernel's GPL License - Slashdot
                                Case 3:17-cv-04002-LB Document 32-2 Filed 10/31/17 Page 110 of 138
                Yup, Microsoft gets bashed for their EULAs while the open source EULA, the GPL,
                is even more onerous and restrictive. I hope the viral provision is tested in court
                and ruled to be illegal. It's freedom as in you're free to do exactly what we tell you
                to do but nothing else. Freedom my ass.


                Parent      Share
                   Re: Good example of why to avoid the GPL. (Score:4, Insightful)
                   by viperidaenz ( 2515578 ) on Sunday July 09, 2017 @03:00PM (#54774273)


                   How? You're completely forbidden to make derivative works of Microsoft
                   Windows. You're also forbidden to distribute it in any way.


                   Parent      Share
                       Re: Good example of why to avoid the GPL. (Score:0)
                       by Anonymous Coward on Sunday July 09, 2017 @05:37PM (#54774987)


                       Do not feed the trolls.


                       Parent      Share
                       Re: Good example of why to avoid the GPL. (Score:0)
                       by Anonymous Coward on Monday July 10, 2017 @10:53AM (#54778377)


                       That's just good internet citizenry though - there's already far too much
                       Windows in the world already.


                       Parent      Share

                   Re: Good example of why to avoid the GPL. (Score:0)
                   by Anonymous Coward on Sunday July 09, 2017 @03:17PM (#54774359)


                   I fail to understand the rules of logic in this alternate reality of yours.


                   Parent      Share

                Re:Good example of why to avoid the GPL. (Score:0, Insightful)

                by Anonymous Coward on Sunday July 09, 2017 @02:31PM (#54774149)


                Indeed, only real freedom gives me the right to take away somebody else's rights.


                Parent      Share
                   Re:Good example of why to avoid the GPL. (Score:0)

                   by Anonymous Coward on Sunday July 09, 2017 @11:54PM (#54776357)


                   "take away" in the same idiotic brain-dead sense of the RIAA/MPAA's
                   "copyright violation is theft" argument.
                   Parent      Share

                Re: Good example of why to avoid the GPL. (Score:0)
                by Anonymous Coward on Sunday July 09, 2017 @03:11PM (#54774325)


                Free as in beer?


                Parent      Share




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Bruce Perens Warns Grsecurity Breaches the Linux Kernel's GPL License - Slashdot
                                Case 3:17-cv-04002-LB Document 32-2 Filed 10/31/17 Page 111 of 138
                Re:Good example of why to avoid the GPL. (Score:0)
                by Anonymous Coward on Sunday July 09, 2017 @03:39PM (#54774487)


                Indeed, if you plan on reaping the benefits of open source while preventing others
                from doing the same, then you should avoid GPL at all costs.

                Of course, that means you shouldn't start a business centered around GPLed
                software.

                However there was no risk here. It's insanely easy to see that what they wanted to
                do was against the GPL and from that point they should have dropped the entire
                thing and went on to do something else.


                Parent      Share
                Re: Good example of why to avoid the GPL. (Score:0)
                by Anonymous Coward on Monday July 10, 2017 @02:28AM (#54776711)


                Cuck, all I'm saying. Don't like it? Use OpenSolaris. Enjoy that CDDL and no
                market.


                Parent      Share
                   Re: Good example of why to avoid the GPL. (Score:0)

                   by Anonymous Coward on Tuesday July 11, 2017 @02:17AM (#54783903)


                   The gpl has nothing to do with the success of Linux. It was only successful
                   because bsd had a questionable legal battle with at&t, otherwise nobody would
                   have given a shit about Linux and the gpl would be dead


                   Parent      Share
                       Re: Good example of why to avoid the GPL. (Score:0)
                       by Anonymous Coward on Tuesday July 11, 2017 @09:21AM (#54785345)


                       I have to disagree. AT&T settled with Berkeley Systems in January 1994,
                       two months before Linux 1.0 was released. The vast majority of Linux
                       adoption came after BSD was freed.

                       No, I think Linux succeeded because it was easier (read: more flexible) to
                       install and the community was there to support each other. Plus a lot of
                       drivers got written in that time period.


                       Parent      Share

                Re:Good example of why to avoid the GPL. (Score:0)
                by Anonymous Coward on Tuesday July 11, 2017 @12:36AM (#54783659)


                The freedom to sell the works of others for personal gain is not a freedom worth
                protecting, in my eyes. The profit motive corrupts everything it touches. The GPL
                actively prevents that, and grants freedoms to the USER, not the developer.

                If you care more about developer freedoms (specifically to pull a bait-n-switch as
                grsec and others have), then you deserve the dumpster fire that results from such
                behavior.


                Parent      Share
                   Re:Good example of why to avoid the GPL. (Score:0)




https://linux.slashdot.org/story/17/07/09/188246/bruce-perens-warns-grsecurity-breaches-the-linux-kernels-gpl-license[9/9/2017 4:07:58 PM]
Bruce Perens Warns Grsecurity Breaches the Linux Kernel's GPL License - Slashdot
                                Case 3:17-cv-04002-LB Document 32-2 Filed 10/31/17 Page 112 of 138
                   by Anonymous Coward on Tuesday July 11, 2017 @01:39AM (#54783829)



                      The freedom to sell the works of others for personal gain is not a freedom
                      worth protecting ...
                      The GPL actively prevents that

                   How so? The GPL deliberately and explicitly allows you to sell any GPL'd work
                   for personal gain.


                   Parent      Share

                Re:Good example of why to avoid the GPL. (Score:0)
                by Anonymous Coward on Wednesday July 12, 2017 @02:24AM (#54791763)


                Write your own kernel if you don't like it.

                You don't even use linux anymore..


                Parent      Share

            The GPL is asinine (Score:0)

            by Anonymous Coward on Sunday July 09, 2017 @02:31PM (#54774145)


            It's one thing to require that modifications to source code remain open source. I think
            it's onerous, but at least it's not infecting anything it links to. However, the GPL require
            that any derivative works that make use of any GPL code be released under the GPL if
            they're distributed at all. This means that merely linking your own original code with
            GPL code (that remains open source) and distributing it requires that you also release
            your own original code under the GPL. This is an asinine restriction on freedom, and
            precisely why the GPL is evil. If you actually care about freedom, require that the
            original code and direct modifications to it remain open source, but let linked code be
            released under any license. That's a completely reasonable compromise, but the
            asinine GPL doesn't allow for it.


            Share
                Re:The GPL is asinine (Score:2)
                by Eravnrekaree ( 467752 ) on Sunday July 09, 2017 @02:53PM (#54774227)


                I completely disagree. Situations like Grsecurity make me glad it is written the way
                it is.


                Parent      Share
                   Re: The GPL is asinine (Score:0)
                   by Anonymous Coward on Sunday July 09, 2017 @03:02PM (#54774279)


                   Why, so you can take other people's hard work like Grsecurity and force them
                   to release their code publicly, just because it happens to link to GPL code?
                   That's not freedom, but finding a sneaky way to steal other people's code.
                   Freedom my ass.


                   Parent      Share
                       Re: The GPL is asinine (Score:2)

                       by 110010001000 ( 697113 ) on Sunday July 09, 2017 @03:07PM (#54774303)
                       Homepage Journal




https://linux.slashdot.org/story/17/07/09/188246/bruce-perens-warns-grsecurity-breaches-the-linux-kernels-gpl-license[9/9/2017 4:07:58 PM]
Bruce Perens Warns Grsecurity Breaches the Linux Kernel's GPL License - Slashdot
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                       How is it sneaky? The GPL is open and readable. Poor Grsecurity guy: you
                       are going to lose.
                       Parent      Share
                          Re: The GPL is asinine (Score:0)

                           by Anonymous Coward on Sunday July 09, 2017 @04:52PM (#54774833)


                           Lose what? Grsecurity isn't going after any of their customes who
                           releases their patches as that would violate the GPL. What they are
                           doing, and what other companies like Red Hat used to do, is
                           contractually ceasing doing business with customers who release
                           grsecurity's patches to the public. That is not restricting distribution per
                           the GPL no matter what PR smear-meisters-for-hire-argue. Grsecurity
                           has embarrassed Linus and the other corporate kernel monkeys for
                           years now due to their lackadaisical approach to kernel security, and its
                           time for some payback.


                           Parent     Share
                              Re: The GPL is asinine (Score:0)
                              by Anonymous Coward on Wednesday July 12, 2017 @03:53AM (#54792019)


                              Note: Yes IAAL, and Yes we know you as a lay-person programmer
                              know more about the law than "useless" lawyers and law
                              technicians so you don't have to restate your in-born greatness,
                              please.

                              From GRSecurity's "Stable Patch Agreement":

                              "Notwithstanding these rights and obligations, the User
                              acknowledges that redistribution of the provided stable patches or
                              changelogs outside of the explicit obligations under the GPL to
                              User's customers will result in termination of access to future
                              updates of grsecurity stable patches and changelogs."

                              IE: If you choose to redistribute, other than in the case of a demand
                              made by a user, retaliation will occur.

                              That is an additional term, between GRSecurity and the distributee,
                              adding a restriction, end of story. This is forbidden by the license
                              terms underwhich GRSecurity had the privilege to modify the
                              kernel, create derivative works, and distribute derivative works, etc.

                              I say had, because once a license term is violated, the terms of the
                              license distributed by the linux-rightsholders governing the use of
                              their property states that the license is revoked upon violation of a
                              term.

                              You have to understand that the linux-kernel, even if it is sitting on
                              your harddrive, is the property of the linux-kernel rights-holders. Not
                              GRSecurity, etc.

                              It's like a piece of land (Copyright is alienable in the same way that
                              real property is). I may allow you to walk over my land, and I may
                              rescind that license at any time. I may also post rules that you must
                              obey when walking over my land which, if you violate, I may set
                              terms that your license to walk over my land be revoked.

                              One of these rules is that you do not offer terms adding additional
                              restrictions to derived works. GRSecurity has offered such terms.
                              The moment they did so they violated the terms of the license grant.



https://linux.slashdot.org/story/17/07/09/188246/bruce-perens-warns-grsecurity-breaches-the-linux-kernels-gpl-license[9/9/2017 4:07:58 PM]
Bruce Perens Warns Grsecurity Breaches the Linux Kernel's GPL License - Slashdot
                                Case 3:17-cv-04002-LB Document 32-2 Filed 10/31/17 Page 114 of 138

                              Parent      Share
                                  Re: The GPL is asinine (Score:0)
                                  by Anonymous Coward on Wednesday July 12, 2017 @07:29AM
                                  (#54792473)



                                    Note: Yes IAAL, and Yes we know you as a lay-person
                                    programmer know more about the law than "useless" lawyers
                                    and law technicians so you don't have to restate your in-born
                                    greatness, please.

                                  You're arguing from authority, which is a logical fallacy. It
                                  usually indicates you don't have a valid argument.

                                  Seems you're more interested in feeling superior than in the
                                  actual merits of your argument. I find it hard to believe anyone
                                  so childish could make it through law school (ad hom FTW!).


                                  Parent      Share
                                     Re: The GPL is asinine (Score:0)

                                      by Anonymous Coward on Wednesday July 12, 2017 @05:51PM
                                      (#54796581)


                                      >You're arguing from authority, which is a logical fallacy. It
                                      usually indicates you don't have a valid argument.

                                      I have explained at length the legal issues here (see "quick
                                      rundown" etc) over and over. It is not my fault that you do
                                      not understand.

                                      >Seems you're more interested in feeling superior than in
                                      the actual merits of your argument. I find it hard to believe
                                      anyone so childish could make it through law school (ad
                                      hom FTW!).

                                      I'm a licensed attorney. Would you like to continue libeling
                                      me?


                                      Parent     Share
                                         Re: The GPL is asinine (Score:0)
                                         by Anonymous Coward on Wednesday July 12, 2017 @06:28PM
                                         (#54796799)



                                            I'm a licensed attorney. Would you like to continue
                                            libeling me?

                                         Saying I find it hard to believe you're really a lawyer is
                                         not libel. If you are, you suck at interpreting law.


                                         Parent      Share
                                             Re: The GPL is asinine (Score:0)
                                             by Anonymous Coward on Thursday July 13, 2017
                                             @05:19PM (#54803789)


                                             "Saying I find it hard to believe you're really a lawyer
                                             is not libel. If you are, you suck at interpreting law."



https://linux.slashdot.org/story/17/07/09/188246/bruce-perens-warns-grsecurity-breaches-the-linux-kernels-gpl-license[9/9/2017 4:07:58 PM]
Bruce Perens Warns Grsecurity Breaches the Linux Kernel's GPL License - Slashdot
                                Case 3:17-cv-04002-LB Document 32-2 Filed 10/31/17 Page 115 of 138
                                             Because you, as a lay person, really know what
                                             you're talking about, correct? You just _KNOW_ that
                                             you know. You got that gut feeling.


                                             Parent      Share

                                             Re: The GPL is asinine (Score:0)
                                             by Anonymous Coward on Saturday July 15, 2017 @12:46PM
                                             (#54814595)


                                             https://boards.4chan.org/pol/thread/133715593/suddenly-
                                             bruce-perens-doesnt-want-to-talk-to-me


                                             Parent      Share

                                  Re: The GPL is asinine (Score:0)
                                  by Anonymous Coward on Wednesday July 12, 2017 @08:24AM
                                  (#54792665)



                                    That is an additional term, between GRSecurity and the
                                    distributee, adding a restriction, end of story.

                                  What is the restriction, specifically? That is, what may you not
                                  do that GPL normally allows you to do?

                                  Don't say you can't distribute, because clearly you still can.


                                  Parent      Share
                                     Re: The GPL is asinine (Score:0)

                                      by Anonymous Coward on Wednesday July 12, 2017 @05:55PM
                                      (#54796625)


                                      > by Anonymous Coward on Wednesday July 12, 2017
                                      @08:24AM (#54792665)

                                      The act of proffering additional restrictive terms is a violation
                                      of the license grant in and of itself.

                                      "Notwithstanding these rights and obligations, the User
                                      acknowledges that redistribution of the provided stable
                                      patches or changelogs outside of the explicit obligations
                                      under the GPL to User's customers will result in termination
                                      of access to future updates of grsecurity stable patches and
                                      changelogs."

                                      (IE: If you choose to redistribute, other than in the case of a
                                      demand made by a user, retaliation will occur.)

                                      If you do not understand this, there is nothing I can do for
                                      you.
                                      Contracts 101 can help so you can understand what a
                                      "term" is and that it can be written, verbal, or implicit; aswell
                                      as Real Property to learn about how licensing works.
                                      Copyright Jurisprudence draws from both.


                                      Parent     Share
                                         Re: The GPL is asinine (Score:0)




https://linux.slashdot.org/story/17/07/09/188246/bruce-perens-warns-grsecurity-breaches-the-linux-kernels-gpl-license[9/9/2017 4:07:58 PM]
Bruce Perens Warns Grsecurity Breaches the Linux Kernel's GPL License - Slashdot
                                Case 3:17-cv-04002-LB Document 32-2 Filed 10/31/17 Page 116 of 138
                                         by Anonymous Coward on Thursday July 13, 2017 @03:32PM
                                         (#54802841)


                                         Except that, as many have pointed out, it's not a new
                                         license term. It's a term of an agreement that makes
                                         reference to the license. They are not saying you can't
                                         get a license unless you agree to their terms; they're
                                         saying you can't get support and updates.

                                         I think it's dirty pool and against the spirit of the GPL, but
                                         I can't see how it's against the letter of the GPL.


                                         Parent      Share
                                             Re: The GPL is asinine (Score:0)
                                             by Anonymous Coward on Thursday July 13, 2017
                                             @05:38PM (#54803951)



                                               >Except that, as many have pointed out, it's not a
                                               new license term. It's a term of an agreement that
                                               makes reference to the license. They are not
                                               saying you can't get a license unless you agree to
                                               their terms; they're saying you can't get support
                                               and updates.

                                             The terms of the license govern what agreements
                                             you may make between yourself and other parties. It
                                             is not solely governing what "the license" (that you
                                             publish to the other parties) says.

                                             Section 6 states simply
                                             "You may not impose any further restrictions on the
                                             recipients' exercise of the rights granted herein."

                                             Clear as day. What you lay people do not seem to
                                             understand is that the terms here are governing
                                             what agreements and actions the distributee can
                                             take regarding furthur distributees, in reality, in the
                                             flesh.

                                             Here the ACTIONS of GRSecurity are to RESTRICT
                                             the exercise of the redistribution rights of the further
                                             distributee.

                                             This is an action prohibited by the terms offered by
                                             the linux-rights holders, and they have written as
                                             another term that the permission they give to use
                                             their property is revoked upon violation of their
                                             terms.

                                             Very simple.

                                             The linux-rights holders could have written "those
                                             who eat grapes on a monday have their license
                                             revoked at the moment grape is consumed". Linux is
                                             their property and they may alienate it as they desire
                                             in the same way they may alienate their real and
                                             personal property.

                                             Under your theory no revocation would take place
                                             unless GRSecurity physically prevented further



https://linux.slashdot.org/story/17/07/09/188246/bruce-perens-warns-grsecurity-breaches-the-linux-kernels-gpl-license[9/9/2017 4:07:58 PM]
Bruce Perens Warns Grsecurity Breaches the Linux Kernel's GPL License - Slashdot
                                Case 3:17-cv-04002-LB Document 32-2 Filed 10/31/17 Page 117 of 138
                                             distributees from redistributing by putting a gun to
                                             their heads if they dared attempt so. Clearly that is
                                             not how things work. GRSecurity proffered terms
                                             designed to restrict one from redistributing the
                                             derivative work, terms which have been successful
                                             in-fact. A clear violation of section 6.

                                             Very simple.

                                             And yes, IAAL.

                                             >as many have pointed out,
                                             Many lay people, like yourself, who are not studied
                                             in the law and are completely ignorant of it's
                                             workings, seeing only the surface edifices, yet, in
                                             hubris, insist that their opinion on any matter
                                             regarding legal outcomes is worth the equivalent
                                             value of even one speck of infertile earth.

                                             You do NOT know what you are talking about.
                                             Neither do your Programmer friends.


                                             Parent      Share
                                             Re: The GPL is asinine (Score:0)
                                             by Anonymous Coward on Thursday July 13, 2017
                                             @08:15PM (#54805147)



                                               Section 6 states simply
                                               "You may not impose any further restrictions on
                                               the recipients' exercise of the rights granted
                                               herein."

                                             And none are imposed. However, you are given the
                                             option to agree to them. Clear as day.


                                             Parent      Share
                                             Re: The GPL is asinine (Score:0)

                                             by Anonymous Coward on Thursday July 13, 2017
                                             @09:45PM (#54805657)


                                             Section 6 states simply
                                             "You may not impose any further restrictions on the
                                             recipients' exercise of the rights granted herein."

                                             From GRSecurity's "Stable Patch Agreement":

                                             "Notwithstanding these rights and obligations, the
                                             User acknowledges that redistribution of the
                                             provided stable patches or changelogs outside of
                                             the explicit obligations under the GPL to User's
                                             customers will result in termination of access to
                                             future updates of grsecurity stable patches and
                                             changelogs."

                                             Clear as day. What you lay people do not seem to
                                             understand is that the terms here are governing
                                             what agreements and actions the distributee can
                                             take regarding furthur distributees, in reality, in the




https://linux.slashdot.org/story/17/07/09/188246/bruce-perens-warns-grsecurity-breaches-the-linux-kernels-gpl-license[9/9/2017 4:07:58 PM]
Bruce Perens Warns Grsecurity Breaches the Linux Kernel's GPL License - Slashdot
                                Case 3:17-cv-04002-LB Document 32-2 Filed 10/31/17 Page 118 of 138
                                             flesh.

                                             Here the ACTIONS of GRSecurity are to RESTRICT
                                             the exercise of the redistribution rights of the further
                                             distributee.

                                             This is an action prohibited by the terms offered by
                                             the linux-rights holders, and they have written as
                                             another term that the permission they give to use
                                             their property is revoked upon violation of their
                                             terms.

                                             Very simple.

                                             >And none are imposed. However, you are given
                                             the option to agree to them. Clear as day.

                                             The proffering of the additional restrictive terms is in
                                             and of itself a violation of section 2. You are holding
                                             the clients to an additional restriction and enforcing
                                             this restriction via a threat to suspend business
                                             relationships.

                                             YES YOU HAVE IMPOSED AN ADDITIONAL
                                             RESTRICTION
                                             (you ____FUCKING____ retard).


                                             Parent      Share

                       Re: The GPL is asinine (Score:2)
                       by segedunum ( 883035 ) on Sunday July 09, 2017 @03:31PM (#54774443)




                          Why, so you can take other people's hard work like Grsecurity and
                          force them to release their code publicly....

                       Errrrr, they've taken an entire fucking kernel that they didn't write to peddle
                       their snakoil.


                       Parent      Share
                          Re: The GPL is asinine (Score:0)

                           by Anonymous Coward on Monday July 10, 2017 @06:13AM (#54777195)


                           You sound bitter. How big an idiot were you made to look? Come on, I
                           want all the juicy details!


                           Parent     Share
                              Re: The GPL is asinine (Score:0)

                              by Anonymous Coward on Thursday July 13, 2017 @07:40AM (#54799459)


                              It's probably all those 7 and 10 year old root compromises that
                              made it to the WaPo that grsec prevented by default. Big business
                              tends not to look too kindly on that kind of skirtlift, hence grsec are
                              now corporate enemy #1 and we get FUD FUD FUD.


                              Parent      Share




https://linux.slashdot.org/story/17/07/09/188246/bruce-perens-warns-grsecurity-breaches-the-linux-kernels-gpl-license[9/9/2017 4:07:58 PM]
Bruce Perens Warns Grsecurity Breaches the Linux Kernel's GPL License - Slashdot
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                       Re: The GPL is asinine (Score:0)
                       by Anonymous Coward on Sunday July 09, 2017 @03:20PM (#54774379)


                       And what if it doesn't just "happen to" link to that GPL code, but actually
                       does so because it is a derivative work? It seems that in that case,
                       Grsecurity are the ones taking somebody's work. They should actually do
                       their own work, write their own kernel, and offer it to the world under their
                       preferred license. The problem wouldn't even exist if Grsecurity did their
                       own work instead of stealing somebody else's.


                       Parent      Share
                       Re: The GPL is asinine (Score:1)

                       by Anonymous Coward on Sunday July 09, 2017 @03:24PM (#54774401)


                       If it wasnt for "other peoples code" being free, they wouldnt have anything
                       to patch. I cant tell if youre trolling or if youre really that stupid.


                       Parent      Share
                       Re: The GPL is asinine (Score:2)
                       by jeremyp ( 130771 ) on Monday July 10, 2017 @09:06AM (#54777689) Homepage
                       Journal



                       It doesn't link to GPL code, it is a patch. That means it is a modification of
                       GPL code.


                       Parent      Share

                Re:The GPL is asinine (Score:2)
                by segedunum ( 883035 ) on Sunday July 09, 2017 @03:09PM (#54774313)




                   This means that merely linking your own original code with GPL code (that
                   remains open source) and distributing it requires that you also release your
                   own original code under the GPL.

                No it doesn't. Nvidia do this with their binary kernel module and have done for a
                very long time. The deciding factor is distribution.


                Parent      Share
                   Re:The GPL is asinine (Score:2)
                   by epyT-R ( 613989 ) on Sunday July 09, 2017 @04:36PM (#54774749)


                   There's a subset of symbols that nongpl kernel modules are allowed to link to.


                   Parent        Share

                Re:The GPL is asinine (Score:1)

                by Anonymous Coward on Sunday July 09, 2017 @03:22PM (#54774393)




                   It's one thing to require that modifications to source code remain open source.
                   I think it's onerous, but at least it's not infecting anything it links to. However,
                   the GPL require that any derivative works that make use of any GPL code be
                   released under the GPL if they're distributed at all. This means that merely
                   linking your own original code with GPL code (that remains open source) and
                   distributing it requires that you also release your own original code under the



https://linux.slashdot.org/story/17/07/09/188246/bruce-perens-warns-grsecurity-breaches-the-linux-kernels-gpl-license[9/9/2017 4:07:58 PM]
Bruce Perens Warns Grsecurity Breaches the Linux Kernel's GPL License - Slashdot
                                Case 3:17-cv-04002-LB Document 32-2 Filed 10/31/17 Page 120 of 138
                   GPL. This is an asinine restriction on freedom, and precisely why the GPL is
                   evil. If you actually care about freedom, require that the original code and
                   direct modifications to it remain open source, but let linked code be released
                   under any license. That's a completely reasonable compromise, but the
                   asinine GPL doesn't allow for it.

                GPL does exactly what it is designed to do: it gives freedom to its users by
                preventing evil companies to use unscrupulous methods against the people.

                For example, if GPL did not exist and Linux was where it is today but it had a BSD
                license, Microsoft could use their same old monopolistic technique of "embrance,
                extend, extinguish" and:
                1) start selling their own "Linux" solution
                2) modify the kernel to add extra features so companies adopt it and becomes very
                popular
                3) introduce "proprietary" extensions (that are copyrighted and licensed under
                proprietary license) that make it incompatible with the original kernel but all new
                apps require it
                4) charge everyone increasing prices for same old thing because users are now
                locked into single solution
                5) spy on users and sell their private information for additional profit

                See here: https://en.wikipedia.org/wiki/Embrace%2C_extend_and_extinguish

                The point is, GPL is good for the people (i.e. end users).

                The only people that think GPL is bad are:
                1) Companies that want to screw everyone to make a profit (think SCO).
                2) People that are fanboys of windows/apple/whatever
                3) People that don't know any better


                Parent      Share
                Re: The GPL is asinine (Score:0)

                by Anonymous Coward on Sunday July 09, 2017 @05:28PM (#54774951)


                Linking code to a library does not require you release your own code as GPL.


                Parent      Share
                   Re: The GPL is asinine (Score:0)
                   by Anonymous Coward on Sunday July 09, 2017 @05:57PM (#54775079)


                   Yes it does. However most open libraries ate LGPL which allows linking.


                   Parent      Share

                Re:The GPL is asinine (Score:0)
                by Anonymous Coward on Monday July 10, 2017 @11:52AM (#54778889)



                  However, the GPL require that any derivative works that make use of any GPL
                  code be released under the GPL if they're distributed at all. This means that
                  merely linking your own original code with GPL code (that remains open source)
                  and distributing it requires that you also release your own original code under the
                  GPL.

                YOU are the person who is saying that "merely linking your original code with the
                GPL code" causes your code to be a derivative work. The GPL's authors think
                you're right. But not everyone does, and I'm pretty sure that most copyright lawyers




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                and judges would disagree as well.

                What's funny is that you are blaming the GPL's authors for your opinion.

                What you ought to do, is think about whether or not linking things causes one of
                them to retroactively become a derivative work. If you come to the same
                conclusion that many of us do, you will realize that the GPL is irrelevant, because
                your code is not a derivative work and therefore the GPL's terms don't apply. And
                since the GPL is irrelevant, it lacks the capacity to be particularly offensive, and
                definitely never will "infect" other software.


                Parent      Share

            Community (Score:1, Flamebait)
            by bill_mcgonigle ( 4333 ) * on Sunday July 09, 2017 @02:53PM (#54774229) Homepage Journal


            Look, I don't give a shit about violating copyright for the sake of violating copyright. The
            companies that are all-take-and-no-give, like cheap router manufacturers, that cause
            the community danger with their unpatched crap - the community tolerates the lawsuits
            against them.

            But if Bruce or Eric decide to sue Debian or Canonical (or whomever) for shipping
            GRSecurity with the kernel, I'll watch while the community turns on them like a pack of
            fucking wolves and their reputation takes a perpetual hit.

            It's bad enough people playing lawyer with the CDDL vs. GPL nonsense with ZFS -
            these licenses are intended to help the community, not harm it. People who get lost in
            the weeds of licenses instead of figuring out how to make the community better are our
            version of bureaucrats and frankly many of us don't have much use for them.

            Any form of legal system that harms its society is immoral and ought to be, and will be,
            dismantled.


            Share
                Re:Community (Score:5, Informative)

                by Bruce Perens ( 3872 ) <bruce@perens.com> on Sunday July 09, 2017 @03:10PM
                (#54774321) Homepage Journal



                  But if Bruce or Eric decide to sue Debian or Canonical (or whomever) for
                  shipping GRSecurity with the kernel, I'll watch while the community turns on
                  them like a pack of &@#$ wolves and their reputation takes a perpetual hit.

                Bill,

                Debian would have the previous version before this licensing problem came up.

                I am not the plaintiff in any theoretical case, and in any case am not interested in
                suing Debian. That's not me. But this should be a wake-up call to Debian.

                Regarding CDDL vs. GPL, Sun quite deliberately applied that license and refused
                to dual-license. One would imagine they had Linux in mind when that decision was
                made. Oracle continues that. It doesn't seem that anyone on the Linux side started
                that fight. And given the decision in Oracle v. Google that copyright can pass
                across APIs, at Oracle's behest, it does not seem to me that CDDL-GPL
                combinations are legally safe even if you dynamically link.


                Parent      Share
                    Re:Community (Score:0)



https://linux.slashdot.org/story/17/07/09/188246/bruce-perens-warns-grsecurity-breaches-the-linux-kernels-gpl-license[9/9/2017 4:07:58 PM]
Bruce Perens Warns Grsecurity Breaches the Linux Kernel's GPL License - Slashdot
                                Case 3:17-cv-04002-LB Document 32-2 Filed 10/31/17 Page 122 of 138
                   by Anonymous Coward on Sunday July 09, 2017 @08:27PM (#54775651)




                       Regarding CDDL vs. GPL, Sun quite deliberately applied that license and
                       refused to dual-license. One would imagine they had Linux in mind when
                       that decision was made. Oracle continues that. It doesn't seem that
                       anyone on the Linux side started that fight. And given the decision in
                       Oracle v. Google that copyright can pass across APIs, at Oracle's behest,
                       it does not seem to me that CDDL-GPL combinations are legally safe
                       even if you dynamically link.

                   The truth is .. no one is suing: Oracle cannot sue because the CDDL is not
                   being violated. Linus is not suing b cause this is a gray area and there is
                   nothing to gain from a legal suit.

                   CDDL+GPL is pretty safe in that the compensation either camp could claim is
                   making the source code available which is something that always happens.
                   This is not about license, it is about political control: by merging non-GPL
                   software in the kernel you start losing control over the license.


                   Parent      Share

                Re:Community (Score:0)
                by Anonymous Coward on Monday July 10, 2017 @12:17PM (#54779073)



                  the CDDL vs. GPL nonsense with ZFS - these licenses are intended to help the
                  community, not harm it.

                Are you sure they're both intended to do that?


                Parent      Share

            Sounds wrong: do they distribute anything that's G (Score:0)

            by Anonymous Coward on Sunday July 09, 2017 @04:01PM (#54774597)


            I think that argument sounds wrong.
            Do they distribute anything that's under the GPL? The summary speaks of patches.
            That means they don't distribute the Linux kernel, which is GPL, but only their own
            code.

            Since they don't distribute the kernel, they don't need a license for it, as there's no
            copying for which copyright applies. And their own software they can distribute under
            whatever terms they like.
            As long as it's not bundled along with the kernel, they don't even touch the kernel's
            GPL. It's the customer that patches their code.

            And also, since the GPL is not an EULA, their customers are free to do whatever they
            want. That includes linking the kernel with a GPL incompatible patch, as long as they
            do not themselves distribute the result. Only distributing it would violate the GPL.


            Share
                Re:Sounds wrong: do they distribute anything that' (Score:3)

                by Bruce Perens ( 3872 ) <bruce@perens.com> on Sunday July 09, 2017 @04:16PM
                (#54774661) Homepage Journal


                They don't have to distribute the kernel to violate the GPL in this case. Copyright
                also restricts the creation of derivative works. Grsecurity definitely is derivative of
                the kernel. The GPL would be their only permission to create and distribute a



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Bruce Perens Warns Grsecurity Breaches the Linux Kernel's GPL License - Slashdot
                                Case 3:17-cv-04002-LB Document 32-2 Filed 10/31/17 Page 123 of 138
                derivative work of the kernel. And one of the terms of the GPL is that you can't add
                any rules to your derivative that aren't in the GPL itself.

                With respect, your understanding of copyright and licensing isn't quite complete.
                This is not a personal criticism, it's true for most people. But legal theories based
                on what you know so far might not be correct.


                Parent      Share
                   Re:Sounds wrong: do they distribute anything that' (Score:2)
                   by Wrath0fb0b ( 302444 ) on Sunday July 09, 2017 @05:15PM (#54774919)


                   Hi Bruce,

                   Since you say that GRSecurity is 'definitely' a derivative work, and since you
                   know about a million times more than I do, let's accept that claim as a fact for a
                   moment.

                   GRSecurity is primary distributed as a set of patches which modify the Linux
                   kernel's operation in various ways. The end user takes those patches and
                   combines them with the kernel to achieve the desired (or maybe not, doesn't
                   matter). According to your claim, they are not permitted to do so without license
                   from the original work (the kernel).

                   The implications of this claim seem to be very broad and, to me, undesirable. It
                   would seem to indicate that people would not be free to build and share
                   aftermarket enhancements for any commercial product that contains a creative
                   element (that is eligible for copyright) without license from the company that
                   produced it.

                   For instance, Subaru sells a car containing an ECU, and no doubt that Subaru
                   retains copyright in the code that runs in that ECU. Joe and his friends develop
                   a software patch for this ECU in order to improve the characteristics of their
                   automobile or to make it compatible with some other usage or accessory.
                   According to your claim, this is a derivative work (it patches the ECU software,
                   the ECU software is copyright) and so if Joe distributes this patch without
                   license from Subaru, he is liable for infringement.

                   Or for another example, a company sells an electronic microscope to Janice's
                   school. Janice and her friends patch the software running on the microscope to
                   improve the noise reduction algorithm or increase the maximum frame rate.
                   Janice wishes to distribute this improvement to other students. Again, the same
                   story.

                   So much then for Janice and Joe's right to tinker with the software running on
                   their devices then.

                   [ For what it's worth, if I were writing the law instead of describing it, I would
                   avoid this entire mess and make it clear that a patch or modification on an
                   existing work that does not itself any part of the original is not derivative. It's
                   just a set of instructions for how the rightful possessor of the originator work
                   can change it, nothing more. ]


                   Parent      Share
                       Re:Sounds wrong: do they distribute anything that' (Score:4,
                       Interesting)
                       by Bruce Perens ( 3872 ) <bruce@perens.com> on Sunday July 09, 2017 @05:32PM
                       (#54774967) Homepage Journal


                       This is a very large discussion and I'm not going to put in the hour



https://linux.slashdot.org/story/17/07/09/188246/bruce-perens-warns-grsecurity-breaches-the-linux-kernels-gpl-license[9/9/2017 4:07:58 PM]
Bruce Perens Warns Grsecurity Breaches the Linux Kernel's GPL License - Slashdot
                                Case 3:17-cv-04002-LB Document 32-2 Filed 10/31/17 Page 124 of 138
                       necessary to explain it fully. One of the relevant cases is Galoob Games v.
                       Nintendo. In that case, the Game Genie made by Galoob, which let you
                       have infinite lifetime and ammo and thus cheat in Nintendo games, was
                       thought to be a derivative work by Nintendo. Galoob won, because the
                       Game Genie connected to a plug and only modified a few memory
                       locations.

                       Unlike the modularity of the Game Genie and that of some of the other
                       things you mention, Grsecurity does not limit itself to dealing with Linux
                       through its APIs (like the plugs in the Nintendo console and game cartrige).
                       Instead, Grsecurity gets dirty fingers all over the kernel internals. So, it's
                       derivative.

                       I am very much a supporter of right to repair and to interoperate, and we
                       should discuss that another time.


                       Parent      Share
                          Re:Sounds wrong: do they distribute anything that' (Score:2)

                           by Wrath0fb0b ( 302444 ) on Tuesday July 11, 2017 @12:33AM (#54783641)


                           How in the world can there be a right to repair/improve when anything
                           that modifies the internals of a copyrighted work is a derivative work?

                           For instance, a modification to a car ECU would not "deal with it
                           through its APIs" (there aren't any API, it's not meant to be accessed by
                           developers!) and would "get its dirty fingers over the ECU internals"
                           (since there is surely no nice external interface to modify the behavior).
                           So there goes the right in that respect.

                           Similarly for any attempt to improve nearly any non-extensible closed
                           system. In fact, now that I think about it, this means there is a very high
                           incentive for a company that wishes to lock tinkerers out to design
                           things to be as closed and rigid as possible. The lack of configurability
                           will means that anyone wishing to tinker will need to 'modify the
                           internals' and the closed nature of the system means there will no API
                           to deal with. Both of those factors will increase the chance that any
                           aftermarket modification is a derivative work and thus empower the
                           company to bar its distribution without license.

                           It would be very unfortunate if our system incentivized this sort of
                           engineering by conferring additional rights based on engineering details
                           about API and configurability.


                           Parent     Share
                              Re:Sounds wrong: do they distribute anything that' (Score:0)

                              by Anonymous Coward on Tuesday July 11, 2017 @09:20PM (#54790599)


                              Wrath0fb0b:
                              Copyright is alienable in the same way real and personal property
                              is.

                              Complain to the legislature if you don't like it you fucking idiot.

                              I can place whatever restrictions I like on MY property. I can allow
                              you to use it (license) and then rescind at will. That's what being
                              alienable in the same way real and personal property is means. Go
                              read the copyright statute you fucking self-sure retard.

                              Even if you possess my intellectual property, does not mean you



https://linux.slashdot.org/story/17/07/09/188246/bruce-perens-warns-grsecurity-breaches-the-linux-kernels-gpl-license[9/9/2017 4:07:58 PM]
Bruce Perens Warns Grsecurity Breaches the Linux Kernel's GPL License - Slashdot
                                Case 3:17-cv-04002-LB Document 32-2 Filed 10/31/17 Page 125 of 138
                              OWN it (in the way you might own a physical object), unless I
                              ASSIGN copyright TO YOU.

                              Fucking retards here.
                              And they think they know more than lawyers and law technicians.


                              Parent      Share

                       Re: Sounds wrong: do they distribute anything that (Score:2)
                       by guruevi ( 827432 ) <evi@@@evcircuits...com> on Sunday July 09, 2017 @06:03PM
                       (#54775103) Homepage


                       You are more than welcome to make derivatives of the Linux kernel and
                       sell them (see Android). You do however have to comply with the license
                       and thus you should see GPLed release code on sites from Samsung etc
                       (which you often but not always do).

                       The company is not required to release the code publically either, only their
                       customers can demand the code, however this has to be under the same
                       license (thus you cannot do like Amlogic does and claim NDA for the Linux
                       kernel)


                       Parent      Share
                          Re: Sounds wrong: do they distribute anything that (Score:2)
                           by Bruce Perens ( 3872 ) <bruce@perens.com> on Sunday July 09, 2017
                           @07:10PM (#54775347) Homepage Journal


                           My contention is that the current state with Grsecurity is like releasing it
                           under NDA. I just wanted to make sure you understood that part.
                           Parent     Share
                              Re: Sounds wrong: do they distribute anything that (Score:2)
                              by guruevi ( 827432 ) <evi@@@evcircuits...com> on Monday July 10, 2017
                              @02:23PM (#54780127) Homepage


                              Yes I do, many companies try to do this though and I'm not sure
                              Linus has ever actively tried to stop them. Samsung, Amlogic, HP,
                              Netgear, Minix have all done it some time in the past or are still
                              actively refusing to release Linux source code they have modified or
                              require some form of NDA before they will give it to you, companies
                              in China are even worse than companies in the US.

                              I've contacted the FSF about it prior and they seem unwilling to
                              pursue the case unless portions of GNU software are included in
                              the distribution which makes it a bit of a chicken and egg problem,
                              they won't give me the source and the binaries don't contain
                              comments/licenses so it's unclear as to whom they are actually
                              infringing against and FSF won't pursue it unless you can prove the
                              source code contains GNU licensed material.

                              Given Linus is also more of a technical rather than legal mind, I
                              doubt the GPLv2 on the Kernel is even enforceable at this point
                              unless individual coders want to pursue cases against their more
                              recent contributions.


                              Parent      Share

                   Re:Sounds wrong: do they distribute anything that' (Score:0)
                   by Anonymous Coward on Sunday July 09, 2017 @04:46PM (#54774805)




https://linux.slashdot.org/story/17/07/09/188246/bruce-perens-warns-grsecurity-breaches-the-linux-kernels-gpl-license[9/9/2017 4:07:58 PM]
Bruce Perens Warns Grsecurity Breaches the Linux Kernel's GPL License - Slashdot
                                Case 3:17-cv-04002-LB Document 32-2 Filed 10/31/17 Page 126 of 138
                   Grsecurity is definitely a derived work of the kernel, which I think grsecurity
                   doesn't even doubt. After all, the patches they distribute are licensed under the
                   GPL. They don't prevent you from using your rights under the GPL, they might
                   not want to do further business with you if you do, but you can still use the
                   rights and share the code legally.

                   To me it seems the legal question is whether or not they are using their
                   influence to, indirectly, add a non-disclosure clause to the GPL. I am not a
                   judge so I cant answer that but it doesn't look that clear cut to me.


                   Parent      Share
                       baka (Score:0)

                       by Anonymous Coward on Tuesday July 11, 2017 @09:13PM (#54790577)


                       >To me it seems the legal question is whether or not they are using their
                       influence to, indirectly, add a non-disclosure clause to the GPL.

                       They are forbidden by the terms from adding additional restrictions
                       between an agreement between THEM and furthur Distributees.

                       They are adding an additional term.

                       Open and shut. Blatant violation.

                       No, you programmers who scream "BUT THEY DIDNT ADD THE
                       ADDITIONAL TERM __TO_THE_GPL__!!!!" They added it to the
                       agreement between them and the furthur distributee, which the terms
                       underwhich linux is distributed explicitly forbids.

                       The licenses is NOT BETWEEN "The GPL" and GRSecurity but between
                       THE LINUX RIGHTS-HOLDERS (linus et al) and GRSecurity. "The GPL" is
                       the memorization of the license grant. It disallows additional restrictions
                       placed by GRSecurity on people to whom it distributes a derivative work.

                       It is NOT saying (in that section) "oh you just can't pen your restriction in
                       here, go write it on a napkin or something wink wink nod". (*cough codicil*)

                       No, you Programmers do NOT know what you're talking about when it
                       comes to the Law. Yes I _DO_ know what I'm talking about.


                       Parent      Share


            What is Grsecurity? (Score:0)
            by Anonymous Coward on Sunday July 09, 2017 @04:34PM (#54774731)


            I scanned the comments looking for some explanation of what Grsecurity is and where
            it comes from but no luck. With too many Slashdot stories it's like trying to join a
            conversation half way through. I could go and look it up but thought I'd post this
            instead.


            Share
                Re:What is Grsecurity? (Score:2)
                by ledow ( 319597 ) on Sunday July 09, 2017 @04:53PM (#54774837) Homepage


                There's been a few articles on this already.

                It's an external patch-set that adds security features to the Linux kernel.



https://linux.slashdot.org/story/17/07/09/188246/bruce-perens-warns-grsecurity-breaches-the-linux-kernels-gpl-license[9/9/2017 4:07:58 PM]
Bruce Perens Warns Grsecurity Breaches the Linux Kernel's GPL License - Slashdot
                                Case 3:17-cv-04002-LB Document 32-2 Filed 10/31/17 Page 127 of 138

                And now the guy who runs it wants to charge for it, and stop people distributing it,
                even though it is inherently a GPL-based work.

                He's also a pain in the arse, but that's besides the point.


                Parent      Share
                   Re:What is Grsecurity? (Score:2)
                   by Bruce Perens ( 3872 ) <bruce@perens.com> on Sunday July 09, 2017 @05:39PM
                   (#54774997) Homepage Journal



                      He's also a pain in the arse, but that's besides the point.

                   You would think. But look at the previous problem children: Larry McVoy did
                   not comport himself very well around the Bitkeeper issue, and the then board of
                   OSI tell me he wasn't too nice around them either. Things might have gone
                   better for him had he behaved differently.

                   Hans Reiser. Had a reputation for abusing the kernel community before he
                   killed poor Nina. I only talked with her on the phone and had lunch once with
                   him, but I am astonished I don't get bad dreams...

                   I am sure there are other examples...


                   Parent      Share
                       Re:What is Grsecurity? (Score:0)
                       by Anonymous Coward on Sunday July 09, 2017 @06:59PM (#54775305)


                       The problem here however is that you have achieved a most effective
                       advertisement for Grsecurity. I have been using Linux since '96 and had
                       never heard of Grsecurity until reading this story. I am unlikely to start using
                       it now, but still...


                       Parent      Share
                          Re:What is Grsecurity? (Score:2)

                           by drinkypoo ( 153816 ) <martin.espinoza@gmail.com> on Sunday July 09, 2017
                           @11:24PM (#54776269) Homepage Journal




                              The problem here however is that you have achieved a most
                              effective advertisement for Grsecurity. I have been using Linux
                              since '96 and had never heard of Grsecurity until reading this
                              story. I am unlikely to start using it now, but still...

                           I have heard of it, and I took it as a warning. I'm clearly not going to dick
                           with grsecurity now. Is it an advertisement for, or against?


                           Parent     Share

                       Re:What is Grsecurity? (Score:0)
                       by Anonymous Coward on Monday July 10, 2017 @11:52AM (#54778891)




                          Hans Reiser. Had a reputation for abusing the kernel community
                          before he killed poor Nina. I only talked with her on the phone and had
                          lunch once with him, but I am astonished I don't get bad dreams...




https://linux.slashdot.org/story/17/07/09/188246/bruce-perens-warns-grsecurity-breaches-the-linux-kernels-gpl-license[9/9/2017 4:07:58 PM]
Bruce Perens Warns Grsecurity Breaches the Linux Kernel's GPL License - Slashdot
                                Case 3:17-cv-04002-LB Document 32-2 Filed 10/31/17 Page 128 of 138
                       Why would you? Your interactions put that murder outside of your
                       experience range.

                       One reason that Holocaust denial is a significant thing is that it's just
                       completely unbelievable and off anybody's experience scope. The armies
                       freeing the concentration camps contained a lot of soldiers who had heard
                       army and newspaper and witness reports and knew what to expect. But
                       they still were not prepared to believe it until seeing it, and a number of
                       them were traumatized then rather than when reading the news.

                       In a manner, minding the Holocaust is as meaningless as denying it for
                       someone who did not actually experience it. Its lesson, namely whatever
                       atrocities humans are able to commit in an organized manner against
                       humans differing in some identifying trait will eventually be committed
                       unless one actively, constantly and vigilantly educates against the primitive
                       urges of our tribal nature, is a lesson that has enough other examples in
                       history and mass graves and mounds to remain one of the most important
                       things we need to teach our children if we want humanity to survive.

                       There is a small path between "this must not be" and "this must not have
                       been".


                       Parent      Share
                          Hans Reiser did nothing wrong. (Score:0)

                           by Anonymous Coward on Tuesday July 11, 2017 @09:08PM (#54790555)


                           Nina committed adultery against Hans Reiser, she also divorced him.

                           Such is forbidden by the God of the book of the Law (Deuteronomy).
                           (The man is the ba'al (master))

                           Hans Reiser did the correct thing in killing Nina Reiser, as commanded
                           by the Overlord of the Armies.

                           Hans Reiser didn't obey the white man's false idol Jesus; but Jesus
                           clearly isn't Hans Reiser's God.

                           Those who entice one to follow another judge/ruler/God are
                           commanded to be killed immediatly.
                           Which is why your Jesus was killed.


                           Parent     Share

                       Re: What is Grsecurity? (Score:0)
                       by Anonymous Coward on Friday July 14, 2017 @07:35PM (#54811867)


                       Wow, and up until this moment I thought you had some class, Bruce.
                       Comparing someone you dislike and have a licensing quarrel with to a
                       convicted murderer? Nice.


                       Parent      Share

                Re:What is Grsecurity? (Score:0)
                by Anonymous Coward on Sunday July 09, 2017 @08:34PM (#54775673)


                GRSec is a set of kernel patches that fixes a lot of flaws that Linus and the Kernel
                developers are too lazy or too incompetent to fix.




https://linux.slashdot.org/story/17/07/09/188246/bruce-perens-warns-grsecurity-breaches-the-linux-kernels-gpl-license[9/9/2017 4:07:58 PM]
Bruce Perens Warns Grsecurity Breaches the Linux Kernel's GPL License - Slashdot
                                Case 3:17-cv-04002-LB Document 32-2 Filed 10/31/17 Page 129 of 138
                Parent      Share

            And this is why... (Score:0)
            by Anonymous Coward on Sunday July 09, 2017 @07:06PM (#54775337)


            Linux will never takeover the desktop. You spend more time on pedantic licensing
            arguments than MAKING SHIT WORK BETTER!


            Share
                Re:And this is why... (Score:2)

                by marcle ( 1575627 ) on Sunday July 09, 2017 @07:19PM (#54775373)


                Sadly, it's not just the open source community, it's the whole damn industry...


                Parent      Share
                   Re:And this is why... (Score:2)

                   by Bruce Perens ( 3872 ) <bruce@perens.com> on Sunday July 09, 2017 @07:39PM
                   (#54775453) Homepage Journal


                   Sometimes it seems that people are accusing me of inventing intellectual
                   property. It is the proprietary industry that created this mess. I just try to
                   promote a sane corner where we can get away from them.
                   Parent      Share

            Uhhhhhhh (Score:0)

            by Anonymous Coward on Sunday July 09, 2017 @08:26PM (#54775639)


            My company has purchased grsecurity patches in a fashion where it's possible for
            someone to buy a product and request source from us under the GPL. We have been
            told explicitly by OSS that we are to provide source and honor the GPL. There have
            been no caveats or asterisks associated with it either, it is very straightforward.

            Are people just making this shit up for fun or something? What gives?


            Share
                Re:Uhhhhhhh (Score:2)

                by Bruce Perens ( 3872 ) <bruce@perens.com> on Sunday July 09, 2017 @08:53PM
                (#54775745) Homepage Journal


                No, nobody is making it up. What has your interaction been with them since April?
                Parent      Share
                   Re:Uhhhhhhh (Score:0)

                   by Anonymous Coward on Sunday July 09, 2017 @09:09PM (#54775819)


                   This was expressly and explicitly communicated to us in an email specifically
                   describing the April change in licensing.


                   Parent      Share
                       Re:Uhhhhhhh (Score:3)
                       by Bruce Perens ( 3872 ) <bruce@perens.com> on Monday July 10, 2017 @12:30PM
                       (#54779183) Homepage Journal


                       I got a copy of the agreement. It's here [perens.com]. It's pretty clearly in
                       violation. The offending language is:



https://linux.slashdot.org/story/17/07/09/188246/bruce-perens-warns-grsecurity-breaches-the-linux-kernels-gpl-license[9/9/2017 4:07:58 PM]
Bruce Perens Warns Grsecurity Breaches the Linux Kernel's GPL License - Slashdot
                                Case 3:17-cv-04002-LB Document 32-2 Filed 10/31/17 Page 130 of 138
                         Notwithstanding these rights and obligations, the User acknowledges that
                         redistribution of the provided stable patches or changelogs outside of the
                         explicit obligations under the GPL to User's customers will result in
                         termination of access to future updates of grsecurity stable patches and
                         changelogs.

                       The entire point of the langauge in section 6 of the GPL is so that another
                       party can not cause you to negotiate away your GPL rights.


                       Parent      Share
                          Re: Uhhhhhhh (Score:0)

                           by Anonymous Coward on Thursday July 13, 2017 @07:12PM (#54804687)


                           Access to future updates is not a GPL right?


                           Parent     Share

                       Re:Uhhhhhhh (Score:2)
                       by Bruce Perens ( 3872 ) <bruce@perens.com> on Sunday July 09, 2017 @09:13PM
                       (#54775831) Homepage Journal


                       Could you email that to bruce at perens dot com, please?
                       Parent      Share
                          Re:Uhhhhhhh (Score:2)
                           by sexconker ( 1179573 ) on Monday July 10, 2017 @04:15AM (#54776927)


                           Will you sign an NDA first?


                           Parent     Share
                          Re:Uhhhhhhh (Score:0)

                           by Anonymous Coward on Monday July 10, 2017 @06:55AM (#54777267)


                           From GRSecurity's "Stable Patch Agreement":

                           "Notwithstanding these rights and obligations, the User acknowledges
                           that redistribution of the provided stable patches or changelogs outside
                           of the explicit obligations under the GPL to User's customers will result
                           in termination of access to future updates of grsecurity stable patches
                           and changelogs."

                           IE: If you choose to redistribute, other than in the case of a demand
                           made by a user, retaliation will occur.


                           Parent     Share


            Getting a second opinion? (Score:1)
            by Gravis Zero ( 934156 ) on Sunday July 09, 2017 @02:29PM (#54774141)


            What does Bruce Brackets have to say about all this? ;)


            Share
                Re:Getting a second opinion? (Score:2)
                by _merlin ( 160982 ) on Sunday July 09, 2017 @11:01PM (#54776195) Homepage Journal




https://linux.slashdot.org/story/17/07/09/188246/bruce-perens-warns-grsecurity-breaches-the-linux-kernels-gpl-license[9/9/2017 4:07:58 PM]
Bruce Perens Warns Grsecurity Breaches the Linux Kernel's GPL License - Slashdot
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                That would be Bruce Breckets

                you're after.


                Parent      Share
                   Re: Getting a second opinion? (Score:0)
                   by Anonymous Coward on Monday July 10, 2017 @06:04AM (#54777157)


                   What is this, some kind of Cave Story?


                   Parent       Share

            Electric Fence (Score:1)
            by Anonymous Coward on Sunday July 09, 2017 @02:31PM (#54774151)


            My favorite Bruce Perens software is Electric Fence [wikipedia.org]. He wrote that in
            the early days of Linux, originally writing it for SunOS and then porting it to Linux back
            at the beginning. Bruce knows his shit since way before Linux was even a gleam in
            Torvalds's eye. Thanks Bruce!


            Share
                Re:Electric Fence (Score:0)
                by Anonymous Coward on Sunday July 09, 2017 @04:16PM (#54774665)


                DUMA [sourceforge.net] appears to be its current incarnation. Still more portable
                than valgrind, which has replaced it in most modern, fast-enough systems.


                Parent      Share

            Dance little monkey dance! (Score:-1)

            by Anonymous Coward on Sunday July 09, 2017 @02:42PM (#54774185)


            Look at the little monkey dancing to the tune of Red Hat's organ grinder.


            Share
                Re:Dance little monkey dance! (Score:0)
                by Anonymous Coward on Wednesday July 12, 2017 @04:02AM (#54792041)


                Red Hat did not light this fire.


                Parent      Share

            And more, happens all too often (Score:0)
            by Anonymous Coward on Sunday July 09, 2017 @02:47PM (#54774205)


            https://trac.ffmpeg.org/query?... [ffmpeg.org]

            read about them.


            Share

            Not really a new restriction (Score:0)
            by Anonymous Coward on Sunday July 09, 2017 @02:52PM (#54774221)




https://linux.slashdot.org/story/17/07/09/188246/bruce-perens-warns-grsecurity-breaches-the-linux-kernels-gpl-license[9/9/2017 4:07:58 PM]
Bruce Perens Warns Grsecurity Breaches the Linux Kernel's GPL License - Slashdot
                                Case 3:17-cv-04002-LB Document 32-2 Filed 10/31/17 Page 132 of 138
            There are lots of situations where we violate the terms of GPL if we were to distribute
            the Linux kernel. The trick has always been to not distribute the kernel in that situation.
            For example, you don't find too many distros that ship with NVIDIA's proprietary drivers
            because there was always the question that it would be a GPL violation to do so (yes),
            but we still have the drivers and the end-user can install them herself if she chooses.


            Share
                Re:Not really a new restriction (Score:0)
                by Anonymous Coward on Tuesday July 11, 2017 @08:59PM (#54790521)


                >NVIDIA's proprietary drivers

                NVIDIA's proprietary plugin also plugs-in to the windows driver etc, so it is a
                standalone work that can be used with windows, linux, etc.

                GRSecurity's patch snakes through the whole kernel, it is not a stand-alone work
                and cannot be used as such.

                Basic Stuff.

                Learn the law. It's not that hard.
                Oh sorry, White Men who are Programmers automatically know everything since
                birth.


                Parent      Share
                   Re:Not really a new restriction (Score:0)
                   by Anonymous Coward on Thursday July 13, 2017 @11:06PM (#54806055)




                       NVIDIA's proprietary plugin also plugs-in to the windows driver etc, so it is
                       a standalone work that can be used with windows, linux, etc.

                   That NVIDIA's driver is stand alone is not relevant in terms of GPL. It only
                   indicates that NVIDIA's drivers are not a derived work and therefor can hold
                   their own copyright status. NVIDIA's drivers can be distributed separately from
                   the Linux kernel, but you would still violate the Linux copyright by distributing it
                   with NVIDIA's driver linked to it. Things become a gray area with GPL when it
                   comes to dynamic linking, but there are some precedents and public
                   announcements from Linux copyright holders (including Linus) that leave
                   NVIDIA in the clear as long as they continue to handle their drivers in the
                   current way. Which is to use a separate installer that is not included with the
                   distribution media or pre-installed on a machine. Forcing the end-user to click
                   something to effectively say "yes - install these modifications to my own
                   system" takes distribution and reproduction out of the picture for NVIDIA and
                   the distros and places it on the end-user who doesn't care.

                   I am wondering if you have a legal background yourself, or if this is arm-chair
                   bullshit you do for fun? Because it costs me real money if I get this stuff wrong.


                   Parent      Share

            Isn't that the RedHat Enterprise Linux model? (Score:0)
            by Anonymous Coward on Sunday July 09, 2017 @05:13PM (#54774909)


            As sort-of blessed by Stallman? Well, at least before they made their peace with
            CentOs by eating them?




https://linux.slashdot.org/story/17/07/09/188246/bruce-perens-warns-grsecurity-breaches-the-linux-kernels-gpl-license[9/9/2017 4:07:58 PM]
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            Share
                Re: Isn't that the RedHat Enterprise Linux model? (Score:0)
                by Anonymous Coward on Sunday July 09, 2017 @06:15PM (#54775157)


                No you can download thier code all you want, that is how centos existed to begin
                with.


                Parent      Share
                   Re: Isn't that the RedHat Enterprise Linux model? (Score:0)
                   by Anonymous Coward on Monday July 10, 2017 @06:21AM (#54777203)


                   Indeed, but, and this is the important part, you cannot redistribute Redhat as it
                   is as it is commingled with Redhat trademarks. Yes, it is possible to strip them
                   out, but this requires real work (hence CentOS didn't happen without a lot of
                   work and recompilation). They don't have any moral high ground.


                   Parent      Share

            All kernel work should be GPL (Score:0)

            by Anonymous Coward on Sunday July 09, 2017 @06:10PM (#54775143)


            All kernel work should be GPL. It's time that Linus steps up his act. Because of his
            stance that it's ok for GPU vendors are ok to make non-GPL licensed kernel modules,
            we get into this shit. And while that position was defendable in the '90s when Linux
            was new, now it isn't.

            It's because of this that Android phones are stuck at whatever kernel version the
            proprietary drivers enforce. E-waste galore...

            GRSec might be flawed, but it cannot be considered more absurd than the original
            MySQL license, nor morally worse than proprietary kernel drivers.

            Linus, wake up and create a timeline for proprietary drivers to phase out!


            Share

            It just doesn't matter ..at all. (Score:0)

            by Anonymous Coward on Sunday July 09, 2017 @08:18PM (#54775605)


            It is a perfectly viable business model: they are not licensing the linux kernel, they are
            only licensing patches, and possibly some technical support. You don't get any right
            besides using the patches, whatever you do internally with the linux kernel and the
            patches is your own thing. If you distribute the kernel, you may have to make the
            patches available but that is a liability a liability for using linux anyways. Do they care
            about the community? NO, they are not forced by license to do it.

            Don't like it? sue them. VMware got away with much more, so it is pretty likely a waste
            of time.


            Share

            Additional terms between GRSecurity and Distrib (Score:0)
            by Anonymous Coward on Monday July 10, 2017 @06:56AM (#54777273)


            From GRSecurity's "Stable Patch Agreement":




https://linux.slashdot.org/story/17/07/09/188246/bruce-perens-warns-grsecurity-breaches-the-linux-kernels-gpl-license[9/9/2017 4:07:58 PM]
Bruce Perens Warns Grsecurity Breaches the Linux Kernel's GPL License - Slashdot
                                Case 3:17-cv-04002-LB Document 32-2 Filed 10/31/17 Page 134 of 138
            "Notwithstanding these rights and obligations, the User acknowledges that
            redistribution of the provided stable patches or changelogs outside of the explicit
            obligations under the GPL to User's customers will result in termination of access to
            future updates of grsecurity stable patches and changelogs."

            IE: If you choose to redistribute, other than in the case of a demand made by a user,
            retaliation will occur


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            But is there a merit to the claim of Bruce Perens? (Score:0)
            by Anonymous Coward on Monday July 10, 2017 @07:15AM (#54777303)


            I think that above the bullshit there is actual legal issue here.
            If i took GPLed code, made some changes and produced a patch, which is a list of
            instructions on how to replay my modifications on the original source to get to the same
            result I did. The original code is GPL so is the resulting code after applying the
            patches.
            But is the patch itself under GPL? Are instructions on changing a GPLed software not
            a separately copyright-able content?

            So what grsecurity do is sell patches. They technically do not distribute a piece of or a
            whole GPLed software. They can claim full rights over those patches.
            Are the patches a derivative work of the kernel? They may be considered "Based on
            the Program" but "Based on.." defined as a modified copy of the Program. And patches
            are nothing more then modification instructions.
            Legally grsecurity can't prevent their customers from distributing the GPLed result of
            applications of their patches.
            What they can is ask nicely for their customers not to do it and be angry if their
            customers will distribute the patched version.
            What they can't do is sue anyone over copyright violation. Because the customer did
            not distribute grsecurity patch but the modified kernel itself.


            Share

            Perens... (Score:0)

            by Anonymous Coward on Monday July 10, 2017 @09:09AM (#54777703)


            Bruce has an annoying habit of reading legal documents to say what he wants them to
            say instead of what they actually say.

            Call me when ESR or RMS chimes in.


            Share
                Re:Perens... (Score:0)

                by Anonymous Coward on Tuesday July 11, 2017 @08:53PM (#54790493)


                Bruce Perens is correct.

                Random programmers and lay people have an annoying habit of reading legal
                documents and ignoring completely the legal framework on which they hang, then
                getting red in the face arguing with legal technicians and lawyers that the law
                doesn't matter, only their own interpretation of the small one page legal document
                in-front of them matters and that they can write a codicil on a napkin and
                circumvent it anyway when they are not the original grantor to begin with and the
                license states NO ADDITIONAL TERMS between grantee and further distributee.

                Yes IAAL.



https://linux.slashdot.org/story/17/07/09/188246/bruce-perens-warns-grsecurity-breaches-the-linux-kernels-gpl-license[9/9/2017 4:07:58 PM]
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                Parent      Share
                   Re:Perens... (Score:0)
                   by Anonymous Coward on Tuesday July 18, 2017 @02:38PM (#54834263)


                   Has "derivative work" ever been defined in a legal sense?

                   A list of changes to something isn't the same thing as a changed copy of that
                   thing.

                   If they were distributing patched copies of the kernel source, he'd be
                   unequivocally correct. That's not what they're doing.


                   Parent      Share
                       Re:Perens... (Score:2)

                       by mfnickster ( 182520 ) on Tuesday July 18, 2017 @05:18PM (#54835179)


                       > Has "derivative work" ever been defined in a legal sense?

                       https://www.law.cornell.edu/uscode/text/17/101 [cornell.edu]


                       Parent      Share
                          Re:Perens... (Score:0)
                           by Anonymous Coward on Wednesday July 19, 2017 @09:07AM (#54838501)


                           Thank you.

                           It looks like you're right.

                           But fuck Bruce Perens anyway.


                           Parent     Share


            Just another attempt... (Score:1)
            by martinfb ( 743607 ) on Monday July 10, 2017 @01:13PM (#54779481)


            Just another attempt to steal income from unsuspecting open source users.

            Capitalism at it's WORST!

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            Quick Rundown (Score:0)
            by Anonymous Coward on Tuesday July 11, 2017 @09:03PM (#54790537)


            Some Legal Analysis:
            --

            The GRSecurity patch snakes through almost the entire kernel; it really touches
            everywhere
            (and Brad Spengler etc have publicly attested to this as a bullet point as it doesn't only
            add features but fixes various in-place security errors); and not even as a monolithic
            block,
            it puts a paw here, and there, and there (so on and so on for 8MBs), with the deft
            agility of a cat,
            and the dexterity of a vine wrapped every which-way around the many branches of a




https://linux.slashdot.org/story/17/07/09/188246/bruce-perens-warns-grsecurity-breaches-the-linux-kernels-gpl-license[9/9/2017 4:07:58 PM]
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            bush:
            it is a non-separable derivative work.

            A counter example would be the Nvidia GFX driver: a portion of that driver works
            across platforms.
            That portion which works on Linux, Windows, etc is a separable work and thus can be
            argued
            to be standalone before a court. Furthermore, in the Nvidia case, that portion was likely
            developed on another platform and the wrapper was then built to conform to it.

            The wrapper itself that interfaces with linux is licensed under the same terms as linux.

            Other drivers can be written in a similar way.

            With GRSecurity, on the other-hand, that is absolutely impossible. GRSecurity exists
            only to give the linux kernel "self protection" (their words IIRC). They do this
            by going in with a scalpel to thousands of areas in the kernel and making small
            but important* edits and additions, as-well as by writing some new routines to then
            use throughout the kernel.

            Unlike a plug-in; their derivative work does not and cannot stand alone.

            The Anime-Subs cases reaffirmed somewhat recently that a derivative work
            that cannot stand alone and is not authorized is an infringing work.

            (Ex: You're a fan, you listen to the Anime Girl cartoon in Japanese,
            you write down what they say, you distribute that: that text is a
            derivative work and not a standalone one: it required the existence
            of the cartoon to itself exist or have any meaning).

            I think the situations are very different thusly and that a court
            would find GRSecurity to be infringing. If the GRSecurity patch is not
            a derivative work then nothing in the realm of source-code is.

            To Brad Spengler I'm referred to as a "troll" (months, perhaps a year later
            in a discussion I was not involved in), for engaging with RMS on the issue earlier
            (something which remains in Mr Spengler's mind:

            http://www.openwall.com/lists/kernel-hardening/2017/06/04/24
            >... It has been nearly 4 months now and despite repeated follow-ups, I still
            >haven't received anything back more than an automated reply. Likewise
            >regarding some supposed claims by RMS which were published last year by
            >internet troll mikeeusa -- I have been trying since June 3rd of last
            >year to get any response from him, but have been unable to. So when you ...

            (RMS' opinion can be seen here:
            (*7) https://lists.debian.org/debian-user/2016/06/msg00020.html )

            As for making modifications: To create the patch Brad Spengler modified the
            linux-kernel over the course of 15 years, and to continue continually producing
            new patches he continually modifies the linux-kernel even more. Without
            permission of the license he has no right to modify the kernel. The mechanical
            modification that is done by patching is a red-herring in this case since it's
            not needed to argue infringement on Mr Spengler's part once he has been found
            to have added an additional term to the agreement between him and further
            distributees of the derivative work. Once he has done that, he has violated
            the license grant, and he no-longer has a right to distribute the work, nor
            to distribute derivative works, nor to modify the work in-order to create
            future derivative works.

            --




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            Correction to common
            programmer's misunderstanding
            --

            They don't have to add a term to the GPL per-se as the GPL is not a party to the
            agreement, it is "merely" the (not-fully integrated) writing describing the license that the
            rights-holders have granted GRSecurity et al.

            That is: the GPL in-part describes the license grant that the linux rights-holders have
            extended.
            (There may be other parts described elsewhere, even verbally or through a course of
            business dealings or relationship)
            (Copyright law, being quite bare on it's own, often borrows much from contract law)

            Licensees must extend the same grant to Distributees, they cannot add an additional
            term to that relationship.
            GRSecurity has added such a term.

            They did not pen it into the text of the GPL.
            But, according to existing testimony they did make it clear that redistribution will not be
            tolerated.
            It is unknown if an electronic or hard copy of this additional term controlling the
            relationship exists,
            or whether it was a verbal agreement, or even some implicit understanding. Any which
            way: it is a forbidden additional
            term.

            --
            Final Thoughts:
            --

            Preventing redistribution of derivative works really stabs at the heart of the
            GPL. The requirement to allow redistribution of derivative works is really the
            one thing that truly made Free Software (and later the open culture movement)
            the success that it has become. It has brought many more programmers as-well
            as artists into the fold than would have been possible with the BSD type
            licenses or Public Domain grants. I know that when I started to program
            and make media, many year ago, I was comforted by the fact that if I were
            to create a work, that if a future work was built upon my work it would remain
            open and that I could then enhance that myself. Such was the "payment" for
            my labor. Many programers and artists see this as a good deal. But if it
            becomes clear that it is a mirage... who will dip their hand to drink from
            a non-existent oasis?


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